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     1                  UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF OHIO
     2                        EASTERN DIVISION
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          IN RE:     NATIONAL                  MDL No. 2804
     5    PRESCRIPTION OPIATE
          LITIGATION                           Case No.
     6                                         1:17-MD-2804
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          THIS DOCUMENT RELATES TO             Hon. Dan A. Polster
     8    ALL CASES
     9    **************************
    10
    11           HIGHLY CONFIDENTIAL - SUBJECT TO FURTHER
    12                      CONFIDENTIALITY REVIEW
    13            VIDEOTAPED DEPOSITION OF CRAIG SCHIAVO
    14
    15                  Thursday, January 17th, 2019
    16                            8:06 a.m.
    17
    18           Held At:
    19                  Omni Hotel
    20                  One West Exchange Street
    21                  Providence, Rhode Island
    22
    23    REPORTED BY:
    24    Maureen O'Connor Pollard, RMR, CLR, CSR

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    5
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                attachment, Bates                    23   BY MR. ELSNER:
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   24
                3372.......................... 371   24      Q. Good morning.
                                            Page 7                                                   Page 9
    1                                                 1      A. Good morning.
        CVS-Schiavo-28 6/17/14 e-mail with            2      Q. My name is Mike Elsner, and I'm from
    2           attachment, Bates                     3   the law firm of Motley Rice, and I represent the
                CVS-MDLT1-000103342 and 3343.. 374    4   plaintiffs in these actions.
    3
                                                      5          Can you please tell us your name?
    4
                                                      6      A. My name is Craig Schiavo.
    5
                                                      7      Q. When were you born?
    6
                                                      8      A. February 12, 1982.
    7
                                                      9      Q. So how old are you?
    8
    9                                                10      A. 36.
   10                                                11      Q. 36.
   11                                                12          And where do you live?
   12                                                13      A. Medway, Massachusetts.
   13                                                14      Q. And you graduated from Lasalle
   14                                                15   University, is that right?
   15                                                16      A. That's right.
   16
                                                     17      Q. And that's in Philadelphia?
   17
                                                     18      A. That's in Philadelphia.
   18
                                                     19      Q. In 2004?
   19
                                                     20      A. Yes.
   20
                                                     21      Q. Okay. Did you graduate with a degree?
   21
   22                                                22      A. Yes.
   23                                                23      Q. What is the degree?
   24                                                24      A. My major was business management.

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    1      Q. Okay. Did you take any courses in            1      Q. And veterinary clinics?
    2   pharmaceuticals or pharmacy?                       2      A. For -- I don't think so the whole time
    3      A. Not that I recall.                           3   that I worked there, but at some point they did.
    4      Q. Before joining Henry Schein, did you         4      Q. Okay. Did it include retail
    5   have any coursework or take any studies in DA      5   pharmacies?
    6   regulations?                                       6      A. For most of the time that I was there,
    7      A. Not that I recall.                           7   no. At the very end of my time with Henry
    8      Q. Okay. When did you join Henry Schein?        8   Schein I vaguely remember going or dealing with
    9   Was that your first job out of college?            9   a pharmacy, a few pharmacies.
   10      A. I joined Henry Schein in June of 2004,      10      Q. And would these be large retail
   11   and that was my first full-time job out of        11   pharmacy chains like CVS or Walgreen's, or are
   12   college.                                          12   we talking about smaller pharmacies?
   13      Q. Okay. And what were you hired to do?        13      A. To the best of my recollection, I
   14      A. When I started in 2004, I was doing         14   think it was just smaller pharmacies.
   15   product recalls.                                  15      Q. Okay. And how long did you perform
   16      Q. And what did that involve?                  16   your job for Henry Schein in product recalls?
   17      A. We would receive recalls or                 17   You started in June, 2004, and when did that
   18   withdrawals from manufacturers or distributors,   18   position end, and what was your next position
   19   and my responsibility was to coordinate the --    19   there?
   20   making sure that our distribution centers put a   20      A. I don't remember exactly how long I
   21   block on the product, and then if required        21   was in the role. It might have been a couple
   22   whatever notifications needed to go to either     22   years, two, two and a half years. And then
   23   our customers, or just coordinate the recall.     23   after that my role was dealing with inspections
   24      Q. Okay. And Henry Schein is a wholesale       24   and controlled substances and suspicious order
                                               Page 11                                                 Page 13
    1   distributor of medical products and drugs, is      1   monitoring.
    2   that right?                                        2       Q. Did you begin that roughly in 2007?
    3       A. That's part of their services, yes.         3   Does that sound about right?
    4       Q. What else do they do?                       4       A. I don't recall.
    5       A. They distribute a lot of things.            5       Q. Okay. How was it that you
    6       Q. Okay. But they do distribute                6   transitioned from product recalls into
    7   controlled substances, is that right?              7   regulatory specialist related to DEA compliance?
    8       A. At the time that I worked there, yes.       8           MS. MILLER: Object to form.
    9       Q. Okay. And did that include Schedule         9       A. Can you just repeat the question?
   10   II narcotics as well as Schedule III narcotics?   10   BY MR. ELSNER:
   11          MS. MILLER: Object to form.                11       Q. Yes. Well, let me ask it a different
   12       A. Yes.                                       12   way.
   13   BY MR. ELSNER:                                    13           What was your title after you moved
   14       Q. And can you give us a description of       14   from recall coordinator? What was your next
   15   Henry Schein's customer base as it related to     15   title at Henry Schein?
   16   the sale of controlled substances?                16       A. I don't remember the specific title.
   17       A. We distributed mainly to the               17       Q. Okay. But what were you responsible
   18   office-based practitioner from what I remember.   18   for in your new position?
   19       Q. Okay. So that would include medical        19       A. I think I was still supporting
   20   doctors in their offices, is that right?          20   recalls. And then when I first started the role
   21       A. Yes.                                       21   I don't remember exactly what my
   22       Q. And dentists?                              22   responsibilities were.
   23       A. I believe we distributed to dentists,      23       Q. Did it include any responsibilities
   24   yes.                                              24   for DEA compliance with respect to controlled

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    1   substances?                                         1          MR. MONTMINY: Objection. Form, asked
    2       A. When I first transitioned into the           2   and answered.
    3   role, I don't know what my responsibilities         3      A. I don't recall what the system was
    4   were, but it was learning the new role, and part    4   prior to me going to that role.
    5   of that was around controlled substances and        5   BY MR. ELSNER:
    6   inspections in our distribution centers.            6      Q. Did it exist?
    7       Q. And as you evolved into that role            7      A. I don't recall.
    8   after the training period, then what were your      8      Q. At some point in time you became a
    9   general responsibilities in that position?          9   senior regulatory specialist at Henry Schein, is
   10       A. Continued to be government                  10   that right?
   11   inspections, training of some employees, and       11      A. I believe so.
   12   then compliance with controlled substances and     12      Q. Okay. And was that in 2012?
   13   suspicious order monitoring.                       13      A. I don't recall when that happened.
   14       Q. How many -- did you have employees          14      Q. Was it shortly before you left Henry
   15   that worked for you in that position?              15   Schein?
   16       A. I had no direct reports.                    16      A. I'm not sure what you mean by
   17       Q. Okay. How large was the team that           17   "shortly," but I don't remember exactly when I
   18   dealt with compliance related to controlled        18   went into that role, or got that title.
   19   substances at Henry Schein in that period?         19      Q. How long did you serve in that role?
   20       A. I'm not sure -- I mean, a lot of            20      A. Again, I don't remember when I -- I
   21   people had a part in the process. I don't know     21   think that was a promotion. I don't remember
   22   how many.                                          22   when that happened.
   23       Q. Were you involved in establishing           23      Q. Did your responsibilities change in
   24   Henry Schein's suspicious order monitoring         24   any way?
                                                Page 15                                                         Page 17
    1   program for controlled substances?                  1        A. I don't remember.
    2          MR. MONTMINY: Objection. Form,               2        Q. Did you have direct reports?
    3   outside the scope.                                  3        A. I don't believe I ever had direct
    4      A. I was part of a team that worked on           4   reports at Henry Schein.
    5   suspicious order monitoring.                        5        Q. I want to show you something on the
    6   BY MR. ELSNER:                                      6   screen, I didn't print it for you, but it might
    7      Q. How many people were in that team?            7   help your recollection with some of the dates,
    8      A. Again, I don't recall how many. There         8   if that's okay.
    9   was a team of people. I can't remember              9        A. Sure.
   10   everyone.                                          10           MS. MILLER: Mike, do you have hard
   11      Q. Less than ten? Less than five?               11   copies?
   12   What's your best estimate?                         12           MR. ELSNER: I'll have hard copies of
   13      A. Again, I don't recall. It wasn't just        13   most everything else, but not this. This is his
   14   compliance. There were other departments that      14   LinkedIn page. I'm going to show it to him and
   15   were participating. I can't even give a good       15   see if it helps him remember some of the dates.
   16   guess on how many people.                          16           MS. MILLER: Craig, are you able to --
   17      Q. When did Henry Schein develop its            17           MR. ELSNER: There's a screen, but
   18   suspicious order monitoring system initially?      18   it's not there yet.
   19          MR. MONTMINY: Objection to form.            19           Can we just go off the record for a
   20      A. I'm not sure.                                20   quick minute while we get this? Sorry.
   21   BY MR. ELSNER:                                     21           THE VIDEOGRAPHER: We're going off the
   22      Q. Was it in place in 2007 when you             22   record at 8:17 a.m.
   23   transitioned into that position, or was it         23           (Pause.)
   24   something that you developed in that position?     24           THE VIDEOGRAPHER: We're back on the

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    1   record at 8:18 a.m.                                 1        Q. Okay. The first time you started
    2          (Whereupon, CVS-Schiavo-1 was marked         2   handling DEA compliance, was that 2007?
    3          for identification.)                         3        A. I don't remember the exact year.
    4   BY MR. ELSNER:                                      4        Q. If we go back to the first page, I'm
    5       Q. Mr. Schiavo, we've placed before you         5   sorry we're fumbling through this a little bit,
    6   what we're going to mark as Exhibit 1. Is this      6   there's a summary of your work experience, and
    7   a copy of your LinkedIn page?                       7   it lists on the bottom that you were a
    8       A. It looks to be my LinkedIn page.             8   regulatory associate from 2004 to 2007. Does
    9       Q. That's your picture?                         9   that sound right?
   10       A. That is my picture.                         10        A. That seems about right. I don't
   11       Q. Okay. Did you draft -- did you create       11   specifically recall those dates, but...
   12   your own LinkedIn page?                            12        Q. When you drafted your LinkedIn page,
   13       A. Yes.                                        13   did you make an effort to make sure it was
   14       Q. Okay. Let's move down to the portion        14   accurate?
   15   that deals with your work experience at Henry      15           MS. MILLER: Object to form.
   16   Schein. I think it starts on the bottom of the     16        A. I don't recall doing anything to
   17   first page there. It says that you worked there    17   intentionally not be accurate, but I don't spend
   18   for roughly eight years. Is that accurate?         18   much time on LinkedIn or use LinkedIn very
   19       A. That seems about right.                     19   often.
   20       Q. Okay. When did you create your              20   BY MR. ELSNER:
   21   LinkedIn page?                                     21        Q. Okay. Above that you listed
   22       A. I don't remember when I created it.         22   "Regulatory Specialist - DEA Compliance" from
   23       Q. It says here that your work for Henry       23   2007 to 2012. Does that -- is that accurate?
   24   Schein was in Greenville, South Carolina. Is       24        A. That's what it says there. Again, I
                                                Page 19                                                        Page 21
    1   that where you were working when you worked for     1   don't specifically recall the dates where I
    2   them?                                               2   started the position, but that's what it says.
    3       A. Part of the time that I worked for           3       Q. Okay. And then in 2012 you were a
    4   them it was in Greenville.                          4   senior regulatory specialist for DEA compliance,
    5       Q. What period of time did you spend in         5   is that right?
    6   Greenville?                                         6       A. I know in 2012 I was a senior
    7       A. It was my last year with the company.        7   regulatory specialist.
    8       Q. Your last year.                              8       Q. Okay. And Henry Schein hired the
    9         Where were you before that?                   9   Buzzeo Group as consultants to work on the
   10       A. I was in Melville, Long Island.             10   suspicious order monitoring program for
   11       Q. In New York?                                11   controlled substances, is that right?
   12       A. In New York.                                12          MR. MONTMINY: Objection. Outside the
   13       Q. Okay. What year did you move to             13   scope.
   14   Greenville?                                        14       A. I don't recall exactly why we hired
   15       A. I believe it was 2011.                      15   Buzzeo, if it was there specifically for SOM or
   16       Q. Okay. On the second page of your            16   just general compliance.
   17   LinkedIn page it lists -- the top of the second    17   BY MR. ELSNER:
   18   page, it says "Senior Regulatory Specialist -      18       Q. Do you know when Henry Schein hired
   19   DEA Compliance," and it's listed there from June   19   Buzzeo?
   20   of 2004 to August of 2012, if I can read that      20       A. I don't recall.
   21   correctly. Is that accurate?                       21       Q. Do you know what Buzzeo -- what was
   22       A. That's what it says there. I started        22   your understanding of what work Buzzeo was doing
   23   in June of 2004. I wasn't handling anything        23   for Henry Schein?
   24   with DEA compliance that I recall in 2004.         24          MR. MONTMINY: Objection. Outside the

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    1   scope.                                              1      A. I don't recall any specific
    2      A. We worked with Buzzeo on general DEA          2   documentation or training materials.
    3   compliance issues, as I remember it.                3      Q. Did they come into Henry Schein and
    4   BY MR. ELSNER:                                      4   offer training, seminars, or sessions with
    5      Q. Such as what?                                 5   employees at Henry Schein?
    6      A. Inspections, SOM, anything that had to        6          MR. MONTMINY: Objection. Outside the
    7   do with DEA compliance.                             7   scope.
    8      Q. Who specifically at Buzzeo did you            8      A. I recall at least one training.
    9   work with?                                          9   BY MR. ELSNER:
   10      A. There were a number of people. I             10      Q. Who did the training, do you recall?
   11   can't recall everyone that I worked with at        11      A. I don't recall who it was.
   12   Buzzeo.                                            12      Q. What work were you doing on the
   13      Q. You said that Buzzeo did work for            13   suspicious order monitoring system at Henry
   14   Henry Schein on their SOM program. What type of    14   Schein for controlled substances?
   15   work did they do?                                  15      A. At which point are you referring to?
   16          MR. MONTMINY: Objection. Outside the        16      Q. Walk me through from 2007 to 2012.
   17   scope.                                             17      A. I know in 2007, if that's when I
   18      A. So I recall working with Buzzeo on --        18   transitioned based on my LinkedIn page, I was
   19   I mean, I used to speak to Buzzeo for guidance     19   probably just learning. And then by the end in
   20   on lots of topics, not specific to SOM, but they   20   2012, my role was again -- specifically to SOM?
   21   helped us develop the newer system, I guess,       21      Q. Yes.
   22   that I was a part of. That was part of the role    22      A. I was conducting site visits on
   23   that they played.                                  23   customers and reviewing orders that were flagged
   24   BY MR. ELSNER:                                     24   by the SOM system.
                                                Page 23                                                 Page 25
    1       Q. The newer system is a newer suspicious       1       Q. So as I understand it, the suspicious
    2   order monitoring system for controlled              2   order monitoring system would use an algorithm
    3   substances, is that what you mean?                  3   to identify potentially suspicious orders, is
    4       A. Yeah, it was either the newer or             4   that generally accurate?
    5   enhanced system that was being worked on.           5          MS. MILLER: Object to form.
    6       Q. Were they -- what was --                     6       A. The suspicious order monitoring system
    7       A. The enhanced system.                         7   was a piece of the process used to identify
    8       Q. The enhanced system.                         8   orders of interest, but that wasn't the only way
    9          Did Buzzeo assist Henry Schein in            9   to identify orders.
   10   developing an algorithm for its suspicious order   10   BY MR. ELSNER:
   11   monitoring program?                                11       Q. And once orders were identified of
   12          MR. MONTMINY: Objection. Outside the        12   interest, did you have responsibility for
   13   scope.                                             13   reviewing those orders to determine whether they
   14       A. I believe so.                               14   were potentially suspicious of diversion or not?
   15   BY MR. ELSNER:                                     15          MS. MILLER: Object to form.
   16       Q. And did Buzzeo create training              16       A. That was part of my responsibilities.
   17   materials and train employees at Henry Schein on   17   BY MR. ELSNER:
   18   the suspicious order monitoring system?            18       Q. What would you do to do that when you
   19       A. What exactly do you mean by                 19   worked at Henry Schein?
   20   "training"?                                        20       A. It all depended on the order. There
   21       Q. Well, did they develop training             21   were tons of approaches to take to review an
   22   materials for Henry Schein to train their          22   order.
   23   employees on the suspicious order monitoring       23       Q. Do you know what the criteria that
   24   system for controlled substances?                  24   Henry Schein was using at that time, what its

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    1   algorithm was pulling orders for to determine       1   would just Google the doctor office name.
    2   whether they should be -- whether they should       2       Q. Okay. Anything else?
    3   have an enhanced review?                            3       A. There are lots of things. Anything
    4          MR. MONTMINY: Objection. Form,               4   that I would see or could research, I would do.
    5   outside the scope.                                  5       Q. I appreciate there are lots of things,
    6      A. The specific logic used by the                6   but I need to get a more specific sense of what
    7   algorithm, I didn't know that. I knew at a high     7   you actually did.
    8   level the system was looking for orders of          8          So did you look to determine whether
    9   unusual size, buying pattern, or frequency.         9   they had a valid DEA license?
   10   BY MR. ELSNER:                                     10          MS. MILLER: Object to form.
   11      Q. When they identified those orders,           11       A. That specifically was not my role.
   12   what were the tools that you used to determine     12   BY MR. ELSNER:
   13   whether an order was -- should be further          13       Q. Okay. Did you look to see whether
   14   investigated?                                      14   they had a criminal background, or a criminal
   15          MS. MILLER: Object to form.                 15   history?
   16      A. There is no limitation on what I could       16          MS. MILLER: Object to form.
   17   use. Whatever information that was available to    17       A. I don't recall ever specifically
   18   me or that I could use, I did.                     18   looking for that.
   19   BY MR. ELSNER:                                     19   BY MR. ELSNER:
   20      Q. What information was available to you?       20       Q. What determined whether you would make
   21   Were there databases that you could pull upon,     21   a site visit to a particular doctor's office or
   22   or was there order history you could review?       22   dentist's office or something else like that?
   23   What were the items you could look at to           23          MS. MILLER: Object to form.
   24   determine whether a particular order was worthy    24       A. I don't think there was one criteria
                                                Page 27                                                Page 29
    1   of enhanced investigation?                          1   that when I saw it I said, this needs a site
    2          MR. MONTMINY: Objection. Form,               2   visit.
    3   outside the scope.                                  3   BY MR. ELSNER:
    4      A. I can't remember everything that I            4      Q. Well, you didn't visit every doctor's
    5   used. Some of the things you mentioned were         5   office that was identified by the suspicious
    6   data sources that we used. It also included         6   order monitoring system, right?
    7   phone calls or site visits or internet searches.    7      A. I don't believe so.
    8   I mean, there were -- any resource that I could     8      Q. Okay. So what were among the criteria
    9   use, I would -- was available.                      9   you would use to determine whether you were
   10   BY MR. ELSNER:                                     10   going to conduct a site visit?
   11      Q. Did you have databases that you could        11          MR. MONTMINY: Object to form.
   12   pull upon, outside databases that you could pull   12   Outside the scope.
   13   upon to search for information about particular    13      A. There's lots of situations that would
   14   physicians?                                        14   cause me to do a site -- there is not one or
   15          MS. MILLER: Object to form.                 15   two, but there were lots.
   16      A. I'm not sure what you're referring to        16   BY MR. ELSNER:
   17   by outside databases.                              17      Q. Well, give us some examples.
   18   BY MR. ELSNER:                                     18      A. If there was -- if I felt that an
   19      Q. Well, you mentioned that you could           19   order was significantly higher than someone's
   20   access information on the internet about people,   20   previous order.
   21   and you do research and internet searches. So      21      Q. What would make it significantly
   22   what type of searches are we talking about?        22   higher?
   23      A. There were lots of searches. One             23      A. I don't know. Determination at the
   24   example would be if it was a doctor's office, I    24   time.

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    1      Q. How far back in the order history             1   BY MR. ELSNER:
    2   would you look to determine whether this            2      Q. How long do those calls generally
    3   particular order was significantly higher than      3   last?
    4   prior orders?                                       4          MR. MONTMINY: Objection. Form,
    5          MR. MONTMINY: Objection. Form,               5   outside the scope.
    6   outside the scope.                                  6      A. Every call was a different length.
    7      A. I don't recall it. I'm sure it was            7   BY MR. ELSNER:
    8   different for every situation.                      8      Q. Every call was unique and completely
    9   BY MR. ELSNER:                                      9   different? You never asked the same question,
   10      Q. Was there a particular database at           10   you never had a set of questions that you were
   11   Henry Schein that contained that information?      11   sure to follow up with with each physician?
   12      A. We had a data warehouse.                     12          MR. MONTMINY: Objection. Form.
   13      Q. What data was contained in the data          13      A. I believe there are guidelines that I
   14   warehouse that you used to conduct your            14   used, but every call was unique.
   15   suspicious order monitoring review?                15   BY MR. ELSNER:
   16          MR. MONTMINY: Objection. Form.              16      Q. So other than how many patients the
   17      A. I don't recall everything that I             17   doctor had seen, what else would you ask?
   18   pulled out of there. I know order history was      18          MR. MONTMINY: Objection. Form,
   19   one.                                               19   outside the scope.
   20   BY MR. ELSNER:                                     20      A. It all depends on why I was following
   21      Q. What else?                                   21   up on the order.
   22      A. I don't recall what else was in there.       22   BY MR. ELSNER:
   23      Q. Did you ever seek from a physician's         23      Q. Did you ever ask for dispensing
   24   office information about their patients?           24   history from a physician's office?
                                                Page 31                                                Page 33
    1          MR. MONTMINY: Objection. Form,               1          MR. MONTMINY: Objection. Form.
    2   outside the scope.                                  2      A. I don't recall.
    3       A. I'm not sure what you mean by                3   BY MR. ELSNER:
    4   information on patients.                            4      Q. Did you ever ask whether that
    5   BY MR. ELSNER:                                      5   physician was ordering controlled substances
    6       Q. Well, did you determine what kind of         6   from other wholesale distributors?
    7   physician the doctor was and what kind of           7          MR. MONTMINY: Objection. Form.
    8   patients the physician was providing services       8      A. I might have. I don't specifically
    9   to?                                                 9   remember.
   10          MR. MONTMINY: Objection. Form,              10   BY MR. ELSNER:
   11   outside the scope.                                 11      Q. What else do you remember about what
   12       A. Part of when I spoke to a physician I       12   you'd ask physicians for.
   13   would ask what their practice was, and typically   13          MR. MONTMINY: Objection. Form.
   14   I get a high level what are your visits like       14      A. Again, it all depended on why I was
   15   with patients. I never got to details.             15   conducting the order.
   16   BY MR. ELSNER:                                     16   BY MR. ELSNER:
   17       Q. When you say high level what were your      17      Q. When you were going to do a site
   18   visits like with patients, you'd ask them how      18   visit, what was it that you were looking for?
   19   long they'd spend with a patient?                  19          MR. MONTMINY: Objection. Form.
   20          MS. MILLER: Object to form.                 20      A. It all depends on why I decided to do
   21       A. Not specifically. Every conversation        21   the site visit.
   22   with a doctor was different. But I'd ask how       22   BY MR. ELSNER:
   23   many patients you'd seen, as an example, but       23      Q. Give me an example, any example.
   24   every conversation was different.                  24      A. At a high level I was looking to see

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     1   that they were a legitimate physician.             1   keep that one.
     2      Q. How did you do that?                         2          MR. MONTMINY: Do you have an extra
     3          MS. MILLER: Object to form.                 3   copy of that?
     4      A. Doing a site visit and speaking with         4   BY MR. ELSNER:
     5   the doctor or, like I said, Google searches and    5       Q. Mr. Schiavo, I placed before you a
     6   reviews. I mean, there was tons of resources.      6   series of e-mails. And if you start on the
     7   BY MR. ELSNER:                                     7   bottom e-mail on the first page, which is
     8      Q. Did you look at dispensing history           8   495778, you are among the recipients of this
     9   from those physicians' offices? When you           9   e-mail from Leslie Lowry. Do you see your name
    10   conducted a site visit, would you ask to see      10   there?
    11   their dispensing records?                         11       A. Yes.
    12          MR. MONTMINY: Object to form.              12       Q. And this relates to the "8th Annual CS
    13   Outside the scope.                                13   Conference - Agenda & Speaker Information," is
    14      A. I don't recall ever asking to see           14   that right?
    15   dispensing records.                               15       A. That's what the subject says.
    16   BY MR. ELSNER:                                    16       Q. Do you know who Leslie Lowry is?
    17      Q. There came a time when you -- strike        17       A. I don't remember exactly what her role
    18   that.                                             18   was. I do remember having conversations and
    19          Buzzeo had annual conferences for          19   talking with her.
    20   controlled substances, is that right?             20       Q. And she's with the Buzzeo Group, is
    21      A. I believe they were annual.                 21   that right?
    22      Q. And you attended some of those?             22       A. She -- at that time it looks like they
    23      A. Yes.                                        23   were Cegedim, but...
    24      Q. How many of them did you attend?            24       Q. Previously they were the Buzzeo Group,
                                                Page 35                                                 Page 37
     1     A.    I don't recall.                            1   they changed names?
     2     Q.    More than one?                             2       A. As I understand it, yes.
     3     A.    I attended more than one.                  3       Q. And it attaches an agenda to the 8th
     4     Q.    How many?                                  4   Annual Controlled Substances Conference, is that
     5          MS. MILLER: Object to form.                 5   right?
     6   BY MR. ELSNER:                                     6       A. That's what it says.
     7      Q. Five?                                        7       Q. Okay. And if you look at the
     8          MS. MILLER: Object to form.                 8   conference schedule, you're listed as a speaker
     9      A. I don't recall the exact number.             9   at this conference, is that right?
    10   BY MR. ELSNER:                                    10       A. Which page are we looking at?
    11      Q. They had a conference at the Crystal        11       Q. If we start toward the back, 495784.
    12   Gateway Marriott in Arlington, Virginia in        12       A. It has me listed as a speaker.
    13   October of 2008. That was the sixth one. Did      13       Q. Okay. And then there you're listed --
    14   you attend that one in 2008?                      14   your title on this is "Regulatory Specialist/DEA
    15          MS. MILLER: Object to form.                15   Compliance, Henry Schein," correct?
    16      A. I don't specifically remember the           16       A. That's what it says.
    17   year, but it's possible.                          17       Q. Was that accurate?
    18          MR. ELSNER: We'll mark this document       18       A. I don't have reason to believe it
    19   as Exhibit 2.                                     19   wasn't accurate.
    20          (Whereupon, CVS-Schiavo-2 was marked       20       Q. Okay. And it appears that you're on
    21          for identification.)                       21   two back-to-back panels, one from 4 to 4:45, and
    22   BY MR. ELSNER:                                    22   then on the second panel on SOM compliance,
    23      Q. This is MR 98.                              23   you're listed at the top of the following page
    24          MS. MILLER: One copy is for me. You        24   at 495785, is that right?

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     1       A. I see that.                                  1          MS. MILLER: Object to form.
     2       Q. Did you speak at this conference?            2       A. I don't remember the specific
     3       A. I don't remember it to be the 8th, but       3   conversation where they asked me to speak.
     4   I did speak at a Buzzeo conference, yes.            4   BY MR. ELSNER:
     5       Q. Did you do it one time, or did you do        5       Q. This is the 8th Annual Controlled
     6   it more than once?                                  6   Substance Conference. Had you attended any
     7       A. I remember speaking at one Buzzeo            7   conferences before this conference where you
     8   conference.                                         8   were asked to speak?
     9       Q. Could it have been more?                     9          MS. MILLER: Object to form.
    10          MS. MILLER: Object to form.                 10       A. Not that I recall.
    11       A. When you say "speak," you mean              11   BY MR. ELSNER:
    12   present?                                           12       Q. So they asked you to speak at the very
    13   BY MR. ELSNER:                                     13   first conference you attended, is that your
    14       Q. Well, let's start with present. Did         14   testimony?
    15   you present at more than one conference?           15          MS. MILLER: Object to form.
    16       A. I don't believe I presented at more         16       A. That's not my testimony. I don't
    17   than one conference.                               17   recall if this was the first one that I went to.
    18       Q. Did you otherwise speak at more than        18   BY MR. ELSNER:
    19   one conference?                                    19       Q. Did you have a -- when you attended
    20       A. While at the conference I've had            20   these conferences, did you keep any of the
    21   conversation with colleagues.                      21   materials from the conferences you attended?
    22       Q. I meant in a public way.                    22          MS. MILLER: Object to form.
    23       A. No.                                         23       A. Did I keep them for -- I'm sure I
    24       Q. Was there a reason that you asked me        24   brought materials home with me.
                                                 Page 39                                                     Page 41
     1   whether you -- you seem to define my term of        1   BY MR. ELSNER:
     2   presentation to speak or not, so was there a        2       Q. What would you do with them when you
     3   reason that you did that?                           3   brought them home?
     4          MS. MILLER: Object to form.                  4         MS. MILLER: Object to form.
     5       A. I just want to make sure I answered          5   BY MR. ELSNER:
     6   your question.                                      6       Q. Did you save them at your office?
     7   BY MR. ELSNER:                                      7   Would you save them at home? What would you do
     8       Q. And I want to make sure I've exhausted       8   with them?
     9   your participation in these conferences. Did        9       A. I don't recall.
    10   you -- other than speak at this particular         10         MS. MILLER: Object to form.
    11   conference, did you otherwise participate in the   11   BY MR. ELSNER:
    12   conference in any other way than as an observer,   12       Q. Do you have a file of all these
    13   if you attended others?                            13   materials at your office or at home?
    14          MS. MILLER: Object to form.                 14         MS. MILLER: Object to form.
    15       A. Aside from speaking at this one             15       A. Are you asking presently, or at the
    16   conference, that was the only time I can recall    16   time of the conference?
    17   being asked to contribute anything to the          17   BY MR. ELSNER:
    18   conference.                                        18       Q. Let's say at the time of the
    19   BY MR. ELSNER:                                     19   conferences when you were at Henry Schein, did
    20       Q. Who asked you to speak?                     20   you keep a file of the conferences that you
    21       A. I don't remember who originally asked       21   attended at your office or at home?
    22   me to speak.                                       22         MS. MILLER: Object to form.
    23       Q. Do you know why they asked you to           23       A. I don't recall.
    24   speak? What did they tell you?                     24   BY MR. ELSNER:

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     1       Q. What about today, do you have a file         1   Schein, and it was produced in native, so we'll
     2   of the conferences that you attend or the           2   get you the Bates number for that.
     3   conferences that you've spoken at either at your    3      A. I'm sorry, can you just repeat the
     4   office or at your home?                             4   question?
     5          MS. MILLER: Object to form.                  5   BY MR. ELSNER:
     6       A. I know I have a copy of a                    6      Q. I asked if you created this PowerPoint
     7   presentation. I don't recall having any other       7   presentation.
     8   documentation from previous conferences.            8      A. Can I look through it?
     9   BY MR. ELSNER:                                      9      Q. Sure.
    10       Q. So when I speak at a conference, a lot      10          (Witness reviewing document.)
    11   of times I'll write out what I'm going to say      11      A. I recall giving input on it.
    12   and sometimes I'll prepare a PowerPoint and I      12      Q. What input? Did you assist in
    13   have one of each. Did you do the same thing, or    13   providing the information to someone to create
    14   do you just have a copy of the PowerPoint?         14   the slides?
    15          MS. MILLER: Object to form.                 15      A. At some point I might have.
    16       A. I honestly don't recall how I prepared      16      Q. Well, is this the PowerPoint you used
    17   or what I prepared for speaking.                   17   for your presentation at this conference?
    18   BY MR. ELSNER:                                     18          MR. MONTMINY: Objection. Form.
    19       Q. Let me show you what we've marked as        19      A. I'm not sure if this is the exact
    20   Exhibit 3.                                         20   presentation.
    21          (Whereupon, CVS-Schiavo-3 was marked        21   BY MR. ELSNER:
    22          for identification.)                        22      Q. Does it look like it is?
    23   BY MR. ELSNER:                                     23          MR. MONTMINY: Objection. Form.
    24       Q. This is a copy of a PowerPoint              24   BY MR. ELSNER:
                                                 Page 43                                                Page 45
     1   presentation. Do you see on the top left-hand       1       Q. Do you have reason to believe that
     2   side it says "8th Annual Controlled Substance       2   it's not?
     3   Conference"? Did I read that correctly?             3          MR. MONTMINY: Objection. Form.
     4      A. I see that.                                   4       A. I don't have reason to believe that
     5      Q. And the title of the PowerPoint is            5   it's not, but I don't remember this whole
     6   "The Challenge to 'Know Your Customer' and Best     6   presentation.
     7   Practices." Did I read that right?                  7   BY MR. ELSNER:
     8      A. You read that right.                          8       Q. If you turn to Page 3 of the
     9      Q. Okay. And then it lists "Craig                9   presentation, there's an overview of Henry
    10   Schiavo, Regulatory Specialist/DEA Compliance,     10   Schein. It says "Henry Schein - Over 75 Years
    11   Henry Schein, November 2010." Did I read that      11   of Quality Service." Do you see that? Did I
    12   right?                                             12   read that correctly?
    13      A. You read that correctly.                     13       A. You read that correctly.
    14      Q. Did you create this PowerPoint               14       Q. Okay. And the second bullet -- or the
    15   presentation?                                      15   first bullet, it says that "Henry Schein is the
    16          MR. MONTMINY: Objection. Form.              16   largest distributor of healthcare products and
    17          Counsel, could I ask, there's no Bates      17   services to office-based practitioners." Did I
    18   numbers on this document, do you know where this   18   read that correctly?
    19   came from?                                         19       A. You read that correctly.
    20          MR. ELSNER: Yes, we'll get you the          20       Q. Was that true --
    21   Bates number.                                      21          MR. MONTMINY: Object to form.
    22          MS. MILLER: So this wasn't                  22   BY MR. ELSNER:
    23   produced --                                        23       Q. -- at the time?
    24          MR. ELSNER: It was produced by Henry        24       A. It says it there.

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     1       Q. You didn't intend to put misleading                1   Schein, is that right?
     2   information in the PowerPoint, right?                     2          MS. MILLER: Object to form.
     3          MR. MONTMINY: Object to form.                      3       A. I had seen that letter while at Henry
     4          MS. MILLER: Object.                                4   Schein.
     5   BY MR. ELSNER:                                            5   BY MR. ELSNER:
     6       Q. Correct?                                           6       Q. Okay. And that letter refers to, and
     7       A. I don't think I would put misleading.              7   in your first bullet you quote, to "Design and
     8       Q. In the second bullet it says that                  8   operate a system to disclose to the registrant
     9   Henry Schein has 700,000 customers worldwide and          9   suspicious orders of controlled substances," and
    10   386,000 domestic customers, is that right?               10   then there's a citation. You understand that to
    11          MR. MONTMINY: Objection. Form.                    11   be a citation to the Controlled Substances Act,
    12       A. I don't recall those numbers.                     12   is that right?
    13   BY MR. ELSNER:                                           13          MR. MONTMINY: Object to form.
    14       Q. That's the presentation that you gave             14          MS. MILLER: Object to form.
    15   at this conference, though, is that right?               15       A. I know that's straight out of the CFR.
    16          MR. MONTMINY: Objection. Form.                    16   BY MR. ELSNER:
    17       A. That's what it says in the deck.                  17       Q. Do you understand that that's part of
    18   BY MR. ELSNER:                                           18   the Controlled Substances Act?
    19       Q. It then says that "Customers include              19          MS. MILLER: Object to form.
    20   dental practices and laboratories, physician             20       A. I know the CFR has regulations from
    21   practices, and animal health clinics." Is that           21   the DEA.
    22   right?                                                   22   BY MR. ELSNER:
    23          MS. MILLER: Object to form.                       23       Q. Did you know that the Controlled
    24       A. That's what it says.                              24   Substances Act had been in place since 1970?
                                                      Page 47                                                  Page 49
     1   BY MR. ELSNER:                                            1          MS. MILLER: Object to form.
     2       Q. Is that consistent with your                       2      A. I didn't know the exact date.
     3   understanding of Henry Schein's customer base?            3   BY MR. ELSNER:
     4           MR. MONTMINY: Objection. Form,                    4      Q. At the last bullet on this page, it
     5   outside the scope.                                        5   states "Suspicious orders include orders of
     6       A. I do recall those being part of the                6   unusual size, orders deviating substantially
     7   customer base.                                            7   from a normal pattern, and orders of an unusual
     8   BY MR. ELSNER:                                            8   frequency." Did I read that correctly?
     9       Q. If you turn to the next page, the top,             9          MR. MONTMINY: Objection. Form.
    10   the heading on the top is "Why Due Diligence Is          10      A. You read that correctly.
    11   Required," is that right?                                11   BY MR. ELSNER:
    12       A. That's what it says.                              12      Q. Okay. And this is also a quote from
    13       Q. And it refers to the December, 2007               13   the letter, the 2007 letter from the DEA
    14   letter from the DEA, is that right?                      14   relating to reporting suspicious orders of
    15       A. That's what it says.                              15   controlled substances, is that right?
    16       Q. This is a reference to the letter that            16          MS. MILLER: Object to form.
    17   was authored by Joseph Rannazzisi to all                 17      A. Can you just repeat the question?
    18   manufacturers and distributors of controlled             18   BY MR. ELSNER:
    19   substances, is that right?                               19      Q. This is a quote from the December,
    20           MS. MILLER: Object to form.                      20   2007 letter from the DEA, is that right?
    21       A. As I recall, that's the letter.                   21          MS. MILLER: Object to form.
    22   BY MR. ELSNER:                                           22      A. I see the quotes around it. I don't
    23       Q. Okay. And you had seen that letter,               23   know if that's exactly from the letter.
    24   obviously, before with your work at Henry                24   BY MR. ELSNER:

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                                                                             Review
                                                 Page 50                                                 Page 52
     1       Q. And the heading of this slide is the         1   this letter is to reiterate the responsibilities
     2   December, 2007 letter from the DEA?                 2   of controlled substance manufacturers and
     3       A. That's what it says.                         3   distributors to inform DEA of suspicious orders
     4       Q. Do you understand that to be a quote         4   in accordance with 21 CFR 1301.74," is that
     5   from the DEA letter?                                5   right?
     6           MS. MILLER: Object to form.                 6          MS. MILLER: Object to form.
     7       A. I see what the title says. I see the         7   BY MR. ELSNER:
     8   quote. I can't remember if I pulled that            8       Q. Is that what it says?
     9   directly out of the letter.                         9       A. That's what it says.
    10   BY MR. ELSNER:                                     10       Q. Okay. And that's what you put in the
    11       Q. Well, you're familiar with the letter,      11   very first bullet in your presentation on
    12   right? You know that's what's in the letter        12   Page 4?
    13   from the DEA in December of 2007? You've seen      13          MR. MONTMINY: Objection. Form.
    14   it before?                                         14       A. That looks to be what I put.
    15           MS. MILLER: Object to form.                15   BY MR. ELSNER:
    16       A. I read the letter. I haven't read           16       Q. Okay. And if you look at the last
    17   that letter in a long time, I can't remember       17   bullet on your presentation on Page 4,
    18   every word in the letter, or every quote in the    18   "Suspicious orders include orders of unusual
    19   letter.                                            19   size, orders deviating substantially from a
    20   BY MR. ELSNER:                                     20   normal pattern, and orders of unusual
    21       Q. That was a pretty important part of         21   frequency." Is that what you wrote?
    22   the letter, though, from the DEA in December of    22          MR. MONTMINY: Object to form.
    23   2007, wasn't it?                                   23          MS. MILLER: Objection. Form.
    24           MS. MILLER: Object to form.                24       A. That's what it says here.
                                                 Page 51                                                 Page 53
     1          MR. MONTMINY: Objection.                     1   BY MR. ELSNER:
     2       A. It was part of the letter.                   2       Q. And if you go to the last paragraph of
     3   BY MR. ELSNER:                                      3   the DEA letter from December 27, 2007 in the
     4       Q. Here's the Exhibit 4 which is the            4   first line, the last paragraph there. Do you
     5   December 27, 2007 letter from the DEA.              5   see where I am, beginning "The regulation
     6          (Whereupon, CVS-Schiavo-4 was marked         6   specifically states"? Are you with me?
     7          for identification.)                         7       A. I'm with you.
     8   BY MR. ELSNER:                                      8       Q. It says "The regulation specifically
     9       Q. This is the letter that was sent to          9   states that suspicious orders include orders of
    10   every manufacturer and distributor of controlled   10   unusual size, orders deviating substantially
    11   substances, is that right?                         11   from a normal pattern, and orders of unusual
    12          MS. MILLER: Object to form.                 12   frequency." Is that what it says?
    13       A. That's how I understood the letter. I       13       A. That's what it says.
    14   don't know if I can confirm that was --            14       Q. Okay. And that's what's quoted on
    15   BY MR. ELSNER:                                     15   Page 4 of your presentation?
    16       Q. Is that what it says in the first           16           MS. MILLER: Object to form.
    17   letter of the -- the first sentence of the         17       A. That looks to align.
    18   letter? It says "This letter is being sent to      18   BY MR. ELSNER:
    19   every entity in the United States registered       19       Q. Turn to Page 5 of your presentation.
    20   with the Drug Enforcement" Agency -- sorry --      20   Actually, let me show you Exhibit 5 real quick.
    21   "Administration to manufacture or distribute       21           (Whereupon, CVS-Schiavo-5 was marked
    22   controlled substances." Is that what it says?      22           for identification.)
    23       A. That is what it says in the letter.         23   BY MR. ELSNER:
    24       Q. The next sentence says "The purpose of      24       Q. This is MR 5.

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                                                Page 54                                                 Page 56
     1           MS. MILLER: What is the MR?                1   BY MR. ELSNER:
     2           MR. ELSNER: It's our internal number       2       Q. I can clarify this.
     3   so she knows what exhibit.                         3           Were you aware when you gave this
     4           MS. MILLER: For Motley Rice. I got         4   presentation in the Buzzeo Group that the letter
     5   it.                                                5   that you were referencing, the December, 2007
     6   BY MR. ELSNER:                                     6   letter from the DEA, was not the first letter
     7       Q. This is Exhibit 5 to the deposition.        7   that had been sent to distributors of controlled
     8   This is a letter from the DEA dated                8   substances? Were you aware of that?
     9   September 27, 2006.                                9           MS. MILLER: Object to form.
    10           Were you aware that the DEA had sent a    10       A. I don't recall at that time if I was
    11   letter to distributors of controlled substances   11   aware of that.
    12   the year prior to the December 27, 2007 letter?   12   BY MR. ELSNER:
    13           MS. MILLER: Object to form.               13       Q. Before you began preparation for
    14           Mike, was this produced in connection     14   today's deposition in any fashion, while you
    15   with an e-mail, or is this the --                 15   were working at CVS or while you were working at
    16           MR. ELSNER: This?                         16   Henry Schein, were you aware that the DEA had
    17           MS. MILLER: Yes.                          17   sent a letter in September of 2006 to all
    18           MR. ELSNER: It was produced by CVS.       18   distributors of controlled substances?
    19           MS. MILLER: No, I understand. I           19           MS. MILLER: Object to form.
    20   understand. But I'm just asking whether there     20           Do you want to take a minute to look
    21   was a cover e-mail or if this is the whole        21   at the letter?
    22   document.                                         22       A. Yeah, can I read the letter?
    23           MR. ELSNER: I don't know. I'm not         23   BY MR. ELSNER:
    24   sure that it matters. I'm just referencing the    24       Q. You're welcome to look at it.
                                                Page 55                                                 Page 57
     1   DEA letter.                                        1           (Witness reviewing document.)
     2          MS. MILLER: I just want to make sure        2           MR. ELSNER: Why don't we go off the
     3   the document --                                    3   record. If you're going to read the entire
     4          MR. ELSNER: She knows. That's why           4   letter into the record, I prefer we go off.
     5   she's asking.                                      5   BY MR. ELSNER:
     6   BY MR. ELSNER:                                     6       Q. Have you had enough time to look at
     7       Q. Could you refer to the letter? In           7   it?
     8   September -- the letter is dated September 27,     8           MS. MILLER: I don't think we should
     9   2006. Have you seen that?                          9   go off the record while the witness has an
    10          MS. MILLER: Object to form.                10   opportunity to review the document. Are you
    11       A. I see the date on the letter.              11   ready --
    12   BY MR. ELSNER:                                    12           MR. ELSNER: Well, I have limited
    13       Q. Okay. And have you ever seen this          13   time. If he's going to read every document in
    14   letter before?                                    14   full every time I ask a question, we're going to
    15          MS. MILLER: Object to form.                15   go off the record.
    16   BY MR. ELSNER:                                    16           MS. MILLER: He has a right to review
    17       Q. Have you seen --                           17   the document.
    18          MS. MILLER: I object -- let me just,       18           MR. ELSNER: He does. He can
    19   I'm going to object based on attorney work        19   generally familiarize himself with it. If you
    20   product to the extent the question calls for a    20   prepped him on it a couple of days ago, he's
    21   response that would reveal any documents shown    21   seen it before.
    22   to the witness in prep, and instruct you not to   22           MS. MILLER: Object to form.
    23   answer to the extent you would reveal any         23   Objection to the statement on the record.
    24   communications during our time meeting in prep.   24   There's no statement by the witness, nor will

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                                                 Page 58                                                 Page 60
     1   there be, as to the documents he reviewed in        1   other substances. I'm aware of that.
     2   prep.                                               2   BY MR. ELSNER:
     3           MR. ELSNER: I don't think he's              3       Q. Are you aware that that was the reason
     4   entitled to privilege here.                         4   that the DEA was sending this letter in 2006 and
     5   BY MR. ELSNER:                                      5   sending a follow-up letter in December of 2007?
     6       Q. Are you ready to answer the questions,       6   Do you understand that that was the reason those
     7   or do you need more time?                           7   letters were being sent?
     8       A. Specifically to your question of have        8          MS. MILLER: Object to form.
     9   I seen this before?                                 9       A. At the time of these letters, I don't
    10       Q. Yes.                                        10   know.
    11       A. I have not read the whole letter, but       11   BY MR. ELSNER:
    12   this is not -- this doesn't look familiar to me.   12       Q. What about when you joined CVS, were
    13       Q. Okay. In the second sentence of the         13   you aware of it then?
    14   letter it says "The purpose of this letter is to   14          MS. MILLER: Object to form.
    15   reiterate the responsibilities of controlled       15       A. I'm aware that people abuse drugs,
    16   substance distributors in view of the              16   that that happens.
    17   prescription drug abuse problem our nation         17   BY MR. ELSNER:
    18   currently faces."                                  18       Q. Are you aware that that's the purpose
    19           Were you aware that there is a             19   behind the Controlled Substances Act and the
    20   prescription drug abuse problem in the United      20   regulations that we're discussing?
    21   States?                                            21          MS. MILLER: Object to the form.
    22           MS. MILLER: Object to form.                22       A. I don't think I know that's why they
    23           MR. MONTMINY: Object to form.              23   wrote the Controlled Substances Act, no.
    24       A. Are you referring to in 2006 when I         24   BY MR. ELSNER:
                                                 Page 59                                                 Page 61
     1   read --                                             1       Q. Were you aware that Congress had
     2   BY MR. ELSNER:                                      2   expressly declared that the illegal distribution
     3       Q. We can start in 2006 through today.          3   of controlled substances has a substantial and
     4       A. In 2006, I'm not sure if I was aware         4   detrimental effect on the health and the general
     5   of that.                                            5   welfare of the American people?
     6       Q. What about in 2007 through '12 while         6          MS. MILLER: Object.
     7   you were working in DEA compliance at Henry         7   BY MR. ELSNER:
     8   Schein?                                             8       Q. Were you aware of that?
     9          MS. MILLER: Object to form.                  9          MS. MILLER: Object to form.
    10          MR. MONTMINY: Object to form.               10       A. I'm not aware of that from Congress.
    11       A. I think I became aware that there are       11   BY MR. ELSNER:
    12   people who have used drugs.                        12       Q. Okay. This is in the third paragraph,
    13   BY MR. ELSNER:                                     13   the last sentence, do you see where I'm at,
    14       Q. When?                                       14   "Congress has expressly declared"?
    15       A. I'm not sure what you're asking.            15       A. I'm sorry, where is it?
    16       Q. I'm asking are you aware, and if so         16       Q. It's in the third paragraph in the
    17   when, that there's a prescription drug abuse       17   last sentence. It says "This responsibility is
    18   problem that the nation currently faces? A         18   critical, as Congress has expressly declared
    19   prescription drug abuse problem, not any type of   19   that the illegal distribution of controlled
    20   drug abuse.                                        20   substances has a substantial and detrimental
    21          MR. MONTMINY: Object to form.               21   effect on the health and general welfare of the
    22          MS. MILLER: Object to form.                 22   American people." Were you aware of that?
    23       A. Yeah, I'm aware that there are people       23          MS. MILLER: Object to form.
    24   who abuse prescription drugs and other drugs and   24       A. I see that written in the letter.

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                                                  Page 62                                               Page 64
     1   This is my first time seeing this -- or             1   with these materials in the DEA meeting?
     2   recalling seeing this letter.                       2          MR. MONTMINY: Objection to form.
     3   BY MR. ELSNER:                                      3   Outside the scope.
     4       Q. If you turn back to your presentation,       4      A. I remember getting a binder during
     5   which is Exhibit 3, the PowerPoint presentation.    5   that meeting, or binders being provided.
     6   It has in the next -- on Page 5 there's a title     6   BY MR. ELSNER:
     7   that says October 2009 Meeting with the DEA. Do     7      Q. Where did you keep those at Henry
     8   you see that?                                       8   Schein, if you kept them?
     9       A. On Page 5.                                   9          MR. MONTMINY: Objection. Form,
    10       Q. The heading.                                10   outside the scope.
    11       A. I see that.                                 11      A. I don't remember where those were
    12       Q. Okay. Did I read that accurately?           12   maintained.
    13       A. "October 2009 meeting with DEA."            13   BY MR. ELSNER:
    14       Q. And this refers to a meeting that           14      Q. Did you maintain them, or did somebody
    15   Henry Schein had with the DEA in New York, is      15   else that attended the meeting take them with
    16   that right?                                        16   them?
    17          MR. MONTMINY: Objection. Form.              17          MR. MONTMINY: Objection. Form,
    18       A. I don't remember exactly when that          18   outside the scope.
    19   meeting took place, but I know that we had a       19      A. I really don't recall.
    20   meeting with the DEA.                              20   BY MR. ELSNER:
    21   BY MR. ELSNER:                                     21      Q. Who else was there from Henry Schein
    22       Q. Did you attend that meeting?                22   other than you?
    23       A. I attended that meeting.                    23          MR. MONTMINY: Objection. Form,
    24       Q. That was in Long Island?                    24   outside the scope.
                                                  Page 63                                               Page 65
     1       A. Yes, that was on Long Island.                1       A. The only other individuals I
     2       Q. And in the first bullet here, you --         2   specifically recall being there were Len David
     3   it states "Reiterated what was documented in the    3   and Sergio Tejeda.
     4   December 2007 letter." That refers to the DEA       4       Q. Who is Sergio Tejeda?
     5   letter of December of 2007 that we were             5          MR. MONTMINY: Objection to form.
     6   discussing, is that right?                          6       A. He was my manager at the time.
     7           MS. MILLER: Object to form.                 7   BY MR. ELSNER:
     8       A. Although I don't specifically recall         8       Q. In the last -- do you recall what was
     9   that, it makes sense that that's what it's          9   in the binder other than what's listed here?
    10   referring to.                                      10       A. I don't recall all this being listed
    11   BY MR. ELSNER:                                     11   being in the binder. I see it says it there. I
    12       Q. Okay. And then next it says "Advised        12   don't recall -- if this was it, I don't recall
    13   what was expected of HSI as a distributor of       13   what else was in there.
    14   controlled substances." This is the DEA            14       Q. In the last bullet it says "Put HSI on
    15   advising Henry Schein as to what is expected as    15   notice." Is that what it says?
    16   a distributor of controlled substances. Was        16       A. That is what it says.
    17   that part of the discussion?                       17       Q. And that was to put Henry Schein on
    18       A. I don't exactly remember the full           18   notice of its obligations with respect to the
    19   conversation with the DEA, but that's what it      19   distribution of controlled substances, is that
    20   says there.                                        20   right?
    21       Q. Okay. It says here that there was a         21          MR. MONTMINY: Objection. Form.
    22   binder provided by the DEA which contained         22       A. I'm not exactly sure what I meant by
    23   regulations, case studies, and ARCOS               23   that.
    24   information. Did the DEA provide Henry Schein      24   BY MR. ELSNER:

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                                                Page 66                                                 Page 68
     1       Q. You're not sure what you meant by "Put      1       Q. If you turn to the next page of the
     2   HSI on notice"? Is there anything else they        2   PowerPoint, this is "HSI SOM Implementation
     3   could have put you on notice about that came up    3   Challenges." Is that what the heading says?
     4   in that meeting?                                   4       A. That is what the heading says.
     5          MS. MILLER: Object to form.                 5       Q. Okay. One of the challenges that
     6          MR. MONTMINY: Object to form.               6   Henry Schein faced from a suspicious order
     7       A. I don't recall.                             7   monitoring point of view was the amount of
     8   BY MR. ELSNER:                                     8   customers that they had, which is listed in the
     9       Q. But that's what you wrote, is that          9   second bullet, right? It says "Amount of
    10   right?                                            10   customers (386,000 total/36,300 purchase
    11          MR. MONTMINY: Object to form.              11   controls)."
    12       A. Again, I don't know if I wrote that,       12          What does purchase controls refer to?
    13   but that's what it says in here.                  13          MR. MONTMINY: Objection. Form,
    14   BY MR. ELSNER:                                    14   compound.
    15       Q. That's in the presentation you gave,       15       A. I'm not exactly sure.
    16   is that right?                                    16   BY MR. ELSNER:
    17          MS. MILLER: Object to form.                17       Q. One of the challenges that Henry
    18          MR. MONTMINY: Object to form.              18   Schein faced in its suspicious order monitoring
    19       A. I don't know if this is the exact          19   program was the number of customers that it had,
    20   presentation I gave, but that is in this          20   is that correct?
    21   presentation that we're reviewing.                21          MR. MONTMINY: Objection. Form,
    22   BY MR. ELSNER:                                    22   outside the scope.
    23       Q. You have no reason to believe that         23       A. It's documented there as a challenge.
    24   it's not in the presentation that you gave to     24   BY MR. ELSNER:
                                                Page 67                                                 Page 69
     1   everyone that attended this conference, is that    1       Q. And it says it had a "Vast/complicated
     2   right?                                             2   customer base (Dental/Mental/Vet)," right?
     3          MR. MONTMINY: Objection. Form.              3          MS. MILLER: Object to form.
     4      A. If you're saying that's what this is,        4          MR. MONTMINY: Objection. Form.
     5   I don't have reason to believe that it isn't,      5       A. That is what it says.
     6   but I don't recall this being the exact            6   BY MR. ELSNER:
     7   presentation.                                      7       Q. In the fourth bullet, one of the
     8   BY MR. ELSNER:                                     8   challenges in the SOM implementation at Henry
     9      Q. If you turn to the -- let me ask one         9   Schein was a "Lack of resources." Is that what
    10   other question.                                   10   it says?
    11          Who asked for the meeting? Did Henry       11          MR. MONTMINY: Objection. Form.
    12   Schein ask for the meeting with the DEA, or did   12       A. That is what it says.
    13   the DEA ask to meet with Henry Schein?            13   BY MR. ELSNER:
    14          MR. MONTMINY: Objection. Form,             14       Q. Lack of resources to do due diligence
    15   outside the scope.                                15   on new accounts, correct?
    16      A. I believe the DEA asked for this            16          MR. MONTMINY: Objection. Form.
    17   meeting.                                          17       A. That's what it says.
    18   BY MR. ELSNER:                                    18   BY MR. ELSNER:
    19      Q. Okay. Do you understand why the DEA         19       Q. To review pending accounts, is that
    20   asked for the meeting?                            20   right?
    21          MS. MILLER: Object to form.                21          MR. MONTMINY: Objection. Form,
    22      A. I don't know if I ever knew the exact       22   outside the scope.
    23   reason why.                                       23       A. That's what it says.
    24   BY MR. ELSNER:                                    24   BY MR. ELSNER:

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                                                 Page 70                                                 Page 72
     1       Q. And a lack of resources for site             1       A. Again, I don't know exactly what I
     2   visits, correct?                                    2   meant when I put this together.
     3           MR. MONTMINY: Objection. Form,              3   BY MR. ELSNER:
     4   outside the scope.                                  4       Q. Well, did you have any difficulties in
     5       A. That is what it says.                        5   the Henry Schein customers that you were
     6   BY MR. ELSNER:                                      6   interacting with to obtain information from them
     7       Q. Okay. One of the other implementation        7   in order that you can conduct your due
     8   challenges for the SOM program under                8   diligence?
     9   "Sales/Field Sales Representatives" in the          9          MR. MONTMINY: Objection. Form.
    10   second bullet says a "Conflict of interest?"       10       A. I can't remember any specific
    11           What are you referring to there?           11   examples, but every interaction with the
    12           MR. MONTMINY: Objection. Form,             12   prescriber was different. Some were easier to
    13   outside the scope.                                 13   work with than others.
    14       A. I don't know exactly what I meant when      14   BY MR. ELSNER:
    15   I put that.                                        15       Q. You don't recall a single instance
    16   BY MR. ELSNER:                                     16   where there was a client at Henry Schein where
    17       Q. Was there a conflict of interest            17   you had requested information and they were not
    18   between those who were trying to sell products     18   cooperating fully with your request for the
    19   and obtain new customers for controlled            19   information?
    20   substances versus compliance?                      20          MR. MONTMINY: Objection. Form.
    21           MR. MONTMINY: Objection. Form,             21       A. I can't recall a time where we had a
    22   outside the scope.                                 22   customer who -- I mean, I recall there being
    23       A. I guess there could be, but I guess --      23   difficult conversations with customers. I don't
    24   I think that depends on the person, but again I    24   recall any situations where I couldn't get what
                                                 Page 71                                                 Page 73
     1   don't know exactly what I was referring to here.    1   I needed to conduct due diligence.
     2   BY MR. ELSNER:                                      2   BY MR. ELSNER:
     3      Q. Is that a potential conflict of               3       Q. Do you recall conversations with
     4   interest that could exist within a company          4   clients that were angry or frustrated that Henry
     5   related to the monitoring for suspicious orders     5   Schein had not distributed or sold a controlled
     6   of controlled substances?                           6   substance to them?
     7          MR. MONTMINY: Objection. Form.               7          MR. MONTMINY: Objection. Form,
     8      A. I don't know. I know specifically at          8   outside the scope.
     9   Henry Schein that was not a concern of mine.        9       A. I don't remember any specific
    10   BY MR. ELSNER:                                     10   conversations.
    11      Q. But you wrote "Sales/Field                   11   BY MR. ELSNER:
    12   Representatives Conflict of Interest." Is that     12       Q. Do you recall that there were
    13   what you wrote?                                    13   physicians that Henry Schein was distributing
    14          MR. MONTMINY: Object to form.               14   drugs to, some of whom were self-medicating?
    15      A. That's what this document says.              15          MR. MONTMINY: Objection. Form,
    16   BY MR. ELSNER:                                     16   outside the scope.
    17      Q. It also says one of the implementation       17       A. I don't recall any specific prescriber
    18   challenges is "Cooperation from customers,"        18   that we knew that was self-medicating that we
    19   correct?                                           19   would distribute to. I believe -- sorry.
    20          MR. MONTMINY: Objection. Form.              20   BY MR. ELSNER:
    21      A. That's what it says.                         21       Q. Sorry, I didn't mean to interrupt. I
    22   BY MR. ELSNER:                                     22   thought you were done.
    23      Q. What did you mean by that?                   23       A. I believe our process or our policy
    24          MS. MILLER: Objection. Form.                24   was not to distribute to self-medicating.

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     1      Q. Why?                                          1   Outside the scope.
     2          MR. MONTMINY: Objection. Form,               2       A. Drugs that were ordered, we took
     3   outside the scope.                                  3   active ingredient into account.
     4      A. That was our policy. I don't think I          4   BY MR. ELSNER:
     5   wrote the policy.                                   5       Q. So that you understood that if
     6   BY MR. ELSNER:                                      6   somebody ordered two different drugs' names, but
     7      Q. It's because the drugs are highly             7   they had the same active ingredient, you could
     8   addictive, right?                                   8   calculate those two together to understand the
     9          MR. MONTMINY: Objection. Form,               9   total amount of that substance they were
    10   argumentative.                                     10   ordering, isn't that the purpose?
    11      A. Not necessarily.                             11          MS. MILLER: Object to form.
    12   BY MR. ELSNER:                                     12          MR. MONTMINY: Objection. Form.
    13      Q. You don't understand a controlled            13       A. I don't recall what the exact purpose
    14   substance to be potentially highly addictive?      14   is, but it was to see for that active ingredient
    15          MS. MILLER: Object to form.                 15   how much was being ordered.
    16          MR. MONTMINY: Object to form.               16   BY MR. ELSNER:
    17      A. I know that some controlled substances       17       Q. And the only way to do that is to
    18   can be addictive.                                  18   measure by active ingredient, you couldn't do it
    19   BY MR. ELSNER:                                     19   by drug name, correct?
    20      Q. If you turn to the next page in your         20          MR. MONTMINY: Object to form.
    21   presentation under "Henry Schein's Suspicious      21          MS. MILLER: Object to form.
    22   Order Monitoring" on Page 7. Do you see where      22       A. I don't know that to be the case.
    23   I'm at?                                            23   BY MR. ELSNER:
    24          MR. MONTMINY: Objection. Form.              24       Q. When did Henry Schein have a system in
                                                  Page 75                                                Page 77
     1       A. I see where you're at.                       1   place -- you gave this presentation in November
     2   BY MR. ELSNER:                                      2   of 2010. When did Henry Schein have a system in
     3       Q. And there's a title there about              3   place to calculate drugs by active ingredient as
     4   "Active Ingredients," is that right?                4   a component of its suspicious order monitoring
     5       A. I see that.                                  5   system?
     6       Q. It says "All quantities and values           6          MS. MILLER: Object to form.
     7   calculated and used in this system are at the       7          MR. MONTMINY: Objection to form.
     8   active ingredient level." What does that mean?      8   Outside the scope.
     9       A. I believe that's looking at both brand       9      A. I don't recall when that happened.
    10   name and generic drugs if they had the same        10   BY MR. ELSNER:
    11   active ingredient.                                 11      Q. Well, it was in place in 2010, right?
    12       Q. So Henry Schein had a -- as a               12          MS. MILLER: Object to form.
    13   component of its suspicious order monitoring       13      A. I don't recall.
    14   program was measuring drugs it was selling by      14   BY MR. ELSNER:
    15   active ingredient, is that right?                  15      Q. That's what this presentation says,
    16          MS. MILLER: Object to form.                 16   right?
    17       A. Can you just ask that one more time,        17          MS. MILLER: Object to form.
    18   please?                                            18      A. It looks like that's what this is
    19   BY MR. ELSNER:                                     19   indicating.
    20       Q. So Henry Schein had as a component of       20   BY MR. ELSNER:
    21   its suspicious order monitoring program a system   21      Q. Do you know whether it was in the new
    22   to measure drugs it was selling by active          22   system that Henry Schein created or whether it
    23   ingredient?                                        23   was in the existing system that Henry Schein
    24          MR. MONTMINY: Object to form.               24   created when you arrived and took over these

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     1   roles?                                              1   position in 2007 and when you were working on
     2          MR. MONTMINY: Objection. Form,               2   the enhanced system?
     3   outside the scope.                                  3          MR. MONTMINY: Objection. Form.
     4      A. I don't recall what -- prior to me            4      A. I really don't recall much about the
     5   getting involved in this, I don't recall what       5   old system, and I don't remember.
     6   the old system had or used, but that was a          6   BY MR. ELSNER:
     7   component of the new enhanced system that we        7      Q. Did you work on the enhanced system?
     8   had.                                                8      A. I was part of a team that worked on
     9   BY MR. ELSNER:                                      9   the enhanced system.
    10      Q. It was a component of the newer              10      Q. Okay. What's your best estimate of
    11   enhanced system. And when did that come into       11   when you were doing that work?
    12   place?                                             12          MR. MONTMINY: Objection. Form.
    13          MR. MONTMINY: Objection. Form,              13      A. I don't remember. Sometime when I
    14   outside the scope.                                 14   started the role.
    15      A. I don't recall.                              15   BY MR. ELSNER:
    16   BY MR. ELSNER:                                     16      Q. When you gave this presentation in
    17      Q. Well, was the enhanced system the            17   November of 2010, was the enhanced system fully
    18   system that you were working on when you moved     18   active or not?
    19   into a new role at Henry Schein related to DEA     19          MR. MONTMINY: Objection. Form.
    20   regulations in 2007?                               20      A. I don't recall.
    21          MR. MONTMINY: Objection. Form,              21          MR. ELSNER: I'm going to mark this
    22   outside the scope.                                 22   next document as Exhibit 6.
    23      A. I'm not sure I understand the                23          (Whereupon, CVS-Schiavo-6 was marked
    24   question.                                          24          for identification.)
                                                 Page 79                                                Page 81
     1   BY MR. ELSNER:                                      1   BY MR. ELSNER:
     2      Q. I'm trying to understand the time             2       Q. This is MR 268. Do you see the first
     3   frame. You said that there was a SOM system,        3   page is a cover e-mail from you to three
     4   and then at Henry Schein there was an enhanced      4   individuals? Who are the three individuals that
     5   SOM system. So I'm trying to understand the         5   you sent this e-mail to?
     6   time frame of when you were working on the          6       A. Len David, Mike DiBello, and Sergio
     7   enhanced SOM system. That's part of what you        7   Tejeda.
     8   were working on, is that right?                     8       Q. Who are they?
     9         MR. MONTMINY: Object to form.                 9       A. Sergio was my manager at the time.
    10         MS. MILLER: Object to form.                  10   Mike was -- I believe he was the director in
    11      A. At some point during my role we worked       11   compliance who Sergio reported up to. And I
    12   on enhancing our SOM system.                       12   believe at the time Len David was our chief
    13   BY MR. ELSNER:                                     13   compliance officer who Mike reported up to.
    14      Q. But at some time when, 2007, '8, '9?         14       Q. This e-mail is dated October 20, 2009,
    15      A. I really don't recall.                       15   is that right?
    16      Q. That's part of what you were working         16       A. That's what it says.
    17   on was the enhanced system, though, when you       17       Q. The subject of the e-mail is "DEA
    18   moved into that position in 2007, is that right?   18   Meeting 10-21-09," is that right?
    19         MR. MONTMINY: Objection. Form.               19       A. That's what it says.
    20      A. I don't recall what I was doing when I       20       Q. And it says "Len." This is you
    21   went into that position.                           21   writing. "Len, Attached please find the handout
    22   BY MR. ELSNER:                                     22   we prepared for tomorrow's meeting with the
    23      Q. Well, what's your best memory of what        23   DEA." Is that right?
    24   system was in place when you moved into that       24       A. I don't recall writing this e-mail,

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     1   but that's what it says.                            1   the record. I generally do not -- the
     2       Q. Okay. And it's sent by you to these          2   conversation needs to be limited to privilege
     3   individuals, correct?                               3   issues and not a conversation about the
     4       A. It appears to be.                            4   document.
     5       Q. And it attaches -- you see an                5          MS. MILLER: Understood. Understood.
     6   attachment, "DEA Meeting 10-21-09" on the little    6          THE VIDEOGRAPHER: We're going off the
     7   image there on the first page, is that right?       7   record at 9:29 a.m.
     8       A. Yes. I see that.                             8          (Whereupon, a recess was taken.)
     9       Q. It attaches a PowerPoint presentation        9          THE VIDEOGRAPHER: We're back on the
    10   dated October 21, 2009, is that right?             10   record at 9:42 a.m.
    11       A. That's what it says.                        11   BY MR. ELSNER:
    12       Q. And this is the PowerPoint                  12       Q. Mr. Schiavo, before we broke I was
    13   presentation you sent to the group?                13   showing you the DEA PowerPoint presentation, and
    14       A. If this is that attachment, then it         14   we were looking at -- and the date of this is
    15   appears to be what I must have sent.               15   October 21, 2009, and we were looking at the
    16       Q. Did you create this PowerPoint              16   third page under Henry -- the topic heading of
    17   presentation?                                      17   that page is "Henry Schein, Inc.'s Suspicious
    18       A. I don't recall this PowerPoint,             18   Order Monitoring."
    19   looking at the cover page.                         19          Do you see that?
    20       Q. On the second page there's an overview      20       A. I see that.
    21   of Henry Schein's business, is that right?         21       Q. Okay. And there's a topic here, it
    22       A. That's what it appears to be.               22   says "Active ingredients," and it reads "All
    23       Q. And if you turn to the third page of        23   quantities and values calculated and used in
    24   the PowerPoint, it lists under "Active             24   this system are at the active ingredient level."

                                                 Page 83                                                      Page 85
     1   Ingredients" -- do you see where I'm at?            1   Did I read that correctly?
     2       A. Yes.                                         2      A. That is what it says.
     3       Q. Okay. It says something strikingly           3      Q. Okay. So it's true, is it not, that
     4   similar, "All quantities and values calculated      4   as of October of 2009 Henry Schein had a
     5   and used in this system are at the active           5   suspicious order monitoring system in place that
     6   ingredient level," is that right?                   6   tracked drugs by active ingredient?
     7          MR. MONTMINY: Object to form.                7          MS. MILLER: Object to form.
     8       A. That's what it says. So I don't              8      A. That's the date of this presentation.
     9   remember putting this document together, I don't    9   That's what it says. I don't remember exactly
    10   remember if there was input from our legal team,   10   when we started doing that, but that's what it
    11   so I would like to talk to my lawyer to see what   11   says.
    12   I can discuss or -- I don't remember this          12   BY MR. ELSNER:
    13   document or the reason it being put together.      13      Q. Okay. Meeting with the DEA was an
    14   BY MR. ELSNER:                                     14   important event, right?
    15       Q. Well, that's what's written in the          15          MR. MONTMINY: Objection to form.
    16   PowerPoint presentation, right, that under         16      A. We met with the DEA, they asked.
    17   Active Ingredients it says "All quantities and     17   BY MR. ELSNER:
    18   values calculated and used in this system are at   18      Q. But you recognize that to be an
    19   the active ingredient level"? Is that what it      19   important event?
    20   says?                                              20          MS. MILLER: Object to form.
    21          MS. MILLER: Mike, let's take a break.       21      A. I'm not sure what you mean by
    22   He's asked to confer. He's asked to confer         22   important, but --
    23   about privilege issues.                            23   BY MR. ELSNER:
    24          MR. ELSNER: All right. We'll go off         24      Q. Well, the DEA regulated Henry Schein's

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     1   distribution of controlled substances, correct?     1      A. I try to be careful. But in terms of
     2      A. Henry Schein was a DEA registrant, and        2   this document, I don't remember putting it
     3   there are certain regulations that as a             3   together.
     4   registrant we needed to follow.                     4   BY MR. ELSNER:
     5      Q. And if you don't follow those                 5      Q. And the document says that as of this
     6   regulations, one of the things that the DEA can     6   date in October of 2009 that Henry Schein had a
     7   do is remove your license to sell those drugs,      7   suspicious order monitoring system in place that
     8   correct?                                            8   calculated quantities and values using the
     9          MS. MILLER: Object to form.                  9   active ingredient level, correct?
    10      A. We have a DEA registration. I know           10           MR. MONTMINY: Objection. Form.
    11   there's penalties if you don't comply with         11      A. I see that it says that.
    12   certain regulations.                               12   BY MR. ELSNER:
    13   BY MR. ELSNER:                                     13      Q. Okay. And you understand that Henry
    14      Q. And one of those penalties could be          14   Schein did have such a system in place, is that
    15   suspending or removing the registrant's license,   15   right?
    16   correct?                                           16           MR. MONTMINY: Objection. Form.
    17          MS. MILLER: Object to form.                 17      A. I understand at some point that was an
    18      A. I guess there's various degrees of           18   aspect of the system.
    19   penalties.                                         19   BY MR. ELSNER:
    20   BY MR. ELSNER:                                     20      Q. And you have no reason to believe that
    21      Q. But you understood those to be               21   this is inaccurate, that you told the DEA
    22   included among them, correct?                      22   something that was not actually truthful, is
    23          MR. MONTMINY: Objection to form.            23   that right?
    24      A. I mean, it's a DEA registration, so...       24           MR. MONTMINY: Objection. Form.
                                                 Page 87                                                 Page 89
     1   BY MR. ELSNER:                                      1       A. I don't recall nor do I -- would I
     2       Q. Well, do you know or don't know              2   intend to be inaccurate to the DEA, but
     3   whether the DEA could revoke someone's license?     3   specifically to this, I don't remember putting
     4          MS. MILLER: Object to form.                  4   this together, I don't specifically know exactly
     5       A. It's a DEA license. That could be one        5   what it was referring to, so...
     6   of the penalties.                                   6   BY MR. ELSNER:
     7   BY MR. ELSNER:                                      7       Q. Here's what I'm trying to understand,
     8       Q. Do you know, or are you just guessing?       8   because given the way that your answers are to
     9          MS. MILLER: Object to form.                  9   me, it sounds like maybe you were telling the
    10       A. I know that if you don't follow             10   DEA one thing that actually wasn't happening in
    11   certain DEA regulations there's various degrees    11   place at Henry Schein, is that true?
    12   of penalties.                                      12          MR. MONTMINY: Objection to form.
    13   BY MR. ELSNER:                                     13   BY MR. ELSNER:
    14       Q. And it would be important for you,          14       Q. Or is it that you really, truthfully
    15   wouldn't it, in meeting with the DEA that the      15   try to make the information you told the DEA as
    16   information that you told them was accurate,       16   accurate as possible?
    17   right?                                             17          MR. MONTMINY: Objection. Form.
    18          MR. MONTMINY: Objection to form.            18       A. Speaking for me personally, I would
    19       A. I don't ever recall putting anything        19   not try to be inaccurate.
    20   together with the intent of being inaccurate.      20   BY MR. ELSNER:
    21   BY MR. ELSNER:                                     21       Q. Okay. You would try to be truthful to
    22       Q. Because -- and you were careful,            22   the DEA, right?
    23   weren't you?                                       23       A. I can speak for myself, yes, I would
    24          MS. MILLER: Object to form.                 24   try to be truthful.

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                                                          Page 90                                                        Page 92
     1       Q. Okay. So if you turn two pages later                 1   outside the scope.
     2   to the same DEA presentation, it says "Henry                2          MR. ELSNER: Can you explain that
     3   Schein, Inc.'s Suspicious Order Monitoring" on              3   objection? Because I don't understand it.
     4   the top.                                                    4          MR. MONTMINY: Sure. We can have a
     5          Do you see that?                                     5   running objection if you want, but essentially
     6       A. I see that.                                          6   he's here to speak in his personal capacity.
     7       Q. Okay. And among the factors that the                 7   There was no notice provided to Schein that he
     8   model looks at at the end, it reads "The types              8   was a former employee and no opportunity to
     9   of indicators that the model will be looking for            9   prepare for this, and as of yet you haven't
    10   are the customers monthly activity compared to             10   asked a single question about CVS.
    11   his: Six month average, Twelve month average,              11          MR. ELSNER: Well, under the protocol
    12   Twelve month maximum, Twenty-four month maximum,           12   I don't need to separately notice it. I do need
    13   and Other various trending factors." Did I read            13   to notify you if I intend to use a document he
    14   that correctly?                                            14   hasn't seen before, which I haven't. And I
    15       A. That is what it says.                               15   think this is all fair game. So I'm happy to
    16       Q. Okay. So is it true that Henry Schein               16   let you have a continuing objection to the use,
    17   had a system in place that you were monitoring a           17   but I don't think we need to interrupt the
    18   customer's monthly purchases of controlled                 18   deposition with the same scope objections
    19   substances based on the prior 6-month and prior            19   throughout.
    20   12-month average?                                          20          MR. MONTMINY: Okay.
    21          MR. MONTMINY: Objection. Form.                      21   BY MR. ELSNER:
    22       A. At the time of this meeting, I cannot               22       Q. Can we go back to my question? I
    23   remember exactly what the system was.                      23   asked you if you could explain to me what the
    24   BY MR. ELSNER:                                             24   other various trending factors means.
                                                        Page 91                                                          Page 93
     1       Q. But this is what was written and                     1         A. I don't recall what that's referring
     2   presented to the DEA, correct?                              2   to.
     3         MR. MONTMINY: Objection. Form.                        3       Q. Okay. And then I also asked who at
     4       A. Based on that cover e-mail, this looks               4   Henry Schein, to your knowledge, set the
     5   like what was reviewed with the DEA.                        5   12-month max and the 24-month maximums?
     6   BY MR. ELSNER:                                              6       A. I don't recall who set that.
     7       Q. And you wouldn't try to tell the DEA                 7       Q. Do you know what those maximums were?
     8   something that was untrue, right?                           8       A. I don't recall how that worked.
     9       A. I would not intend to be untrue to the               9       Q. You said that the suspicious order
    10   DEA.                                                       10   monitoring system was only one component of the
    11       Q. Okay. So then it also says that the                 11   due diligence program at Henry Schein. What
    12   system is looking at 12-month maximums and                 12   were the others for controlled substances?
    13   24-month maximums, is that right?                          13       A. I mean, at a high level it was -- we
    14         MR. MONTMINY: Objection. Form.                       14   had an algorithm, or algorithms, and we had a
    15       A. That's what it says.                                15   due diligence process. Those were two main
    16   BY MR. ELSNER:                                             16   parts.
    17       Q. Okay. And then it says "Other various               17       Q. And the algorithm is a component of
    18   trending factors." What does other various                 18   the suspicious order monitoring system, right?
    19   trending factors mean?                                     19       A. The algorithm or algorithms were part
    20       A. I don't recall what that's referring                20   of the process.
    21   to.                                                        21       Q. Okay. And then so the other component
    22       Q. Who at Henry Schein set the 12-month                22   to that is due diligence based on orders that
    23   max and the 24-month max?                                  23   were flagged or triggered by the suspicious
    24         MR. MONTMINY: Objection. Form,                       24   order monitoring system, correct?

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                                                      Page 94                                                Page 96
     1           MR. MONTMINY: Objection. Form.                  1       A. I knew of a customer questionnaire.
     2        A. That was part of the process.                   2       Q. Did you use it?
     3   BY MR. ELSNER:                                          3       A. Specifically the one that it's
     4        Q. If you go two pages further under               4   referring to, I don't know. I know we had a
     5   "Standard Operating Procedures/Policies," it            5   customer questionnaire that we used to guide due
     6   says "Henry Schein Has Implemented and Enhanced         6   diligence.
     7   Many of Our Policies and Procedures," and then          7       Q. Did you use it, the customer
     8   it lists some things, including "Suspicious             8   questionnaire?
     9   Order Monitoring Policy."                               9          MR. MONTMINY: Objection. Form, asked
    10           Does this refresh your recollection            10   and answered.
    11   that as of 2009 the enhanced system had been put       11       A. At this time?
    12   into place at Henry Schein with respect to             12   BY MR. ELSNER:
    13   suspicious order monitoring?                           13       Q. At any time.
    14        A. At the time of this meeting, I don't           14          MR. MONTMINY: Same objection.
    15   recall what was in place.                              15       A. At my time at Henry Schein, I had used
    16        Q. Is that what's written in the                  16   a customer questionnaire to -- as a guideline
    17   presentation?                                          17   for due diligence.
    18           MR. MONTMINY: Object to form.                  18   BY MR. ELSNER:
    19        A. It says that "Henry Schein Has                 19       Q. And you would send that questionnaire
    20   Implemented and Enhanced Many of Our Policies          20   out to doctors and others that were ordering
    21   and Procedures."                                       21   controlled substances, is that right?
    22   BY MR. ELSNER:                                         22       A. Potentially.
    23        Q. Including the suspicious order                 23       Q. And you'd review those responses?
    24   monitoring program, correct?                           24       A. Either myself or someone else on the
                                                     Page 95                                                 Page 97
     1       A. That is one of the sub-bullets.                  1   team would review responses.
     2       Q. And then if you go two pages further,            2       Q. And on the last page under "Pain
     3   there's a "New Account Setup" page, and there's         3   Management Clinics - Due Diligence Process," the
     4   a list of items that you -- one page forward.           4   third bullet, it reads "Mandatory full
     5   Do you see where I'm at?                                5   regulatory audit is required for final approval"
     6       A. Okay.                                            6   to receive controlled substances, is that right?
     7       Q. And this is the due diligence done for           7       A. That's what it says.
     8   new account setups at Henry Schein as of 2009,          8       Q. Okay. And included "Inventory
     9   is that right?                                          9   controls, Security systems/protocols, Interview
    10       A. Again, at this time I don't exactly             10   with the doctor or owner, and a Comprehensive
    11   recall what the processes were.                        11   audit report including pictures of the facility
    12       Q. But that's what's in the presentation           12   and background information," is that right?
    13   that you gave to the DEA?                              13          MR. MONTMINY: Object to form.
    14       A. That is what's --                               14       A. That is what it says.
    15           MR. MONTMINY: Object to form.                  15   BY MR. ELSNER:
    16       A. That is what's in this presentation.            16       Q. Were you involved in this process at
    17   BY MR. ELSNER:                                         17   Henry Schein to collect the information for this
    18       Q. Okay. And it included a customer                18   mandatory full regulatory audit?
    19   questionnaire for every customer ordering              19       A. Specifically at this time I don't
    20   controlled substances, is that right?                  20   fully recall what my role is or was with doing
    21       A. I see that's what it says there.                21   that.
    22       Q. And did you work with that customer             22       Q. What about later on at Henry Schein?
    23   questionnaire for customers while at Henry             23       A. At some point while I worked at Henry
    24   Schein?                                                24   Schein that was part of my responsibilities, to

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     1   do due diligence.                                   1          MR. MONTMINY: Object to form.
     2       Q. And this was a component of Henry            2      A. I see that written there. In
     3   Schein's know your customer policies, is that       3   reference to know your customer policy, I don't
     4   right?                                              4   recall a know your customer policy that we had.
     5          MR. MONTMINY: Object to form.                5   BY MR. ELSNER:
     6   BY MR. ELSNER:                                      6      Q. But that's what's written here?
     7       Q. To collect this information?                 7      A. "'Know Your Customer' questionnaire is
     8          MS. MILLER: Object to form.                  8   sent to account" I see is what is written there.
     9          MR. MONTMINY: I'd like to re-assert          9      Q. Did Henry Schein have a know your
    10   my objection and make it clear that this witness   10   customer policy in 2010?
    11   does not represent Henry Schein in this            11          MR. MONTMINY: Objection. Form.
    12   deposition.                                        12      A. I don't recall.
    13          MR. ELSNER: You can object. Speaking        13   BY MR. ELSNER:
    14   objections are not permitted.                      14      Q. If you turn to Page 13 of the
    15   BY MR. ELSNER:                                     15   PowerPoint presentation for the Buzzeo
    16       Q. Go ahead.                                   16   conference, under -- the topic there is
    17       A. Can you just repeat the question?           17   "Questionnaires," is that right?
    18       Q. I had asked whether these -- reviewing      18      A. Questionnaires, yes.
    19   these questionnaires and reviewing the             19      Q. Okay. And there are "3 categories of
    20   information in the mandatory regulatory audits     20   questionnaires developed," it reads. "Know your
    21   is the know your customer information that was     21   customer" is one, correct?
    22   collected at Henry Schein.                         22      A. I see that.
    23          MR. MONTMINY: Objection. Form.              23      Q. "Self Assessment Questionnaire" and
    24       A. I know at some part -- at some point        24   "Extensive Site Visit Questionnaire," is that
                                                 Page 99                                                Page 101
     1   these do look like pieces of information that we    1   right?
     2   might look at for customers if doing due            2           MS. MILLER: Object to form.
     3   diligence.                                          3       A. I see where that's written.
     4   BY MR. ELSNER:                                      4   BY MR. ELSNER:
     5       Q. If you turn back to the PowerPoint           5       Q. And it lists some sample questions at
     6   presentation that you gave at the conference, on    6   the bottom of the PowerPoint presentation,
     7   Page 10 under the --                                7   correct?
     8          MR. MONTMINY: Object to the form of          8       A. I see that.
     9   that statement.                                     9       Q. It includes "Do you accept medical
    10   BY MR. ELSNER:                                     10   insurance?" And "What percentage pay insurance"
    11       Q. Page 10 under "The Pend Process." Do        11   versus pay in cash? Is that one of the sample
    12   you see where I'm at?                              12   questions?
    13       A. Page 10, "The Pend Process."                13       A. "Cash, credit," yes.
    14       Q. Under "Know Your Customer" in the           14       Q. Okay. And "Do you dispense...to
    15   middle, do you see where I am?                     15   out-of-state patients" is another inquiry,
    16       A. I see where you are.                        16   correct?
    17       Q. It says "questionnaire is sent to           17       A. I see that as one of the questions
    18   account. Once received back and we are still       18   listed.
    19   not comfortable releasing the order, a more        19       Q. All right. On Page 14, the next page,
    20   extensive questionnaire is sent out. If still      20   it refers to site visits. Do you see that?
    21   not comfortable, a phone interview or site visit   21       A. "Site visits consist of." I see that.
    22   will be scheduled if necessary." Those are the     22       Q. Okay. And they're "Conducted on 'high
    23   components in part of the know your customer       23   risk' accounts and accounts that we are not
    24   process at Henry Schein, is that correct?          24   comfortable with after initial due diligence,"

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     1   is that right?                                      1   right?
     2          MS. MILLER: Object to form.                  2          MS. MILLER: Object to form.
     3       A. I don't know if it was always the case       3   BY MR. ELSNER:
     4   for just high-risk accounts, but I see where it     4       Q. Yes, no?
     5   says here on high-risk accounts.                    5       A. I can't say. It's case-by-case.
     6   BY MR. ELSNER:                                      6       Q. It's on the criteria that you listed,
     7       Q. Was it sometimes for other accounts,         7   is that right?
     8   not high-risk accounts?                             8          MS. MILLER: Object to form.
     9       A. I don't remember all the instances we        9       A. It's listed as one of the elements we
    10   did site visits.                                   10   looked at.
    11       Q. The process, under item 2, could take       11   BY MR. ELSNER:
    12   anywhere from 6 to 8 weeks to complete, is that    12       Q. Okay. "Inventory reconciliations."
    13   right?                                             13   What's that?
    14          MS. MILLER: Object to form.                 14       A. I don't recall exactly what that is,
    15       A. I don't remember the exact time frame       15   but some kind of inventory review.
    16   it took to complete.                               16       Q. Inventory of what, the controlled
    17   BY MR. ELSNER:                                     17   substances they had on hand?
    18       Q. That's what it says here, though,           18          MR. MONTMINY: Objection to form.
    19   right?                                             19       A. I think just inventory in general.
    20       A. It says "Initially, the process could       20   BY MR. ELSNER:
    21   took anywhere from six to eight weeks to           21       Q. The site visit also consisted of
    22   complete."                                         22   security controls, is that right?
    23       Q. Okay. And on the bottom it says,            23          MR. MONTMINY: Objection. Form.
    24   "Site visits consist of," and it lists a number    24       A. That's what it says.
                                                Page 103                                              Page 105
     1   of things, including observing patients in the      1   BY MR. ELSNER:
     2   waiting room. Is that one?                          2      Q. Pictures?
     3          MR. MONTMINY: Objection. Form.               3          MR. MONTMINY: Same objection.
     4       A. That's what it says.                         4      A. It says that there.
     5   BY MR. ELSNER:                                      5   BY MR. ELSNER:
     6       Q. Cars in the parking lot?                     6      Q. Observing the surrounding
     7       A. That is what it says.                        7   neighborhood?
     8       Q. What were you looking for for cars in        8          MR. MONTMINY: Object to form.
     9   the parking lot, what kind of cars?                 9      A. That's what it says.
    10          MR. MONTMINY: Object to form.               10   BY MR. ELSNER:
    11       A. Could be anything from was it a full        11      Q. And "Recordkeeping/Protocols"?
    12   parking lot to out of state license plates.        12          MR. MONTMINY: Object to form.
    13   BY MR. ELSNER:                                     13   BY MR. ELSNER:
    14       Q. Because out of state license plates         14      Q. Correct?
    15   may be an indicator of diversion, is that right?   15          MS. MILLER: Object to form.
    16          MS. MILLER: Object to form.                 16      A. That's what it says.
    17       A. No, not necessarily.                        17   BY MR. ELSNER:
    18   BY MR. ELSNER:                                     18      Q. These were in elements of the know
    19       Q. It could be a red flag?                     19   your customer or site visit review. They were
    20          MS. MILLER: Object to form.                 20   part of the presentation that you gave in this
    21       A. It was one of the things that we            21   conference, correct?
    22   looked at. Could be nothing.                       22          MR. MONTMINY: Objection. Form.
    23   BY MR. ELSNER:                                     23      A. That is what it says in this document.
    24       Q. Could be nothing, could be something,       24   BY MR. ELSNER:
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     1       Q. You said you had a copy of this             1   BY MR. ELSNER:
     2   document. Where do you maintain a copy of this     2       Q. Okay. Why did you decide to leave
     3   presentation?                                      3   Henry Schein for CVS?
     4          MR. MONTMINY: Objection. Form.              4       A. I don't recall all the reasons, but I
     5       A. I don't know.                               5   thought it was a good opportunity.
     6   BY MR. ELSNER:                                     6       Q. Tell me about the process. Did you
     7       Q. Was it home, or is it at work?              7   see an advertisement and apply to it, or did you
     8          MR. MONTMINY: Objection. Form.              8   send out a resume to CVS? How was it that you
     9       A. I don't recall. I haven't seen this         9   came to be hired by CVS, as you understand it?
    10   in a long time.                                   10          MS. MILLER: Object to form.
    11   BY MR. ELSNER:                                    11       A. I believe I was contacted by CVS, and
    12       Q. Do you recall telling me in the            12   had conversations through them reaching out.
    13   beginning that you had a copy of this             13   BY MR. ELSNER:
    14   presentation?                                     14       Q. Who was it that contacted you from
    15          MR. MONTMINY: Objection. Form.             15   CVS?
    16       A. I recall saying I might have a copy.       16       A. I don't remember exactly who it was.
    17   BY MR. ELSNER:                                    17   It was someone from the talent acquisitions
    18       Q. If you had a copy, where would it be?      18   department.
    19          MS. MILLER: Object to form.                19       Q. And did they meet you at a conference,
    20          MR. MONTMINY: Object to form.              20   or did they cold call you?
    21       A. I don't know.                              21          MS. MILLER: Object to form.
    22          MR. ELSNER: I'd ask that counsel           22       A. I'm not sure what caused them to reach
    23   speak with the witness and see if they can        23   out.
    24   locate a copy of the presentation. If they can,   24   BY MR. ELSNER:
                                                Page 107                                               Page 109
     1   if they produce it to us.                          1      Q. Were you working at Henry Schein at
     2          MS. MILLER: We can discuss it off the       2   the time?
     3   record.                                            3      A. Yes.
     4   BY MR. ELSNER:                                     4      Q. Had you met anyone from CVS as part of
     5       Q. When did you join CVS?                      5   your work in the area of compliance for Henry
     6       A. 2012.                                       6   Schein?
     7       Q. And what were you hired at CVS to do?       7          MS. MILLER: Object to form.
     8          MS. MILLER: Object to form.                 8      A. Not that I recall.
     9   BY MR. ELSNER:                                     9   BY MR. ELSNER:
    10       Q. As you understand it.                      10      Q. Did they tell you that they were
    11       A. I know some of my early projects were      11   looking to fill a particular position at CVS?
    12   working on a compliance review program as well    12          MS. MILLER: Object to form.
    13   as some pharmacy initiatives that the company     13      A. I believe they called me about a
    14   was working on.                                   14   specific position.
    15       Q. Your title was senior compliance           15   BY MR. ELSNER:
    16   manager when you were hired in August of 2012,    16      Q. What was your understanding of the
    17   is that right?                                    17   position that they called you about?
    18       A. That sounds right.                         18          MS. MILLER: Object to form.
    19       Q. Did you replace someone when you were      19      A. I don't recall.
    20   hired by CVS, or was this a new position?         20   BY MR. ELSNER:
    21          MS. MILLER: Object to form.                21      Q. At the time you were in Greenville,
    22       A. I believe the position that I was          22   South Carolina, is that right?
    23   going into, I don't believe I was replacing       23      A. Yes, I believe so.
    24   someone in that position.                         24      Q. Were you hired by CVS Pharmacy or CVS

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     1   Health? What entity of CVS hired you?             1   suspicious order monitoring system other than
     2          MS. MILLER: Object to form.                2   Tom Bourque involved in any of -- let me strike
     3      A. I don't recall. It was CVS.                 3   that.
     4   BY MR. ELSNER:                                    4          When you were hired by CVS, did you
     5      Q. Who was your supervisor at CVS when         5   receive any training on the system in place for
     6   you were hired in August of 2012?                 6   suspicious order monitoring of controlled
     7      A. It was Tom Bourque.                         7   substances at CVS?
     8      Q. What was Tom Bourque's position?            8      A. Not that I recall.
     9      A. At the time I believe he was the            9      Q. Did you meet with anyone to discuss
    10   director of regulatory compliance.               10   the suspicious order monitoring system in place
    11      Q. Did he interview you for the position?     11   at CVS when you were first hired?
    12      A. Yes.                                       12      A. When you say first hired...
    13      Q. Did anyone else participate in the         13      Q. In August of 2012 and through the
    14   interview process?                               14   remainder of that year.
    15      A. Yes.                                       15      A. At some point before the end of the
    16      Q. Who else?                                  16   year I do remember having contact with --
    17      A. I can recall meeting with talent           17   actually I don't know who ran the SOM at that
    18   acquisition, and then other members of the, at   18   point so I don't -- I can't -- I don't know.
    19   the time, the regulatory compliance team.        19      Q. Well, one of the tasks that you were
    20      Q. What are their names?                      20   hired to perform by CVS was to create and
    21      A. Aside from Tom, I remember Karen           21   implement the distribution center's order
    22   DiStefano.                                       22   monitoring system, right?
    23      Q. Any others?                                23          MS. MILLER: Object to form.
    24      A. And Susan Delmonico.                       24      A. Can you repeat that?
                                               Page 111                                              Page 113
     1      Q. What is Susan Delmonico's position?         1   BY MR. ELSNER:
     2      A. At the time of the interview?               2       Q. One of the tasks that you were hired
     3      Q. Yes.                                        3   by CVS to perform was to create and implement
     4      A. I don't exactly recall what her role        4   the distribution center's order monitoring
     5   was.                                              5   system, correct?
     6      Q. Did you have any people who reported        6          MS. MILLER: Object to form.
     7   to you when you were hired by CVS in August of    7       A. That was never relayed to me as my
     8   2012?                                             8   responsibility during the interview process.
     9      A. There was one person.                       9          MR. ELSNER: Mark this next document
    10      Q. Who was that?                              10   as the next exhibit.
    11      A. Cassandra Castro.                          11          (Whereupon, CVS-Schiavo-7 was marked
    12      Q. And what was her title and what were       12          for identification.)
    13   her job responsibilities?                        13   BY MR. ELSNER:
    14         MS. MILLER: Object to form.                14       Q. This is Schiavo Exhibit 7. This is an
    15      A. At that time I don't recall.               15   e-mail from you to Cassandra Castro dated
    16   BY MR. ELSNER:                                   16   January 24, 2013, right? Do you see that on the
    17      Q. What was she doing for you under your      17   top of the e-mail?
    18   supervision?                                     18       A. I see that.
    19      A. I think at the time I was hired, I         19       Q. Okay. And if you look to the third
    20   think she was also learning the company as I     20   paragraph -- sorry. Strike that.
    21   was. And then I know one of her big              21          If we go to the very top of the
    22   responsibilities was the regulatory review       22   e-mail, it says "Various Projects I Have Been
    23   program.                                         23   Involved in."
    24      Q. Was anyone who was involved in the         24          Do you see that?

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     1      A. I see where it says that.                     1   effort before creating a new system to
     2      Q. Okay. And then there's a list of              2   understand what system was in place?
     3   bullets, right?                                     3          MS. MILLER: Object to form.
     4      A. Yes.                                          4      A. I don't recall the extent of the
     5      Q. They're faint, though they're there, I        5   effort. I knew there was a system in place.
     6   think. If you go to the third bullet, it reads      6   BY MR. ELSNER:
     7   as one of the various projects that you've been     7      Q. How did you know?
     8   involved in the "Creation and Implementation of     8          MS. MILLER: Object to form.
     9   our Distribution Center's Suspicious Order          9      A. I don't recall how I became aware.
    10   Monitoring System - In order for CVS to comply     10   BY MR. ELSNER:
    11   with 21 CFR 1301.74(b)," correct?                  11      Q. The system at this time was being
    12          MS. MILLER: Object to form.                 12   operated out of the Indianapolis distribution
    13      A. I see where it says that.                    13   center for CVS. Did you ever travel to
    14   BY MR. ELSNER:                                     14   Indianapolis in 2012 to meet with anyone to
    15      Q. And this is what you wrote, correct?         15   understand the system?
    16          MS. MILLER: Object to form.                 16          MS. MILLER: Object to form.
    17      A. I see my -- this e-mail is from me. I        17      A. No.
    18   don't remember writing this.                       18   BY MR. ELSNER:
    19   BY MR. ELSNER:                                     19      Q. Did you ever have any conference calls
    20      Q. But that's what the e-mail states,           20   with them in 2012 that you recall for an
    21   correct?                                           21   explanation of how the system was operating in
    22      A. That's what it says.                         22   2012?
    23      Q. So if one of your tasks was to create        23          MS. MILLER: Object to form.
    24   and implement the distribution center's order      24      A. I don't recall.
                                                Page 115                                               Page 117
     1   monitoring system, what effort did you undertake    1   BY MR. ELSNER:
     2   when you were hired by CVS to understand what       2      Q. Prior to joining CVS, you did not have
     3   current system was in place?                        3   a great deal of experience in distribution or
     4          MS. MILLER: Object to form.                  4   dispensing of controlled substances by
     5       A. I don't recall what steps I took to          5   pharmacies, correct?
     6   understand the current process they had in          6          MS. MILLER: Objection to form.
     7   place.                                              7      A. Not sure I understand the question.
     8   BY MR. ELSNER:                                      8   BY MR. ELSNER:
     9       Q. Did you ever meet with John Mortelliti       9      Q. Well, prior to joining CVS, you didn't
    10   and sit down with him and ask him to explain to    10   have a lot of experience in working with
    11   you how the suspicious order monitoring system     11   pharmacies, right? Henry Schein's customer base
    12   was working at CVS?                                12   were medical practitioners, dentists, and vets,
    13          MS. MILLER: Object to form.                 13   right?
    14       A. I don't recall.                             14          MS. MILLER: Object to form.
    15   BY MR. ELSNER:                                     15      A. And at some point I believe there was
    16       Q. What about Frank Devlin, did you ever       16   pharmacies.
    17   sit down with him and discuss CVS's suspicious     17   BY MR. ELSNER:
    18   order monitoring system?                           18      Q. Well, did you feel like you had a lot
    19          MS. MILLER: Object to form.                 19   of pharmacy experience when you joined CVS?
    20       A. I know that I spoke to Frank Devlin.        20          MS. MILLER: Object to form.
    21   I can't remember the specifics of any              21      A. I never felt like I didn't.
    22   conversation.                                      22   BY MR. ELSNER:
    23   BY MR. ELSNER:                                     23      Q. If you look at the same e-mail, in the
    24       Q. Well, what effort -- did you make an        24   fourth bullet it references a conference that

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     1   you attended that was run by the DEA on 9/15.       1   2012?
     2   Do you see that reference?                          2          MS. MILLER: Object to form.
     3       A. I do.                                        3       A. I don't recall.
     4       Q. Okay. And in the second sentence it          4   BY MR. ELSNER:
     5   reads "Coming from a background of working for a    5       Q. Did you review the standard operating
     6   wholesale distributor, the conference was very      6   procedures for suspicious order monitoring when
     7   beneficial to see the 'hot topics' among the DEA    7   you joined CVS in 2012?
     8   as they pertain to pharmacies and pharmacists."     8       A. I don't recall.
     9   Correct? Did I read that correctly?                 9       Q. So you don't recall any training, any
    10          MS. MILLER: Go ahead.                       10   manuals, any procedures, any effort that you
    11       A. I see where it says that.                   11   undertook to understand the current suspicious
    12   BY MR. ELSNER:                                     12   order monitoring system at CVS in 2012, is that
    13       Q. The next sentence reads "After the          13   your testimony?
    14   conference, I had a much clearer understanding     14          MS. MILLER: Object to form.
    15   of a pharmacist's responsibility when filling      15   Misstates testimony.
    16   prescriptions and the process they are required    16       A. I'm saying I specifically don't
    17   to go through in order to vet each prescription.   17   remember if there were or were not.
    18   Also, the conference clearly laid out the          18   BY MR. ELSNER:
    19   consequences for a pharmacist who does not         19       Q. What about since, have you received
    20   effectively use their professional judgment."      20   any training at CVS in controlled substances?
    21   Did I read that correctly?                         21       A. I'm not sure what you mean by
    22       A. I see where I wrote that.                   22   training.
    23       Q. And you attended the DEA conference         23       Q. Well, did you attend any presentations
    24   in -- on 9/15 in New York, is that right?          24   at CVS? Has anyone given you any training
                                                Page 119                                               Page 121
     1       A. I don't remember the date, but that's        1   manuals on controlled substances?
     2   what it says.                                       2          MS. MILLER: Object to form.
     3       Q. Before we go to the conference, I just       3   BY MR. ELSNER:
     4   want to ask a couple other questions.               4       Q. Watched any videos about the
     5          When you were hired by CVS, did you          5   procedures?
     6   undergo any training procedures?                    6          MS. MILLER: Object to the form.
     7          MS. MILLER: Object to form.                  7       A. I don't know what you would constitute
     8       A. I'm not sure what you're referring to        8   as training. Have I seen videos on controlled
     9   in regards to --                                    9   substances? Maybe.
    10   BY MR. ELSNER:                                     10   BY MR. ELSNER:
    11       Q. Well, did you have any training             11       Q. I'm talking about the procedures at
    12   presentations that you attended?                   12   CVS to prevent for the diversion of controlled
    13          MS. MILLER: Object to form.                 13   substances. Are there any training manuals,
    14       A. I don't recall any specific training.       14   training videos, any information that you
    15   I don't recall.                                    15   reviewed to understand the system in place at
    16   BY MR. ELSNER:                                     16   CVS to prevent the diversion of controlled
    17       Q. There's no training on                      17   substances?
    18   responsibilities with controlled substances that   18          MS. MILLER: Object to form.
    19   you were shown or given?                           19       A. We have a number of policies and
    20          MS. MILLER: Object to form.                 20   procedures that, I don't know if you'd refer to
    21       A. I don't recall.                             21   them as training, but we have policies and
    22   BY MR. ELSNER:                                     22   procedures.
    23       Q. Did you receive any other training on       23   BY MR. ELSNER:
    24   controlled substances when you joined CVS in       24       Q. No, I understand you have policies and

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     1   procedures. I'm trying to -- is there anything     1   BY MR. ELSNER:
     2   other than the policies and procedures? Is         2       Q. And did you take that LEARNet program?
     3   there any document that explains the policies      3       A. During this time frame?
     4   and procedures, the importance of the policies     4       Q. Let's start with ever.
     5   and procedures, the reasons behind the policies    5       A. I know I've reviewed a training that
     6   and procedures with respect to controlled          6   has corresponding responsibility.
     7   substances that you reviewed or that someone       7       Q. What was the date?
     8   showed to you at CVS?                              8       A. I don't recall.
     9          MS. MILLER: Object to form.                 9       Q. Well, after August, 2012, right?
    10       A. I don't specifically remember specific     10       A. I know that there are trainings out
    11   trainings. We do have LEARNet trainings that      11   there that I've seen after 2012.
    12   are available. I don't remember specifically.     12       Q. When did you -- when did CVS first put
    13   BY MR. ELSNER:                                    13   in place these LEARNet sessions, to your
    14       Q. Have you ever gone to those?               14   knowledge?
    15          MS. MILLER: Object to form.                15       A. I don't recall.
    16       A. I have taken LEARNet trainings.            16       Q. Are you on any kind of medication that
    17   BY MR. ELSNER:                                    17   would impair your ability to remember? Did you
    18       Q. Is it something online?                    18   take any kind of medication today that would
    19       A. Yes, you can take them online.             19   impact your memory?
    20       Q. How did you take them?                     20          MS. MILLER: I'm going to object to
    21       A. I don't recall if I took them all          21   that question. That's an improper questioning
    22   online.                                           22   of the witness.
    23       Q. Is online one of the options, and is       23          MR. ELSNER: It's not. I need to
    24   there another option, another format that you     24   know. That's a standard deposition question at
                                               Page 123                                               Page 125
     1   can take the LEARNet?                              1   every deposition.
     2      A. I believe there are options --               2   BY MR. ELSNER:
     3          MS. MILLER: Object to form.                 3      Q. Are you on any medications today?
     4      A. -- where you can take them not online.       4          MS. MILLER: I object. It's an
     5   BY MR. ELSNER:                                     5   inappropriate question.
     6      Q. What were the topics that you took           6   BY MR. ELSNER:
     7   these sessions on?                                 7      Q. You can answer. She's raised an
     8      A. Are you talking in this time frame?          8   objection.
     9      Q. Any time frame.                              9      A. I'm not on any medication.
    10      A. I have taken a lot of LEARNet courses.      10      Q. Thank you.
    11   I don't --                                        11          Would you agree with me that there's
    12      Q. Have any of those courses dealt with        12   an opioid crisis in the United States?
    13   the opioid epidemic in the United States?         13          MS. MILLER: Object to form.
    14          MR. MONTMINY: Object to form.              14      A. I know that there are people who abuse
    15          MS. MILLER: Object to form.                15   drugs.
    16      A. I don't recall any training                 16   BY MR. ELSNER:
    17   specifically speaking to an opioid epidemic.      17      Q. Do you understand that the number of
    18   BY MR. ELSNER:                                    18   people that -- well, do you know that there are
    19      Q. Did any of the LEARNet programs deal        19   people who abuse prescription drugs including
    20   with the proper dispensing of controlled          20   opioids?
    21   substances that you took?                         21          MS. MILLER: Object to form.
    22          MS. MILLER: Object to form.                22      A. I am aware there are people who have
    23      A. There are trainings that speak to           23   used opioids that have led in an overdose. I am
    24   corresponding responsibility.                     24   aware of that.

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     1   BY MR. ELSNER:                                      1   drugs with prescription, illicit, fentanyl-laced
     2      Q. Are you aware that the DEA and certain        2   products.
     3   government officials have referred to this          3   BY MR. ELSNER:
     4   overdose that people are acquiring from opioids     4      Q. How would you -- what level of concern
     5   as an epidemic?                                     5   was there within CVS about the number of people
     6          MS. MILLER: Object to form.                  6   overdosing on prescription opioids?
     7      A. I am not aware that I've heard the            7          MS. MILLER: Object to form.
     8   term epidemic. I'm not aware that that is           8      A. I'm not sure I can speak to the level
     9   specifically to prescription medications.           9   of concern.
    10   BY MR. ELSNER:                                     10   BY MR. ELSNER:
    11      Q. So you're not aware of whether there's       11      Q. Did you have a level of concern?
    12   an opioid epidemic in the United States today?     12          MS. MILLER: Object to form.
    13          MS. MILLER: Object to form.                 13      A. I'm not sure I understand the
    14      A. I think, like I said, I'm aware that         14   question.
    15   there are people who abuse drugs.                  15   BY MR. ELSNER:
    16   BY MR. ELSNER:                                     16      Q. Did you have a level of concern about
    17      Q. Well, certainly there are people who         17   the number of people that were overdosing as a
    18   abuse drugs. I'm asking a much more different      18   result of taking prescription opioids in the
    19   and targeted question.                             19   United States?
    20          Are you aware that the number of            20          MS. MILLER: Object to form.
    21   people that have abused opioids has risen to the   21      A. A level of -- a level of concern. My
    22   point of reaching an epidemic proportion in the    22   focus while being at CVS was to work on the
    23   United States?                                     23   programs that I was working on and implement
    24          MS. MILLER: Object to form.                 24   programs and comply with our processes.
                                                Page 127                                                Page 129
     1         MR. DAWSON: Objection.                        1   BY MR. ELSNER:
     2      A. Well, you keep using the term                 2      Q. Why?
     3   "epidemic." I am aware that there are people        3         MS. MILLER: Object.
     4   who abuse prescription medications, illicit         4   BY MR. ELSNER:
     5   drugs such as heroin. I'm aware that people         5      Q. Why was CVS doing that?
     6   have overdosed on drugs.                            6         MS. MILLER: Object to form.
     7   BY MR. ELSNER:                                      7      A. Well, I know as a DEA registrant there
     8      Q. And you understand that's a huge              8   are DEA regulations that as a company we need to
     9   problem in the United States?                       9   comply with. But the decision on implementing,
    10         MS. MILLER: Object to form.                  10   I mean, that's not -- that wasn't my decision.
    11   BY MR. ELSNER:                                     11   BY MR. ELSNER:
    12      Q. Do you agree with that or disagree           12      Q. Well, what was the purpose behind the
    13   with that?                                         13   DEA regulations? Did you understand that the
    14         MS. MILLER: Object to form.                  14   DEA regulations were in place to prevent the
    15      A. I would agree that any time that             15   diversion of controlled substances, including
    16   someone passes away that it's not something I'd    16   opioids?
    17   want to see.                                       17         MS. MILLER: Object to form.
    18   BY MR. ELSNER:                                     18      A. I understand there are DEA
    19      Q. Well, for sure.                              19   regulations.
    20         But do you agree that it's a huge            20   BY MR. ELSNER:
    21   problem?                                           21      Q. Do you understand the purpose behind
    22         MS. MILLER: Object to form.                  22   the DEA regulations?
    23      A. I'm not sure what you mean by "a huge        23         MS. MILLER: Object to form.
    24   problem." I'm aware that people overdose on        24      A. I can't say that I'm aware of the

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     1   reasoning behind why the DEA wrote the             1      A. I've seen it on the news, online,
     2   regulations.                                       2   newspaper.
     3   BY MR. ELSNER:                                     3      Q. Do you get a newspaper at your house,
     4      Q. No one at CVS or no one at Henry             4   or do you read online newspapers?
     5   Schein has ever told you that we need to make      5      A. I mean, I obtain news through
     6   sure that our systems concerning the               6   different sources.
     7   distribution and the sale of controlled            7      Q. I'm trying to understand the sources.
     8   substances need to be robust because there is a    8          Do you get the New York Times or the
     9   danger that these products get in the wrong        9   Boston Globe, or do you get any local paper to
    10   hands through diversion and cause overdoses? No   10   your home?
    11   one ever told you that?                           11      A. I believe I might get the Town of
    12          MS. MILLER: Object to form.                12   Medway news or something.
    13      A. I don't recall any conversations            13      Q. Okay. What's your best recollection
    14   specifically.                                     14   of any publication that you've read an article
    15   BY MR. ELSNER:                                    15   about the opioid overdoses in the United States?
    16      Q. Did you make any effort to --               16          MS. MILLER: Object to form.
    17          MS. MILLER: Can you please just let        17      A. I can't remember a specific article
    18   him finish his answer?                            18   that I've read.
    19          MR. ELSNER: I'm sorry.                     19   BY MR. ELSNER:
    20          MS. MILLER: Do you remember where you      20      Q. Have you written any -- have you read
    21   were?                                             21   any books about opioid abuse?
    22      A. I just don't recall any specific            22          MR. MONTMINY: Object to form.
    23   conversations.                                    23      A. Not that I recall.
    24   BY MR. ELSNER:                                    24   BY MR. ELSNER:
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     1      Q. Did you yourself make any effort to          1      Q. Seen any movies about it?
     2   determine the purpose behind the regulations       2          MS. MILLER: Object to form.
     3   that you were trying to create systems to          3      A. I have seen movies in which characters
     4   protect against the diversion of controlled        4   have overdosed on medications or drugs.
     5   substances?                                        5   BY MR. ELSNER:
     6          MS. MILLER: Object to the form.             6      Q. Opioids?
     7      A. Can you repeat the question?                 7          MS. MILLER: Object to form.
     8   BY MR. ELSNER:                                     8      A. Specifically, I don't recall a
     9      Q. Did you make any efforts to seek to          9   specific movie that comes to mind. But I've
    10   determine the purpose behind the regulations      10   seen movies where part of the plot are people
    11   that you were creating systems to prevent         11   die of drug overdoses.
    12   diversion of controlled substances for?           12   BY MR. ELSNER:
    13          MS. MILLER: Object to form.                13      Q. Do you understand that more people
    14      A. I don't recall ever researching a           14   died of a drug overdose from a prescription drug
    15   regulation as to the reason why it was written.   15   than died in a car accident in recent years?
    16   BY MR. ELSNER:                                    16          MS. MILLER: Object to form.
    17      Q. Have you ever read anything about           17      A. I don't believe I'd heard that before.
    18   opioid abuse problem in the United States?        18   BY MR. ELSNER:
    19          MS. MILLER: Object to form.                19      Q. Did you know that overdose from
    20      A. I can't specifically recall anything,       20   prescription drugs has been the leading cause of
    21   but I've read about articles or about people      21   death in the United States?
    22   overdosing.                                       22          MS. MILLER: Object to form.
    23   BY MR. ELSNER:                                    23      A. I don't believe I specifically knew
    24      Q. In what kind of publications?               24   that.

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     1   BY MR. ELSNER:                                         1          THE VIDEOGRAPHER: We're back on the
     2       Q. I'm going to show you what we marked            2   record at 10:55 a.m.
     3   as Exhibit 8.                                          3   BY MR. ELSNER:
     4          (Whereupon, CVS-Schiavo-8 was marked            4       Q. Mr. Schiavo, I'm going to ask you to
     5          for identification.)                            5   go to the next tab which you now have in front
     6   BY MR. ELSNER:                                         6   of me from this PowerPoint that the DEA
     7       Q. This is the PowerPoint presentation             7   presented at the conference you attended, and it
     8   from the DEA. This is MR 3. This is from               8   describes the "Economic Impact - the Cascading
     9   September of 2012 in Long Island, New York.            9   Effect." That's the title of the slide, is that
    10   This is the conference that you attended, the         10   correct?
    11   DEA conference that you attended. And this            11          MS. MILLER: Object to form.
    12   presentation was put together by Joseph               12       A. That is what the slide says.
    13   Rannazzisi who is the deputy assistant                13   BY MR. ELSNER:
    14   administrator of the DEA.                             14       Q. It says that in 2006 the estimated
    15          Do you see that on the first page?             15   cost in the United States from non-medical use
    16          MR. MONTMINY: Object to form.                  16   of prescription opioids was $53.4 billion. Did
    17       A. I see that.                                    17   I read that correctly?
    18   BY MR. ELSNER:                                        18       A. I see where it says that.
    19       Q. I want you to turn to the fourth page          19       Q. And it lists five drugs on the bottom
    20   of the document, and it says "Commonly Abused         20   which account for two-thirds of the economic
    21   Controlled Pharmaceuticals."                          21   burden.
    22          Do you see that?                               22          Do you see that?
    23       A. I see where it says that.                      23       A. I don't see where it says that they
    24       Q. And you're aware, are you not, that            24   account for two-thirds, but I see drugs listed
                                                    Page 135                                               Page 137
     1   hydrocodone was one of the commonly abused             1   at the bottom.
     2   pharmaceuticals?                                       2          There, it says it, yes.
     3          MS. MILLER: Object to form.                     3       Q. And those drugs include OxyContin,
     4      A. I am aware that hydrocodone is one of            4   oxycodone, hydrocodone, among others, correct?
     5   the drugs that someone can abuse.                      5          MS. MILLER: Object to form.
     6   BY MR. ELSNER:                                         6       A. It looks like there's two other drugs
     7      Q. Are you aware that it's a commonly               7   listed than you named.
     8   abused controlled substance?                           8   BY MR. ELSNER:
     9          MS. MILLER: Object to form.                     9       Q. And it includes all of those, correct?
    10      A. I don't know what you mean by common,           10       A. That's what it says.
    11   but I'm aware that it can be abused.                  11          MS. MILLER: Object to form.
    12   BY MR. ELSNER:                                        12   BY MR. ELSNER:
    13      Q. As well as OxyContin and oxycodone,             13       Q. And these are drugs that were
    14   would you agree?                                      14   dispensed by CVS pharmacies, correct?
    15          MS. MILLER: Object to form.                    15          MS. MILLER: Object to form.
    16      A. I am aware that those are drugs that            16       A. I did not -- I didn't work for CVS in
    17   can be abused.                                        17   2006. I can't answer that.
    18   BY MR. ELSNER:                                        18   BY MR. ELSNER:
    19      Q. Okay. I'm going to have you turn --             19       Q. Were these drugs that were dispensed
    20          MR. ELSNER: Can we go off the record           20   by CVS in 2012 when you joined CVS?
    21   for about 15 seconds?                                 21          MS. MILLER: Object to form.
    22          THE VIDEOGRAPHER: We're going off the          22       A. I can't say for sure that all of these
    23   record at 10:38 a.m.                                  23   were.
    24          (Whereupon, a recess was taken.)               24   BY MR. ELSNER:

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     1      Q. Hydrocodone is among the drugs that           1          MS. MILLER: Object to form.
     2   were distributed by CVS when you joined them in     2       A. I see the top bullet.
     3   2012, correct?                                      3   BY MR. ELSNER:
     4          MS. MILLER: Object to form.                  4       Q. Now we're talking about, we're
     5      A. Hydrocodone was one of the drugs that         5   breaking it down, "Prescription Drugs most
     6   pharmacies dispensed in 2012.                       6   frequently implicated: Opiates/Opioids pain
     7   BY MR. ELSNER:                                      7   relievers," and it lists hydrocodone products as
     8      Q. And it was also a drug that CVS               8   124.5 percent increase.
     9   distributed to its own pharmacies in 2012,          9          Do you see that?
    10   correct?                                           10          MS. MILLER: Object to form.
    11          MS. MILLER: Object to form.                 11       A. I see where it lists hydrocodone and
    12      A. I do believe some of our distribution        12   124.5 percent increase.
    13   centers distributed hydrocodone to pharmacies.     13   BY MR. ELSNER:
    14   BY MR. ELSNER:                                     14       Q. Okay. If you go to the next sticky,
    15      Q. Okay. If you turn to the next tab,           15   there's been an increase and rise in poisoning
    16   the next Post-it, it says "Emergency Room Data     16   deaths from opioids and analgesics, correct,
    17   2004 to 2009."                                     17   from 1999 through 2007? Do you see that?
    18          Do you see that?                            18          MS. MILLER: Object to form.
    19      A. I see that.                                  19       A. I see the chart.
    20      Q. Okay. And it reads the increase of           20   BY MR. ELSNER:
    21   98.4 percent of ER visits attributable to          21       Q. Okay. Were you aware prior to this
    22   pharmaceuticals alone.                             22   conference that there was this rising death --
    23          Did I read that correctly?                  23   poisoning deaths from opioids?
    24      A. I see where it says that.                    24          MS. MILLER: Object to form.
                                                Page 139                                                Page 141
     1      Q. Okay. And beneath that it says,               1       A. I don't believe I was aware of this
     2   "Prescription drugs most frequently implicated:     2   exact data in this chart.
     3   Opiates/opioids pain relievers," and it lists       3   BY MR. ELSNER:
     4   "Oxycodone products 242.2 percent increase,"        4       Q. Okay. If you go to the next tab, the
     5   correct? Is that what it says?                      5   title is "Number of Forensic Cases, 2001 to
     6          MS. MILLER: Object to form.                  6   2010."
     7      A. It looks like that's what it says.            7           Do you see that?
     8   BY MR. ELSNER:                                      8           MS. MILLER: Object to form.
     9      Q. Between 2004 and 2009 for hydrocodone         9       A. I see that on the slide.
    10   there was 124.5 percent increase in ER visits,     10   BY MR. ELSNER:
    11   correct?                                           11       Q. And you see in 2001 there's sort of --
    12          MS. MILLER: Object to form.                 12   if you just look at the hydrocodone tab, which
    13   BY MR. ELSNER:                                     13   is the green. Are you with me? In 2010 it's
    14      Q. Is that what it says?                        14   slightly over 10,000, correct?
    15          MS. MILLER: Object to form.                 15           MS. MILLER: Object to form.
    16      A. Can you reread what part you were            16   BY MR. ELSNER:
    17   reading.                                           17       Q. In 2001, slightly over 10,000?
    18   BY MR. ELSNER:                                     18       A. It looks like that's what the chart is
    19      Q. So we're talking about emergency room        19   indicating.
    20   data from 2004 to 2009, right?                     20       Q. Okay. And that by 2010 for
    21      A. Yes.                                         21   hydrocodone there's been a 253 percent increase
    22      Q. And we're talking about increases in         22   in forensic cases, correct?
    23   ER visits attributable to those pharmaceuticals.   23           MS. MILLER: Object to form.
    24   Are you with me?                                   24       A. I see that on the chart. I am not

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     1   sure what's meant by "forensic cases," though.    1       A. I don't know exactly what's meant by
     2   I'm not sure what this is saying.                 2   sold. And I do see that the hydrocodone line is
     3   BY MR. ELSNER:                                    3   higher than other lines.
     4       Q. Okay. Were you aware that there had        4   BY MR. ELSNER:
     5   been a 250 percent increase in hydrocodone        5       Q. Well, what do you believe sold means?
     6   overdoses from 2001 to 2010 before this           6       A. In terms of --
     7   conference?                                       7          MS. MILLER: Object to form.
     8          MS. MILLER: Object to form.                8       A. In the terms of this slide, I'm not
     9       A. Yeah, I'm not exactly sure what            9   sure.
    10   forensic cases mean, and I'm not sure, so I      10   BY MR. ELSNER:
    11   can't say I know what that 253 percent --        11       Q. Were you aware that there were more
    12   BY MR. ELSNER:                                   12   prescriptions filled and sales of hydrocodone
    13       Q. You don't know that forensic cases        13   than there were for Lipitor in the United
    14   refers to an overdose?                           14   States?
    15          MS. MILLER: Object to form.               15          MS. MILLER: Object to form.
    16   BY MR. ELSNER:                                   16       A. Just based on this chart saying
    17       Q. What's your understanding of the word     17   "Prescription Drugs Sold," which I'm not --
    18   forensic?                                        18   still not sure exactly what sold means, the
    19       A. Not exactly sure what the definition      19   hydrocodone bar is larger than the Lipitor bar.
    20   is.                                              20   BY MR. ELSNER:
    21       Q. Forensic refers to death.                 21       Q. Do you know whether CVS sold more
    22          MS. MILLER: Object to form.               22   hydrocodone than it did Lipitor?
    23   BY MR. ELSNER:                                   23          MS. MILLER: Object to form.
    24       Q. You don't know?                           24       A. I don't know if I would -- I wouldn't
                                              Page 143                                                Page 145
     1       A. I don't know the exact definition.         1   know that.
     2       Q. If you go to the next sticky, sort of      2   BY MR. ELSNER:
     3   a cover page, an introductory page, it reads      3       Q. Given the large economic costs as a
     4   that the most commonly prescribed prescription    4   result of opioid overdoses, and the large number
     5   medicine is hydrocodone/acetaminophen.            5   of forensic cases related to overdoses of
     6          Did I read that correctly?                 6   hydrocodone, and the significantly higher
     7       A. That looks to be what it says.             7   numbers of hydrocodone drugs sold in the United
     8       Q. Okay. Were you aware prior to this         8   States, did it concern you that there needed to
     9   conference that hydrocodone/acetaminophen was     9   be a robust system at CVS to prevent diversion?
    10   the most commonly prescribed prescription        10          MS. MILLER: Object to form.
    11   medicine in the United States?                   11       A. In terms of this chart, I don't know
    12          MS. MILLER: Object to form.               12   what this is showing me because I don't know
    13       A. I don't recall if I knew that.            13   what sold is referring to.
    14   BY MR. ELSNER:                                   14          And in terms of having a system at
    15       Q. If you go to the next tab, which is on    15   CVS, I knew we needed to have policies or
    16   the very next page, the title is the "Top Five   16   procedures. I knew we had to have a system.
    17   Prescription Drugs Sold in the United States."   17   BY MR. ELSNER:
    18   Do you see that? Is that what the title says?    18       Q. Did you know that hydrocodone was one
    19       A. That is what the title says.              19   of the most widely diverted and abused drugs in
    20       Q. Okay. And do you see that hydrocodone     20   the United States?
    21   is significantly higher than all the other       21          MS. MILLER: Object to form.
    22   drugs, prescription drugs, sold in the United    22       A. I don't know if I knew it was one of
    23   States?                                          23   the most highly diverted drugs.
    24          MS. MILLER: Object to form.               24   BY MR. ELSNER:

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                                                Page 146                                                Page 148
     1       Q. Do you have an understanding of what         1   relate to the DEA and pharmacies." Is that what
     2   the most highly diverted drugs are in the United    2   you wrote?
     3   States that would be implicated by your             3       A. Again, I don't remember writing this
     4   suspicious order monitoring system at CVS?          4   document, but that's what it says.
     5          MS. MILLER: Object to form.                  5       Q. Okay. And then it next says "Coming
     6       A. So during this time frame I don't know       6   from a background of working for a wholesale
     7   if I had an idea on what they were.                 7   distributor, the conference was very beneficial
     8   BY MR. ELSNER:                                      8   to see the 'hot topics' among the DEA as they
     9       Q. What about after this time frame when        9   pertain to pharmacies and pharmacists." Is that
    10   you were at CVS from 2012 on?                      10   what you wrote?
    11          MS. MILLER: Object to form.                 11       A. I don't remember writing this, but
    12       A. I don't know if I know all of the           12   that's what it says.
    13   highest diverted, all of the drugs, I don't        13       Q. Okay. And in the last sentence of the
    14   know.                                              14   paragraph, it reads "Also, the conference
    15   BY MR. ELSNER:                                     15   clearly laid out the consequences for a
    16       Q. Who asked you to attend this                16   pharmacist who does not effectively use their
    17   conference in New York?                            17   professional judgment." Is that what you wrote?
    18          MS. MILLER: Object to form.                 18          MS. MILLER: Object to the form.
    19   BY MR. ELSNER:                                     19       A. Again, I don't remember writing this,
    20       Q. If anyone.                                  20   but that's what it says.
    21       A. I don't recall.                             21   BY MR. ELSNER:
    22       Q. Did someone at CVS ask you to go, or        22       Q. If you turn to page right before that,
    23   did you decide to go on your own?                  23   the very -- at the top "Various Projects I Have
    24       A. I don't recall.                             24   Been Involved in."
                                                Page 147                                                Page 149
     1       Q. I'm going to show you what we've             1          Do you see that?
     2   marked as Schiavo Exhibit 9.                        2       A. "Various Projects I Have Been Involved
     3          (Whereupon, CVS-Schiavo-9 was marked         3   in."
     4          for identification.)                         4       Q. Page 7 of 11, is that what it says?
     5   BY MR. ELSNER:                                      5       A. I see where it says that.
     6       Q. This is your year-end review for 2012.       6       Q. Okay. And it says at the very bottom
     7   It's MR 269. Do you see the document?               7   of the page, the very last paragraph there, it
     8       A. MR 260 --                                    8   says "Creation." Do you see where I'm at?
     9       Q. I'm just asking do you recognize this        9       A. Yes.
    10   as your year-end review from 2012. It says         10       Q. "Creation and implementation of our
    11   "Craig Schiavo" on the left-hand side.             11   Distribution Center Suspicious Order Monitoring
    12          Do you see that?                            12   System" - In order for CVS to comply with 21 CFR
    13       A. I see it says my name, and I see it         13   1301.74(b), we are required to build and operate
    14   says "Year-End Review."                            14   a system to track suspicious orders of
    15       Q. You wrote a year-end review while you       15   controlled substances from our CVS Retail
    16   worked at CVS in 2012 and '13, is that right?      16   Pharmacies."
    17          MS. MILLER: Object to form.                 17          Do you see that?
    18       A. I don't remember writing this, but it       18          MS. MILLER: Object to form.
    19   says this is my year-end review.                   19       A. And I don't remember writing this, but
    20   BY MR. ELSNER:                                     20   I see it's written.
    21       Q. Okay. If you turn to Page 8 of 11,          21   BY MR. ELSNER:
    22   the very last paragraph there, it reads            22       Q. And then you wrote "By implementing
    23   "Attended a conference on 9/15 run by the DEA in   23   this system along with the appropriate policies
    24   New York to stay up on current issues as they      24   and procedures, we will mitigate the risk of

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     1   potentially receiving substantial fines from the    1      Q. Okay. And he's your boss at this
     2   DEA and possibly the suspension of our DEA          2   time?
     3   registration in both our distribution centers       3      A. At this time Tom is my boss.
     4   and individual retail pharmacies." Is that what     4      Q. Okay. And it was also sent to Dean
     5   you wrote?                                          5   Vanelli, is that right?
     6           MS. MILLER: Object to form.                 6      A. It appears to be.
     7      A. I don't remember writing this, but            7      Q. Okay. And to Aaron Burtner?
     8   that's what this says.                              8      A. Aaron is on here.
     9   BY MR. ELSNER:                                      9      Q. Okay. Who is Aaron Burtner?
    10      Q. And then it says "To date, I have            10      A. Part of Aaron's role I knew to be as
    11   contributed to the following." And the first       11   one of the analysts for the suspicious order
    12   one is "Identify gaps in the current SOM system    12   monitoring system.
    13   that needed to be addressed when developing the    13      Q. That was in place in November of 2012,
    14   new system." Did I read that correctly?            14   right?
    15      A. That's what it says.                         15          MS. MILLER: Object to form.
    16           MS. MILLER: Object to form.                16   BY MR. ELSNER:
    17   BY MR. ELSNER:                                     17      Q. That was his position in 2012?
    18      Q. And this is a review that you wrote          18      A. I don't know exactly what Aaron's
    19   and presented to your boss at CVS, is that         19   position was in 2012.
    20   right?                                             20      Q. Did you know he was working on the
    21           MS. MILLER: Object to form.                21   suspicious order monitoring system?
    22      A. I don't remember writing this, but           22          MS. MILLER: Object to form.
    23   this is my year-end review, it appears.            23      A. I believe I knew that Aaron, part of
    24   BY MR. ELSNER:                                     24   his responsibility had to do with suspicious
                                                Page 151                                                Page 153
     1      Q. You don't have any reason to doubt            1   order monitoring.
     2   that it is, right?                                  2   BY MR. ELSNER:
     3      A. I don't have a reason to doubt this is        3       Q. Okay. It says "Team, As discussed on
     4   my year-end review.                                 4   our call earlier today, please find the attached
     5      Q. You don't think anyone at CVS took            5   documents." And the first item is "List of
     6   over your name and did this in secret, do you?      6   opportunities (My notes) from our meeting on
     7           MS. MILLER: Object to form.                 7   November 27th." Is that what it says?
     8      A. This document has my name on it, it           8       A. That is what it says.
     9   says "Year-End Review." I don't have any reason     9       Q. Okay. That's what you wrote?
    10   to believe this is not my year-end review.         10       A. I don't remember writing this, but the
    11           MR. ELSNER: Okay. Mark this next           11   e-mail seems to be from me, and that's what's
    12   document as Exhibit 10.                            12   written there.
    13           (Whereupon, CVS-Schiavo-10 was marked      13       Q. So yes?
    14           for identification.)                       14       A. I don't remember writing this.
    15   BY MR. ELSNER:                                     15       Q. And attached is a document entitled
    16      Q. This is an e-mail from you dated             16   "Opportunities - Current SOM Process."
    17   November 29, 2012. It's MR 79. Is that right?      17         Do you see that?
    18      A. I see that.                                  18       A. "Opportunities - Current SOM Process,"
    19      Q. Okay. And you send this to a variety         19   yes.
    20   of people including your boss, Tom Bourque, is     20       Q. Let me ask you one question. When you
    21   that right?                                        21   came back from the DEA conference that you
    22      A. I don't remember sending this e-mail,        22   attended, other than writing the review in your
    23   but Tom is on this e-mail, and it says it's from   23   report, did you discuss what you heard at the
    24   me.                                                24   conference with anyone at CVS?

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                                                     Page 154                                               Page 156
     1          MS. MILLER: Object to form.                      1   BY MR. ELSNER:
     2       A. Again, I don't remember writing the              2       Q. But that's what you wrote, right,
     3   review, and I don't remember specific                   3   "Lack of understanding as to" the
     4   conversations I had around the conference.              4   "characteristics make up the current Algorithm."
     5   BY MR. ELSNER:                                          5   Is that what you wrote?
     6       Q. Was this -- did you attend any other             6          MS. MILLER: Object to form.
     7   DEA conferences while you were employed by CVS?         7       A. I see that written there, but I'm
     8       A. I don't recall any other conferences             8   not -- I don't see it specified who I'm talking
     9   in 2012.                                                9   about.
    10       Q. I didn't ask about 2012. I said at              10   BY MR. ELSNER:
    11   any time at CVS.                                       11       Q. Well, these are notes of the meeting,
    12          MS. MILLER: Object to form.                     12   right?
    13       A. The only conference I can recall was            13          MS. MILLER: Object to form.
    14   in the last year.                                      14       A. I don't recall what meeting this is in
    15   BY MR. ELSNER:                                         15   reference to.
    16       Q. What was that on?                               16   BY MR. ELSNER:
    17          MS. MILLER: Object to form.                     17       Q. These are the opportunities to fix the
    18       A. It was a controlled substance                   18   current SOM program, right? And one of the
    19   conference.                                            19   opportunities that you list that could be
    20   BY MR. ELSNER:                                         20   improved upon was that there's a lack of
    21       Q. Where was it held?                              21   understanding as to the characteristics of the
    22       A. Savannah, Georgia.                              22   algorithm that ran the suspicious order
    23       Q. Did you save the materials from the             23   monitoring program, right?
    24   conference?                                            24          MS. MILLER: Object to form.
                                                   Page 155                                                 Page 157
     1       A. I don't recall.                                  1      A. Again, I don't recall why I put this
     2       Q. Going back to this document, were your           2   document together. But I don't recall there
     3   notes from the meeting of November 27th, 2012,          3   ever being a time where I thought the current
     4   it says "Opportunities -- Current SOM Process."         4   process needed to be fixed.
     5   This memo is meant to describe opportunities to         5   BY MR. ELSNER:
     6   change or fix the current SOM process at CVS, is        6      Q. Well, do you agree that there was an
     7   that right?                                             7   opportunity -- you didn't think there was any
     8          MS. MILLER: Object to form.                      8   opportunity to fix anything at all about the
     9       A. So again, I don't -- I don't remember            9   current SOM system as it existed in November of
    10   drafting this document, especially for the             10   2012 at CVS?
    11   purposes of it being my notes from a meeting. I        11         MS. MILLER: Object to form.
    12   see where it says that on the previous. I don't        12      A. I don't recall ever an instance where
    13   recall what specific my intentions were in             13   the system needed to be fixed.
    14   drafting this document.                                14   BY MR. ELSNER:
    15   BY MR. ELSNER:                                         15      Q. It was perfect?
    16       Q. Would you agree with me that at this            16         MS. MILLER: Object to form.
    17   time in November of 2012 that there was a lack         17      A. I believe it met our obligations.
    18   of understanding as to what characteristics make       18   BY MR. ELSNER:
    19   up the current algorithm for the suspicious            19      Q. That wasn't the question.
    20   order monitoring system at CVS?                        20         You said you didn't think it needed to
    21          MS. MILLER: Object to form.                     21   be fixed. Was it perfect?
    22       A. I see what the first line says, but I           22         MS. MILLER: Object to form.
    23   can't say that there was a lack of understanding       23      A. I'm not sure what you mean by
    24   by everyone at CVS.                                    24   "perfect," but it met -- my understanding was it

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     1   met our obligations.                                     1      Q. Then it says "Stores won't get their
     2   BY MR. ELSNER:                                           2   orders in time if all the checks are completed
     3       Q. You spent in fall of 2012, through all            3   up front," right?
     4   of 2012, all of 2013 into 2014 creating an               4          MS. MILLER: Object to form.
     5   enhanced and new SOM program at CVS. That was            5      A. I see that's what the document says.
     6   part of your responsibilities, correct?                  6   I'm not exactly sure what that's referring to.
     7          MS. MILLER: Object to form.                       7   BY MR. ELSNER:
     8       A. I can't recall exactly how long I                 8      Q. What is CAP underneath that in little
     9   spent working on suspicious order monitoring. I          9   Roman Numeral i, C-A-P?
    10   had other responsibilities. My role was never           10          MS. MILLER: Object to form.
    11   to fix a system. I played a part on a team that         11      A. I don't recall what CAP --
    12   was working on enhancing or implementing a new          12   BY MR. ELSNER:
    13   system.                                                 13      Q. You don't know what CAP is?
    14   BY MR. ELSNER:                                          14      A. I don't recall.
    15       Q. And it took two years to do that,                15      Q. MAX/MIN?
    16   right?                                                  16      A. I don't recall MAX/MIN.
    17          MS. MILLER: Object to form.                      17      Q. Well, there's a maximum/minimum in the
    18       A. I don't recall how long it took.                 18   amount of drugs, controlled substances, that can
    19   BY MR. ELSNER:                                          19   be shipped to a pharmacy, is that right?
    20       Q. It wasn't a quick fix, right?                    20          MS. MILLER: Object to form.
    21          MS. MILLER: Object to form.                      21      A. I don't recall what that MAX/MIN is
    22       A. Again, I don't recall us ever doing a            22   referring to.
    23   project to fix our system. We were looking to           23   BY MR. ELSNER:
    24   enhance or implement a new system.                      24      Q. You don't know that maximum and
                                                    Page 159                                                 Page 161
     1   BY MR. ELSNER:                                           1   minimum is one of the elements of a suspicious
     2       Q. And it took two years to do that,                 2   order monitoring system? You had one at Henry
     3   right?                                                   3   Schein that did that, right?
     4           MS. MILLER: Object to form.                      4           MR. MONTMINY: Object to form.
     5       A. I don't recall how long it took.                  5           MS. MILLER: Object to form.
     6   BY MR. ELSNER:                                           6      A. I see this document says "MAX/MIN."
     7       Q. You next list that -- it says "Can we             7   I'm not sure what that's referring to.
     8   do all checks up front?" And then it says                8   BY MR. ELSNER:
     9   "Stores won't get orders in time if all checks           9      Q. No idea?
    10   are completed up front."                                10           MS. MILLER: Object to form.
    11           Under the current system if you did             11      A. I'm not sure what that process is or
    12   all the checks up front, the stores wouldn't get        12   what that is.
    13   their orders in time, is that correct?                  13   BY MR. ELSNER:
    14           MS. MILLER: Object to form.                     14      Q. Under number 3 it says "Aaron" -- and
    15       A. I see the bullet says "Can we do                 15   this is Aaron Burtner, right?
    16   checks up front?" I'm not exactly sure what             16      A. Aaron was on the e-mail that I think
    17   that's referring to.                                    17   this attachment was in, so it might be Aaron
    18   BY MR. ELSNER:                                          18   Burtner.
    19       Q. But that's the question you asked, can           19      Q. Could be any other Burtner?
    20   we do all the checks up front, right?                   20           MS. MILLER: Object to form.
    21           MS. MILLER: Object to form.                     21   BY MR. ELSNER:
    22       A. I don't remember drafting this                   22      Q. Is there any other Aarons that you're
    23   document. That is what it says.                         23   familiar with at CVS that were working on the
    24   BY MR. ELSNER:                                          24   suspicious order monitoring program?

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     1       A. Not that I recall.                           1          MS. MILLER: Object to form.
     2       Q. Okay. So "Aaron reviews orders pushed        2   BY MR. ELSNER:
     3   through after it is reviewed. Aaron gets all        3       Q. Is that what you wrote?
     4   the following information: CAP, Algorithm           4          MS. MILLER: Object to form.
     5   Output, Minimum/Maximum."                           5       A. I see what's written there, but I
     6          What does it mean that Aaron reviews         6   don't know what "pushed through" means. I don't
     7   the orders pushed through after it is reviewed?     7   know what that's referring to.
     8       A. I'm not sure what I was referring to         8   BY MR. ELSNER:
     9   there.                                              9       Q. Under number 4 it says "By doing the
    10       Q. Aaron was in charge of the suspicious       10   'CAPS' we are modifying the order and not
    11   order monitoring system, and he was based in       11   looking at the actual order from the store."
    12   Indianapolis at this time, correct?                12   What does that mean?
    13          MS. MILLER: Object to form.                 13          MS. MILLER: Object to form.
    14       A. I don't recall exactly what Aaron's         14       A. I don't recall what CAPS are, and I
    15   role was especially at this time.                  15   don't recall ever a time that we weren't looking
    16   BY MR. ELSNER:                                     16   at actual orders from the store. I don't know
    17       Q. Were you aware of anyone else that was      17   what that means.
    18   reviewing suspicious orders in the suspicious      18   BY MR. ELSNER:
    19   order monitoring system in CVS at this time in     19       Q. I believe CAPS is modifying the actual
    20   2012?                                              20   order that comes into the store, putting it in a
    21       A. I don't recall the individuals that         21   different form for someone else to review rather
    22   were on the SOM team at that time.                 22   than looking at the actual order of the
    23       Q. Why is it important to do a due             23   pharmacy. Were you aware that was a potential
    24   diligence review up front as opposed to after?     24   weakness of the SOM system?
                                                Page 163                                                Page 165
     1          MS. MILLER: Object to form.                  1          MS. MILLER: Object to form.
     2   Mischaracterizes the document.                      2      A. I don't recall CAPS being a weakness
     3          MR. ELSNER: I'm not talking about the        3   of a system that we had.
     4   document.                                           4   BY MR. ELSNER:
     5   BY MR. ELSNER:                                      5      Q. You wrote "By doing the 'CAPS' we are
     6      Q. Why is it important to do your reviews        6   modifying the order and not looking at the
     7   up front as opposed to after?                       7   actual order from the store." That's what you
     8          MS. MILLER: Object to form.                  8   wrote, correct?
     9      A. I'm not sure what up front is. And            9          MS. MILLER: Object to form.
    10   looking at the document, it's a question mark,     10      A. That's what this document says. I
    11   so I don't know if I'm even stating that, it's a   11   don't recall drafting this document, and I don't
    12   question. And I don't know what up front is        12   recall exactly what it's referring to.
    13   referring to.                                      13   BY MR. ELSNER:
    14   BY MR. ELSNER:                                     14      Q. One of the other weaknesses of the SOM
    15      Q. In number 3 it says that "Aaron is           15   system in November of 2012 is that if a store
    16   reviewing orders pushed through after it is        16   ordered a controlled substance and it was
    17   reviewed," meaning he gets all the information     17   cleared at the beginning of the month, then the
    18   afterwards, not up front, correct?                 18   store could order additional controlled
    19          MS. MILLER: Object to form.                 19   substances in the same month without triggering
    20      A. I don't know what up front means, so I       20   the suspicious order monitoring system, isn't
    21   can't say what you're saying is accurate.          21   that right?
    22   BY MR. ELSNER:                                     22          MS. MILLER: Object to form.
    23      Q. You wrote "Aaron reviews orders pushed       23      A. I don't -- I don't see where that --
    24   through after it is reviewed," right?              24   you state that's a weakness, nor do I recall

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     1   that ever being a weakness of the system.           1       Q. And you'd agree with me that that is a
     2   BY MR. ELSNER:                                      2   weakness in the system, would you not?
     3      Q. Well, these are opportunities to              3           MS. MILLER: Object to form.
     4   enhance the system, correct, to fix it, right?      4   BY MR. ELSNER:
     5          MS. MILLER: Object to form.                  5       Q. If the store orders in the beginning
     6   BY MR. ELSNER:                                      6   of the month and then it has a subsequent order
     7      Q. Is that what it says in the title?            7   that's not looked at or looked at using old
     8          MS. MILLER: Object to form.                  8   data, that's a weakness in the system, correct?
     9      A. The document says opportunities.              9           MS. MILLER: Object to form.
    10   Opportunities to me don't mean fixes, they're      10       A. No.
    11   opportunities. This was during a time where we     11   BY MR. ELSNER:
    12   were looking to enhance our system, so these are   12       Q. You don't think so?
    13   my thoughts on paper for enhancement.              13           MS. MILLER: Object to form.
    14   BY MR. ELSNER:                                     14       A. No, not necessarily.
    15      Q. Opportunities to make it better,             15   BY MR. ELSNER:
    16   right?                                             16       Q. What's your title at CVS today?
    17          MS. MILLER: Object to form.                 17       A. Director, business compliance officer.
    18      A. They're opportunities that we were           18       Q. And what are your responsibilities as
    19   talking about at the time we were putting          19   the director of the business compliance?
    20   together and developing and enhancing a new        20       A. My focus is on our retail business,
    21   system.                                            21   and focusing on new laws and regulations.
    22   BY MR. ELSNER:                                     22       Q. And you don't think as the director of
    23      Q. To make the system better, right?            23   business compliance that it would be a weakness
    24          MS. MILLER: Object to form.                 24   if a store ordered some controlled substance in
                                                Page 167                                               Page 169
     1   BY MR. ELSNER:                                      1   the beginning of the month and then had a
     2       Q. They weren't opportunities to make it        2   subsequent order in that same month, that that
     3   worse, right? You weren't talking about ways to     3   information reviewed is not based on a current
     4   make it weaker, were you?                           4   review of the information but on an old review
     5          MS. MILLER: Object to form.                  5   of that information?
     6       A. I mean, we were looking to make the          6          MS. MILLER: Object to form.
     7   process better. But at the time it's not that       7       A. I see what the document says. That's
     8   our process was broken, I felt we had a good        8   not how I remember the process being.
     9   process. This is an opportunity for                 9   BY MR. ELSNER:
    10   enhancement.                                       10       Q. But that's what you wrote, right?
    11   BY MR. ELSNER:                                     11          MS. MILLER: Object to form.
    12       Q. And one of those opportunities that         12       A. That's what this document says. I
    13   you wrote is if an "order is cleared on the 1st    13   don't recall writing this document.
    14   of the month and cleared, and store then orders    14   BY MR. ELSNER:
    15   again that month it won't be looked at." Is        15       Q. Fair to say that your memory about
    16   that what you wrote?                               16   what was happening in 2011 is better based on
    17          MS. MILLER: Object to form.                 17   your notes of that meeting taken the day of or
    18       A. Again, I don't remember drafting this       18   the next day than your memory sitting here
    19   document. That's what it says. But I don't         19   today?
    20   ever remember that being the case.                 20          MS. MILLER: Object to form.
    21   BY MR. ELSNER:                                     21   BY MR. ELSNER:
    22       Q. But that's what the document says, is       22       Q. Is that true?
    23   that right?                                        23          MS. MILLER: Object to form.
    24       A. That is what this document says.            24       A. Again, I don't remember drafting this

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     1   document, I don't remember the meeting that this    1   BY MR. ELSNER:
     2   is referring to, I don't recall this being the      2      Q. It's potentially your e-mail that was
     3   process that we followed.                           3   produced to us by CVS. You're denying that it
     4   BY MR. ELSNER:                                      4   took place. You're denying the e-mail exists
     5       Q. But your notes of that meeting would         5   and the notes took place. Is that what you're
     6   be a more accurate recitation of what was           6   doing?
     7   discussed than your memory of it today since you    7          MS. MILLER: Object to form.
     8   have no memory of the meeting, right?               8   Misstates his testimony.
     9           MS. MILLER: Object to form.                 9          MR. ELSNER: It does not.
    10       A. This is a document of opportunities.        10      A. I'm not denying there's an e-mail. I
    11   I don't remember writing it, I don't remember      11   see the e-mail.
    12   that being the process, nor do I know if what is   12   BY MR. ELSNER:
    13   in here is accurate since this is not what I       13      Q. And you see that these are your notes,
    14   recall the process being.                          14   correct?
    15   BY MR. ELSNER:                                     15      A. I can't say that these are my notes.
    16       Q. That wasn't my question.                    16   I don't remember writing this document.
    17           My question is that what you wrote,        17      Q. Sir, I'm entitled to an answer to the
    18   your notes of that meeting, would be more          18   question.
    19   accurate as to what took place than your memory    19          What's more accurate in your mind,
    20   of it sitting here today when you've testified     20   your memory of a meeting that you can't remember
    21   that you have no memory of attending the           21   or your actual notes taken from the meeting,
    22   meeting, correct?                                  22   which is more reliable and accurate in your
    23           MS. MILLER: Object to form.                23   mind?
    24   BY MR. ELSNER:                                     24          MS. MILLER: Object to form.
                                                Page 171                                                Page 173
     1       Q. What's more accurate, your memory now        1       A. I cannot say that these are my
     2   or the notes you took of the meeting then?          2   reliable notes from a meeting that I don't
     3           MS. MILLER: Object to form.                 3   remember took place and I don't remember
     4       A. I don't recall this being my notes           4   writing.
     5   from the meeting, or a meeting.                     5   BY MR. ELSNER:
     6   BY MR. ELSNER:                                      6       Q. Number 6, another opportunity to
     7       Q. But you sent them around to people as        7   create a better system is to have an automatic
     8   your notes of the meeting, right?                   8   hard stop of orders for controlled substances,
     9           MS. MILLER: Object to form.                 9   correct?
    10   BY MR. ELSNER:                                     10          MS. MILLER: Objection to form.
    11       Q. Sir, it's a basic question. What's          11       A. I see that Number 6, "No automatic
    12   more reliable, the notes you took at the time,     12   hard stops of orders." I see where that's
    13   or your memory of those events when you've         13   written.
    14   testified already that you don't remember          14   BY MR. ELSNER:
    15   writing the memo and you don't even remember the   15       Q. It would be better if the system was
    16   meeting?                                           16   automatic and didn't require someone to send an
    17           MS. MILLER: Object to form.                17   e-mail and then hope that someone received the
    18   BY MR. ELSNER:                                     18   e-mail and stopped the order, correct?
    19       Q. You would agree with me that your           19          MS. MILLER: Object to form.
    20   notes at the time are more accurate, right?        20       A. Not necessarily.
    21           MS. MILLER: Object to form.                21   BY MR. ELSNER:
    22       A. I don't remember writing this               22       Q. Does the new system have a hard stop
    23   document, and I can't confirm this is my notes     23   or not?
    24   from the meeting or a meeting.                     24          MS. MILLER: Object to form.

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                                               Page 174                                                Page 176
     1      A. The new system, when an order is             1   BY MR. ELSNER:
     2   flagged, it holds the order.                       2       Q. Well, that's what you wrote under 6A,
     3   BY MR. ELSNER:                                     3   right, "Happens via e-mail/phone call - DC and
     4      Q. Why? Is it a better system than              4   LP Manager"? Is that what you wrote?
     5   relying on e-mails and phone calls?                5          MS. MILLER: Object to form.
     6          MS. MILLER: Object to form.                 6       A. Again, I don't recall writing this
     7      A. Not necessarily.                             7   document. I see that it says that there. I
     8   BY MR. ELSNER:                                     8   don't fully recall what the process was.
     9      Q. Why did you change it?                       9   BY MR. ELSNER:
    10          MS. MILLER: Object to form.                10       Q. In November of 2012 when a suspicious
    11      A. The decision was made to change it.         11   order was flagged or stopped by the system, not
    12   BY MR. ELSNER:                                    12   all controlled substances to that pharmacy were
    13      Q. Did you agree to change it?                 13   stopped, correct?
    14      A. I don't recall having an objection.         14          MS. MILLER: Object to form.
    15      Q. Did you support it?                         15       A. So the system flagged orders of
    16          MS. MILLER: Object to form.                16   interest.
    17      A. I don't know if this is the only            17   BY MR. ELSNER:
    18   solution that I would have supported. There's     18       Q. Yes.
    19   multiple ways of stopping orders, there could     19       A. So that's what it was designed to do.
    20   have been others, but this is the decision we     20       Q. Okay. And when those orders of
    21   went with, and I believe I supported the          21   interest were reviewed and it was determined
    22   decision we went with.                            22   that there was a potentially suspicious order,
    23   BY MR. ELSNER:                                    23   additional orders of that same controlled
    24      Q. Okay. And so that was another               24   substance would be stopped from being shipped to
                                               Page 175                                                Page 177
     1   opportunity to enhance or fix or remedy or         1   the pharmacy, correct?
     2   create a better system at CVS was to have an       2          MS. MILLER: Object to form.
     3   automatic hard stop of the order. That's what      3       A. I recall the system when an order
     4   you wrote, correct?                                4   flagged, whatever flagged was reviewed.
     5          MS. MILLER: Object to form.                 5   BY MR. ELSNER:
     6      A. Like I said, I don't recall writing          6       Q. Right. And then if there was a
     7   this, and at no time do I recall there ever        7   decision made that it was a suspicious order,
     8   needing to be a fix of the current SOM system.     8   then there would be a stop placed on further
     9   BY MR. ELSNER:                                     9   shipments of that same drug to that pharmacy,
    10      Q. But it was changed, right --                10   correct?
    11          MS. MILLER: Object to form.                11          MS. MILLER: Object to form.
    12   BY MR. ELSNER:                                    12       A. I don't recall what that process was.
    13      Q. -- to a hard stop of the order?             13   BY MR. ELSNER:
    14          MS. MILLER: Object to form.                14       Q. You wrote "Only the order in question
    15      A. Today our process, I believe, has a         15   is stopped, not all controlled substances" are
    16   hard stop.                                        16   stopped, correct?
    17   BY MR. ELSNER:                                    17          MS. MILLER: Object to form.
    18      Q. Under the old system, in order for the      18       A. I don't remember writing this
    19   stop to occur someone would either have to send   19   document, but that is what it says.
    20   an e-mail or place a phone call in order to do    20   BY MR. ELSNER:
    21   that, correct?                                    21       Q. You did a whole risk analysis for CVS
    22          MS. MILLER: Object to form.                22   on what the procedure should be, right? Whether
    23      A. I don't fully recall what that process      23   we stop only that drug, whether we stop all
    24   was.                                              24   controlled substances, whether we stop only the

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     1   drugs in that family of drugs, you did a whole      1          MS. MILLER: Object to form.
     2   risk analysis of that, correct?                     2       A. So I see that on this document.
     3          MS. MILLER: Object to form.                  3   Again, this is a document, until seeing it now,
     4       A. I know there were discussions around         4   I don't recall writing this document or
     5   how to approach it. I don't know if I ever did      5   reviewing this document.
     6   a deep dive risk assessment.                        6   BY MR. ELSNER:
     7   MR. ELSNER: All right. This is Exhibit 11.          7       Q. Okay. And you assessed the risk of
     8          (Whereupon, CVS-Schiavo-11 was marked        8   that policy and procedure to be high, correct?
     9          for identification.)                         9          MS. MILLER: Object to form.
    10   BY MR. ELSNER:                                     10       A. I see the risk level there indicated
    11       Q. This is an e-mail from you to your          11   high, but I don't know if that was me making
    12   boss, Tom Bourque, dated December 13, 2012,        12   that determination or if this was --
    13   correct?                                           13   BY MR. ELSNER:
    14       A. That's what it looks like.                  14       Q. That's what's written on the chart
    15       Q. It says "Attached is what I put             15   that you sent to your boss Tom Bourque, correct?
    16   together for our options on what to do if an       16          MS. MILLER: Object to form.
    17   order flags." Correct? Is that what you wrote?     17       A. It appears from the cover e-mail I did
    18       A. That's what it says.                        18   send this, and it says "Risk Level, High."
    19       Q. Okay. And the attachment that you           19   BY MR. ELSNER:
    20   sent to your boss, Tom Bourque, says "Suspicious   20       Q. Okay. And the risk that you describe
    21   Order Monitoring. Holding of Flagged Order         21   is that by holding only the controlled substance
    22   Options," right?                                   22   that is flagged in an order, the store could
    23       A. That's the title of this document.          23   easily switch to a similar drug of abuse,
    24       Q. Okay. And on the very bottom of the         24   correct?
                                                Page 179                                                Page 181
     1   page, the first page there, 78046, there's a        1          MS. MILLER: Object to form.
     2   Risks, there's a "Risks" column in the middle.      2   BY MR. ELSNER:
     3          Do you see that?                             3      Q. Is that what you wrote?
     4       A. I see the Risks column.                      4      A. I see the document says that. I don't
     5       Q. Okay.                                        5   know if I wrote that.
     6          MS. MILLER: Do you want to take a            6      Q. But it's on the document that you sent
     7   minute to review this?                              7   to Tom Bourque, your boss, correct?
     8       A. Yeah, can I read through?                    8          MS. MILLER: Object to form.
     9   BY MR. ELSNER:                                      9      A. It's on this document that seems to be
    10       Q. Sure.                                       10   that attachment in that e-mail.
    11          (Witness reviewing document.)               11   BY MR. ELSNER:
    12       A. Okay.                                       12      Q. And then under "Comments" you say
    13       Q. Are you with me?                            13   "This option carries the most risk and would
    14          So if we go to the very bottom of the       14   possibly create more 'Suspicious Orders' for
    15   page, there are three options discussed, right?    15   that store (from CVS and Outside Vendor), that
    16   The last option, the very bottom one says "Hold    16   will be required to be reported to the DEA.
    17   only the Controlled Substances that was flagged    17   This will increase the likelihood of an
    18   by the SOM System on the order from being sent     18   inspection." Correct?
    19   to the store, along with Future Orders."           19          MS. MILLER: Object to form.
    20   Meaning they were just going to hold the exact     20      A. I see where this document says that.
    21   controlled substance that was flagged, correct?    21   BY MR. ELSNER:
    22          MS. MILLER: Object to form.                 22      Q. Okay. It also increases the risk of
    23   BY MR. ELSNER:                                     23   diversion, right?
    24       Q. Is that what it says?                       24          MS. MILLER: Object to form.

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     1      A. It doesn't say that. I don't know.            1   flagged drug is being held." Is that what you
     2   BY MR. ELSNER:                                      2   wrote?
     3      Q. Does it increase the risk of                  3      A. I don't know if I wrote that.
     4   diversion? It does, doesn't it?                     4      Q. That's what the document says that you
     5          MS. MILLER: Object to form.                  5   sent to your boss, right?
     6      A. No.                                           6      A. That is what this document says.
     7   BY MR. ELSNER:                                      7      Q. And then you say "If another
     8      Q. It increases the risk because the             8   controlled substance hits our SOM system, or an
     9   pharmacy, as you wrote, could switch from one       9   Outside Vendor's SOM system on the next order,
    10   drug to another drug of abuse, right?              10   we or they will be required to report that as
    11          MS. MILLER: Object to form.                 11   well. This could trigger questions from the DEA
    12      A. Again, I don't remember writing this         12   on why we are shipping to a store or letting a
    13   document, nor this process that you're referring   13   store order that we already identified as
    14   to. I don't know this to be a process we ever      14   Suspicious." Is that what you wrote?
    15   had, and I don't believe this is a process we      15          MS. MILLER: Object to form.
    16   ever implemented. And I don't know if it would     16      A. I don't remember writing that.
    17   increase diversion.                                17   BY MR. ELSNER:
    18   BY MR. ELSNER:                                     18      Q. Is that what's in the document that
    19      Q. You wrote under Risks in the middle          19   you sent to your boss?
    20   column "the store will easily be able to switch    20      A. That is what's in this document.
    21   to a similar drug of abuse." Correct?              21      Q. Do you understand that to be a risk of
    22          MS. MILLER: Object to form.                 22   this medium option of holding all the drugs in
    23      A. I see where the document says that. I        23   the same family group?
    24   don't remember writing that.                       24          MS. MILLER: Object to form.
                                                Page 183                                                Page 185
     1   BY MR. ELSNER:                                      1      A. I can't say whether that is
     2       Q. Under the second option, it says "Hold       2   specifically a risk of this option, but this is
     3   All High Risk Controlled Substances, Known          3   another option that I don't know if we ever --
     4   Combination, and/or Drugs in the Same Family on     4   this was ever our process, nor is it our process
     5   the same flagged order from being sent to the       5   today.
     6   store, along with future orders."                   6   BY MR. ELSNER:
     7          Did I read that correctly?                   7      Q. In the last comment in that middle
     8          MS. MILLER: Object to form.                  8   column, it reads "As part of the DEA
     9       A. It looks like that's what the document       9   Regulations, they expect the registrant to 'know
    10   says.                                              10   your customer,' by reporting an order as
    11   BY MR. ELSNER:                                     11   suspicious, while continuing to ship controlled
    12       Q. And you assessed this as a medium           12   substances, the DEA could argue that drugs were
    13   risk, correct?                                     13   being shipped without us fully knowing" -- I
    14          MS. MILLER: Object to form.                 14   think you mean our, whoever drafted this -- "our
    15       A. I can't recall if that is my risk           15   customers." Is that correct? Did I read that
    16   assessment on that.                                16   correctly?
    17   BY MR. ELSNER:                                     17          MS. MILLER: Object to form.
    18       Q. But that's what the document says,          18      A. It says "knowing out customer," as it
    19   right?                                             19   reads.
    20       A. I can see on this document under risk       20   BY MR. ELSNER:
    21   level, that one indicates medium.                  21      Q. I'm sure it's a typo. That means our,
    22       Q. And under the third bullet under Risks      22   right?
    23   it says "Possible that diversion of another        23      A. Could mean our.
    24   controlled substance will take place while the     24      Q. And that was another comment or risk

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                                                Page 186                                                Page 188
     1   that the DEA might conclude that CVS doesn't        1          MS. MILLER: Object to form.
     2   know who its customer is if we adopt this middle    2   BY MR. ELSNER:
     3   ground, correct?                                    3       Q. To hold all the high-risk controlled
     4          MS. MILLER: Object to form.                  4   substances, known combination, and/or drugs in
     5       A. That is what this document says under        5   the same family as the flagged order, correct?
     6   this option. But again, I don't recall if we        6          MS. MILLER: Object to form.
     7   ever -- this was ever our policy, nor is it our     7       A. No, I don't believe that's the exact
     8   policy today.                                       8   solution that we went with.
     9   BY MR. ELSNER:                                      9   BY MR. ELSNER:
    10       Q. The lowest risk option would be that        10       Q. You told me that today CVS blocks all
    11   if you identify a suspicious order for a           11   of the orders of controlled substances in the
    12   controlled substance would be to stop shipments    12   same family group as the suspicious order along
    13   of all controlled substances into that pharmacy    13   with future orders in that family group,
    14   until you resolve the issue, correct?              14   correct?
    15          MS. MILLER: Object to form.                 15          MS. MILLER: Object to form.
    16       A. The option "Hold all Controlled             16       A. I'm just reading what's on the
    17   Substances on the Flagged Order from being sent    17   document. It says "Hold All High Risk
    18   to the store, along with future orders" is what    18   Controlled Substances," which I don't know what
    19   it says.                                           19   drugs that's referring to, "Known combinations,
    20   BY MR. ELSNER:                                     20   and/or Drugs in Same Family." This seems to be
    21       Q. And that would be the lowest risk           21   different than I recall our process being.
    22   option, correct?                                   22   BY MR. ELSNER:
    23          MS. MILLER: Object to form.                 23       Q. If we turn back to item 7 in the
    24       A. This document says under Risk Level         24   opportunities document. Are you with me, Number
                                                Page 187                                                Page 189
     1   "Low."                                              1   7?
     2   BY MR. ELSNER:                                      2       A. Number 7.
     3       Q. Right. Lowest risk of diversion,             3       Q. You wrote only the order in question
     4   right? Because you're stopping all future, all      4   is stopped, not all controlled substances,
     5   controlled substances, not just the family group    5   correct?
     6   and not just the individual drug, right?            6       A. Again, we're back on the document I
     7          MS. MILLER: Object to form.                  7   don't remember writing, but it says "Only order
     8       A. I can't say specific to what that risk       8   in question is stopped, not all controlled
     9   level is referring to.                              9   substances."
    10   BY MR. ELSNER:                                     10       Q. Okay. So not all controlled
    11       Q. What does CVS do today with respect to      11   substances to the pharmacy were stopped, and not
    12   suspicious orders for controlled substances? Do    12   all drugs of the same family group were stopped,
    13   you block all future orders to the pharmacy from   13   right, only order in question is stopped, is
    14   the family group, all controlled substances, or    14   that what you wrote?
    15   only that drug?                                    15          MS. MILLER: Object to form.
    16          MS. MILLER: Object to form.                 16       A. I can't say that I wrote that, and I
    17       A. If an order is deemed suspicious we         17   don't recall if that was the process, was or was
    18   report it to the DEA, and I believe we hold the    18   not the process.
    19   family group of the drug that was identified to    19   BY MR. ELSNER:
    20   be suspicious.                                     20       Q. But that's what's written here,
    21   BY MR. ELSNER:                                     21   correct?
    22       Q. So CVS's approach is the medium             22       A. The document here reads "Only order in
    23   approach in terms of the risk levels identified    23   question is stopped, not all controlled
    24   in this document, correct?                         24   substances."

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                                               Page 190                                                Page 192
     1          MR. ELSNER: Okay. I'm going to mark         1      A. That's what it says under "Revision
     2   this next document as the next exhibit. This is    2   Documentation."
     3   MR 12. It's also Schiavo 12. That doesn't          3      Q. Okay. So CVS never had a policy
     4   happen very often.                                 4   before January 1, 2013, a written policy, with
     5          (Whereupon, CVS-Schiavo-12 was marked       5   respect to when an order should be stopped and
     6          for identification.)                        6   how that order should be resumed as part of its
     7   BY MR. ELSNER:                                     7   standard operating procedures, correct?
     8      Q. This is another e-mail from you to           8          MS. MILLER: Object to form.
     9   your boss, Tom Bourque, dated January 23, 2013.    9      A. I don't recall that to be the case.
    10   The subject is "Stop Order_Order Resumption."     10   BY MR. ELSNER:
    11   And then it states "Updated SOM SOP. Thank you,   11      Q. Well, that's what the document says,
    12   Craig."                                           12   right, that this is the first -- that the first
    13          Is that what you wrote to your boss,       13   version of this standard operating procedure
    14   Tom Bourque?                                      14   with respect to stop orders was January 7, 2013,
    15      A. Looking at this e-mail, it looks like       15   right?
    16   I wrote that.                                     16          MS. MILLER: Object to form.
    17      Q. And it looks like you received in the       17      A. That's what it says under "Revision
    18   e-mail prior to that an e-mail from Aaron         18   Documentation." That's not to say this wasn't
    19   Burtner who made some recommendation --           19   covered in another policy.
    20   recommended changes, and you've attached the      20   BY MR. ELSNER:
    21   updated SOP for stopped order resumption,         21      Q. Was it?
    22   correct? Is that what Aaron Burtner wrote to      22          MS. MILLER: Object to the form.
    23   you, among others?                                23      A. I don't recall.
    24          MS. MILLER: Object to form.                24   BY MR. ELSNER:
                                               Page 191                                                Page 193
     1       A. I see Aaron's e-mail. I'm in the            1      Q. Isn't it true that the practice at the
     2   "To," and then I see an e-mail to my boss with     2   time in 2012 if there was a suspicious order
     3   an attachment.                                     3   that was presented, that CVS would only stop
     4   BY MR. ELSNER:                                     4   that same drug from being shipped to the
     5       Q. Okay. And if you look at the                5   pharmacy?
     6   attachment, this is actually the SOM process,      6          MS. MILLER: Object to form.
     7   the Stop Order/Order Resumption process,           7      A. I don't recall what that process was.
     8   Revision Number 3 dated January 21, 2013,          8   BY MR. ELSNER:
     9   correct?                                           9      Q. If you turn to Page 2 of 3 of the
    10          MS. MILLER: Object to form.                10   document, sort of the first full paragraph
    11       A. That's the date on this document.          11   beginning with the sentence "Once." Do you see
    12   BY MR. ELSNER:                                    12   the paragraph I'm speaking about?
    13       Q. Okay. And you know from manuals at         13      A. "Once an order of interest"?
    14   CVS that if you look on the last page you can     14      Q. Yes. It reads "Once an order of
    15   look at the history of the revision of the        15   interest is identified, the SOM Analyst will
    16   document, correct?                                16   complete all the necessary due diligence and the
    17          MS. MILLER: Object to form.                17   SOM Manager will be notified to review the
    18       A. I believe most of our policies at CVS      18   order." And then it describes the due diligence
    19   have a section like this at the end.              19   and what it will include, "contacting the
    20   BY MR. ELSNER:                                    20   pharmacist, reviewing dispensing data, reviewing
    21       Q. Okay. And so it says that this             21   ordering data, etcetera." Then it reads "If the
    22   document was created for the first time on        22   SOM Manager agrees that the order is an order of
    23   January 7, 2013, right? That was the first        23   interest, the Distribution Center will be
    24   version of this?                                  24   contacted, both by e-mail and telephone, by the

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     1   SOM Manager to place a Hold on the drug family      1   the risk on something like that.
     2   in question on the order of interest." Is that      2   BY MR. ELSNER:
     3   what it says?                                       3       Q. Well, you're the director of business
     4       A. It appears that's what it says.              4   compliance at CVS, right?
     5       Q. Okay. So CVS said part of this new           5          MS. MILLER: Object to form.
     6   policy is going to hold the drug family in          6       A. My current title is director, business
     7   question for the order of interest, the middle      7   compliance officer.
     8   ground risk level that we just discussed in your    8   BY MR. ELSNER:
     9   risk analysis, correct?                             9       Q. Okay. Would you agree that it would
    10           MS. MILLER: Object to form.                10   be less risky if you just stopped all controlled
    11       A. So like I said, I see that this is the      11   substances as opposed to only the controlled
    12   creation of this document. I can't say whether     12   substances in the family group identified?
    13   or not that is a new process or we implemented     13          MS. MILLER: Object to form.
    14   it into this process and that was the process.     14       A. I can't say that that would be more or
    15   BY MR. ELSNER:                                     15   less risky.
    16       Q. Okay. But at least at this point in         16   BY MR. ELSNER:
    17   time, January 21, 2013, the process would be       17       Q. If you go to the bottom, if we're back
    18   there's an order of interest, you hold all the     18   to the manual, in the -- there's sort of two big
    19   drug family in question on that order of           19   bullets at the end of the document, beginning
    20   interest and don't ship that family of drugs,      20   with a sentence that starts "If the order of
    21   the middle risk policy that you described in       21   interest is determined to be suspicious, the
    22   your prior document, correct?                      22   following steps, but not limited to, may be
    23           MS. MILLER: Object to form.                23   taken."
    24           If you want to look at the other           24          Do you see where I'm at?
                                                Page 195                                                Page 197
     1   document he's referring to --                       1          MS. MILLER: Mike --
     2       A. Which was the other document, this?          2          MR. ELSNER: We're on Page 25368.
     3   BY MR. ELSNER:                                      3          MS. MILLER: Got it. Thank you.
     4       Q. I'm talking about the risk analysis          4   Where on the page?
     5   that you did. We're talking about the middle        5          MR. ELSNER: It's blown up for you
     6   ground, right, hold the family in question?         6   right next to you.
     7       A. These don't seem to be exactly the           7   BY MR. ELSNER:
     8   same.                                               8       Q. "If the order of interest is
     9       Q. What's the difference?                       9   determined to be suspicious, the following
    10       A. On this previous document that we           10   steps, but not limited to, may be taken." Do
    11   reviewed that I think you said I drafted, I        11   you see where I'm at?
    12   don't remember drafting it. This is talking        12       A. I see where you are in the document.
    13   about known combinations, high-risk controlled     13       Q. And it says "The SOM Manager will
    14   substances, which I don't know what that's         14   contact the Distribution Center and instruct
    15   referring to. Doesn't seem to be exactly the       15   to," and it says "Cancel the items previously
    16   same.                                              16   held (family group); Complete a Mark Out on all
    17       Q. Okay. Would you agree that it's a           17   items to be cancelled; Provide the SOM Manager
    18   middle risk to hold all the drugs in the same      18   with a copy of the Quality Scan for the tote
    19   family group, whereas it would be a lower risk     19   containing the suspicious order (family group);
    20   to stop all controlled substances being shipped    20   and Discontinue shipping the drug family in
    21   to that pharmacy after an order of interest or     21   question to the store in question until further
    22   suspicion?                                         22   instruction is received."
    23          MS. MILLER: Object to form.                 23          Is that what the policy was as of
    24       A. Not sure I'm the one who determines         24   January 21, 2013?

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                                                                             Review
                                                Page 198                                               Page 200
     1       A. I don't recall that exact process.           1          MS. MILLER: Object to form.
     2       Q. Is that what the document says?              2       A. I see that the e-mail says "Nice job
     3       A. How you read it is accurately how it         3   putting this together."
     4   appears in the document.                            4   BY MR. ELSNER:
     5       Q. If we go back to your opportunities          5       Q. And that indicates that he put it
     6   chart -- actually just one last question on         6   together?
     7   this.                                               7          MS. MILLER: Object to form.
     8          Who made the decision to draft this          8       A. It indicates I said nice job putting
     9   stop order policy?                                  9   it together.
    10          MS. MILLER: Object, basis of                10   BY MR. ELSNER:
    11   attorney/client privilege.                         11       Q. But it doesn't indicate he did?
    12          To the extent you can answer without        12          MS. MILLER: Object to form.
    13   revealing attorney/client communications, you      13       A. I don't know if Aaron is the one who
    14   may answer.                                        14   created this document.
    15       A. I don't recall.                             15   BY MR. ELSNER:
    16   BY MR. ELSNER:                                     16       Q. Okay. If you look at the next
    17       Q. Okay. If you go back to MR 12 that we       17   document -- e-mail above it, you send an e-mail
    18   were looking at, which is the e-mail. That's       18   to Christopher Tulley and Dean Vanelli. "Stop
    19   the right document.                                19   Order_Order Resumption" process. "Chris and
    20          MS. MILLER: The cover e-mail on the         20   Dean, I made a couple suggestions to Aaron's
    21   same document?                                     21   changes. I got his out of office as I forgot he
    22   BY MR. ELSNER:                                     22   was leaving early today. Thank you."
    23       Q. The cover e-mail. The stop order            23          So this is you forwarding the policy
    24   policy. Do you see where we're at?                 24   and procedure to Chris Tulley and Dean Vanelli,
                                                Page 199                                               Page 201
     1      A. I see the document.                           1   is that right?
     2      Q. If you go to the second page, it's            2       A. That's what it appears to be.
     3   25366.                                              3       Q. Okay. Then Dean Vanelli in the next
     4      A. Okay.                                         4   e-mail, he makes some changes in blue font, and
     5      Q. This is an e-mail from you to Aaron           5   he forwards those changes to the same document
     6   Burtner. It says "Aaron, I made a couple of         6   to you and Aaron Burtner, among others, is that
     7   suggestions and had a couple questions, anything    7   right?
     8   I added is in green. If you don't agree with        8          MS. MILLER: Object to form.
     9   any of the suggestions, please feel free to         9       A. I see an e-mail from Dean to -- and I
    10   leave them out.                                    10   am on the list of people who received it.
    11          "Nice job putting this together, it         11   BY MR. ELSNER:
    12   looks really good and covers the entire process    12       Q. So Dean made some edits, right?
    13   very clearly."                                     13          MS. MILLER: Object to form.
    14          Is that what you wrote?                     14       A. I don't recall this e-mail trail, but
    15      A. That e-mail is from me, and it is to         15   Dean's e-mail here indicates that he made
    16   Aaron.                                             16   changes in blue.
    17      Q. So Aaron drafted the first policy and        17   BY MR. ELSNER:
    18   procedure manual, is that right?                   18       Q. Okay. And then after that Aaron made
    19          MS. MILLER: Object to form.                 19   some -- made the recommended changes, and he's
    20      A. I don't recall if he was the one to          20   attached the updated SOP, correct?
    21   draft this policy.                                 21          MS. MILLER: Object to form.
    22   BY MR. ELSNER:                                     22   BY MR. ELSNER:
    23      Q. But you congratulated him for putting        23       Q. Is that what he wrote?
    24   this together, is that what you wrote?             24       A. Aaron has an e-mail stating "I made

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                                                Page 202                                                      Page 204
     1   recommended changes and have attached updated       1      A. I see where this document says
     2   SOP." And I am on that "To" list.                   2   "100-plus orders flagged by system, looked." I
     3      Q. And you sent that to Tom Bourque,             3   don't know what that means. I don't know where
     4   right?                                              4   I'm getting 100-plus orders from or the time
     5      A. It looks like I forwarded this to Tom         5   frame or -- I see where it says it in the
     6   Bourque.                                            6   document. I'm not sure exactly what it means.
     7      Q. Okay. So you participated in the              7   BY MR. ELSNER:
     8   drafting of the SOM SOP as it relates to stop       8      Q. Were you aware that Aaron Burtner was
     9   orders, right?                                      9   looking at about 2 to 3 percent of 100 orders
    10          MS. MILLER: Object to form.                 10   flagged by the suspicious order monitoring
    11      A. I don't recall reviewing or providing        11   system to do a deeper dive?
    12   feedback. Going off of this document, it looks     12          MS. MILLER: Object to form.
    13   like I made some suggestions.                      13      A. The document says "100-plus orders
    14   BY MR. ELSNER:                                     14   flagged by system, looked (past history,
    15      Q. If we go back to the opportunities           15   Algorithm, MAX/MIN)." Then "2-3 were stopped."
    16   document, it's true at this time that when the     16   I don't exactly know what order that's referring
    17   algorithm for the suspicious order monitoring      17   to or, again, I don't recall drafting this
    18   program flagged certain orders, that about 2 to    18   document or seeing this document.
    19   3 percent of the orders that were flagged would    19   BY MR. ELSNER:
    20   be reviewed for an enhanced review by Aaron        20      Q. When the suspicious order monitoring
    21   Burtner, correct?                                  21   system flagged an order as potentially
    22          MS. MILLER: Object to form.                 22   suspicious, Aaron Burtner was reviewing those
    23      A. I don't remember that to be the case.        23   orders at this time, correct?
    24   BY MR. ELSNER:                                     24          MS. MILLER: Object to form.

                                                Page 203                                                    Page 205
     1       Q. Okay. If you look under number 8, it         1       A. At this time I don't know exactly who
     2   says "100-plus Orders flagged by the system,        2   was reviewing orders. I do know at one time
     3   looked (past history, Algorithm, MAX/MIN)."         3   Aaron's responsibilities were reviewing orders.
     4          Do you see that line? Did I read it          4   BY MR. ELSNER:
     5   right?                                              5       Q. And it says in this document, "2 to 3
     6       A. I see where it says that.                    6   were stopped by Aaron." That's Aaron Burtner,
     7       Q. Okay. And it says "2 to 3 were               7   right?
     8   stopped by Aaron for review."                       8          MS. MILLER: Object to form.
     9          Did I read that correctly?                   9       A. Based on the cover page of this e-mail
    10       A. I see where it says that.                   10   and Aaron being on the e-mail, that is probably
    11       Q. And then there are three things             11   Aaron.
    12   listed, "Deeper dive review; Dispensing versus     12   BY MR. ELSNER:
    13   Ordering; Reach out to store."                     13       Q. Okay. You understand that when the
    14          Do you see that?                            14   SOM system flags suspicious orders that Aaron
    15       A. I see where it says that.                   15   Burtner didn't call every single pharmacy about
    16       Q. So do you understand that of the 100        16   every single order that was identified or
    17   orders flagged by the system, about 2 to 3 of      17   flagged under the suspicious order monitoring
    18   those 100 orders would be stopped by Aaron for     18   system, right?
    19   review and then he would do a deeper dive on       19          MS. MILLER: Object to form.
    20   those 2 to 3 orders considering the dispensing     20       A. So I don't know the full process and
    21   and ordering history, and he'd reach out to some   21   detail that the SOM team followed. I wasn't
    22   of the stores.                                     22   involved in the day-to-day. But the system
    23          Do you see that?                            23   itself wasn't necessarily the algorithms,
    24          MS. MILLER: Object to form.                 24   weren't necessarily designed to flag suspicious

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     1   orders. My understanding was they were to           1   had a system, and I didn't have any concerns
     2   identify orders of interest.                        2   with the system at that time.
     3   BY MR. ELSNER:                                      3       Q. Well, part of what you were hired to
     4      Q. What's the difference?                        4   do was to create and implement for the
     5          MS. MILLER: Object to form.                  5   distribution centers a suspicious order
     6   BY MR. ELSNER:                                      6   monitoring system, that's what you wrote in your
     7      Q. Orders of interest for what?                  7   review, right?
     8          MS. MILLER: Object to form.                  8       A. Again, I don't --
     9      A. My understanding is the system was            9          MS. MILLER: Object to form.
    10   designed to look at orders that potentially were   10       A. I don't remember writing that review.
    11   just different than other orders and the team      11   And if that's what it says, and I don't have it
    12   looked at it.                                      12   in front of me, but I don't recall ever being
    13   BY MR. ELSNER:                                     13   hired to do that.
    14      Q. I mean, orders that were unusual in          14   BY MR. ELSNER:
    15   size, right?                                       15       Q. But in order to create a system, you
    16          MS. MILLER: Object to form.                 16   needed to understand the system that was in
    17      A. I don't really know exactly what             17   place. So did you understand the system in
    18   the -- how the system was designed.                18   place to be identifying orders of interest based
    19   BY MR. ELSNER:                                     19   on unusual size, frequency, or pattern?
    20      Q. This is important. So did the system         20          MS. MILLER: Object to form.
    21   look at orders for unusual size, frequency, and    21   BY MR. ELSNER:
    22   pattern?                                           22       Q. Yes or no, or I don't know.
    23          MS. MILLER: Object to form.                 23       A. I knew the SOM process at a high
    24      A. My understanding is the system was           24   level, and the way I understood it was that we
                                                Page 207                                                Page 209
     1   designed to meet the -- our requirements as a       1   built a system to comply with DEA regulation.
     2   wholesale distributor.                              2      Q. And that DEA regulation at the time
     3   BY MR. ELSNER:                                      3   was to identify orders of suspicious size and
     4      Q. And those requirements are to identify        4   the like, right?
     5   orders of suspicious size, frequency, and           5          MS. MILLER: Object to form.
     6   deviation, right?                                   6      A. The way I understand the requirement
     7          MS. MILLER: Object to form.                  7   is we needed to have a system.
     8      A. As I understand the regulation, it's          8   BY MR. ELSNER:
     9   size, frequency, pattern, but the requirement is    9      Q. You needed to just have a system?
    10   that we have a system that identified orders,      10      A. We needed to have a system that a -- a
    11   and I was comfortable we had a system that did     11   suspicious order monitoring system.
    12   that.                                              12      Q. That would do what?
    13   BY MR. ELSNER:                                     13      A. Report suspicious orders.
    14      Q. So these are the orders of interest          14      Q. And a suspicious order by the DEA was
    15   that are being identified. These are the orders    15   considered to be what?
    16   of unusual size, frequency, or pattern, correct?   16          MS. MILLER: Object to form.
    17   That's what the SOM system was designed to         17      A. I don't recall ever seeing guidance
    18   detect?                                            18   from the DEA as to what was suspicious.
    19          MS. MILLER: Object to form.                 19   BY MR. ELSNER:
    20   BY MR. ELSNER:                                     20      Q. Did the system in place in 2012 at
    21      Q. Or was it not? Was it not designed           21   CVS -- was there a system in place to identify
    22   that way?                                          22   orders that deviated substantially from a normal
    23      A. I wasn't part of the design of the           23   pattern or size? Did you understand that system
    24   system at this point. My understanding was we      24   to be able to do that?

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                                                Page 210                                                      Page 212
     1          MS. MILLER: Object to form.                  1       Q. Do you know why one order would be
     2       A. In 2012, I didn't -- I don't believe I       2   subject to a deeper dive than another?
     3   recall the specifics or ever knew the specifics     3          MS. MILLER: Object to form.
     4   of the suspicious order monitoring system.          4       A. I wasn't part of that process.
     5   BY MR. ELSNER:                                      5   BY MR. ELSNER:
     6       Q. So you don't know whether it was in          6       Q. Who would we ask to determine whether
     7   compliance with DEA regulations or not, correct?    7   the SOM system complied with the DEA regulations
     8          MS. MILLER: Object to form.                  8   in 2012? Who at CVS?
     9       A. I don't recall ever hearing or having        9          MS. MILLER: Object to form.
    10   a concern that we were not fulfilling our          10       A. I would think our lawyers are the ones
    11   requirements.                                      11   who make that determination.
    12   BY MR. ELSNER:                                     12   BY MR. ELSNER:
    13       Q. And you didn't do any steps to              13       Q. In order to determine what the system
    14   determine whether the system met the               14   was at CVS in November of 2012, if I asked you
    15   requirements or not, correct?                      15   to do that today, figure out for me what the
    16          MS. MILLER: Object to form.                 16   system was doing in 2012, who would you go talk
    17       A. In 2012 when I first started with the       17   to?
    18   company, I don't recall exactly what steps I       18          MS. MILLER: Object to form.
    19   took.                                              19          Can we take a break soon for lunch.
    20   BY MR. ELSNER:                                     20          MR. ELSNER: Not in the middle of a
    21       Q. Well, do you know one way or the other      21   question.
    22   whether the system that existed before the new     22          MS. MILLER: No, not right now, after
    23   system came into place tracked orders for --       23   this.
    24   orders of unusual size, deviating from a normal    24          MR. ELSNER: I've got a few more in

                                                Page 211                                                   Page 213
     1   pattern or orders of unusual frequency? Did the     1   this area and then we can move on.
     2   system track that?                                  2      A. I don't recall who ran or owned the
     3      A. I can't speak to the system that I            3   SOM process at this time.
     4   wasn't part of it being developed. I just           4          MS. MILLER: Craig, are you ready for
     5   recall not having any concerns that we were not     5   a break?
     6   meeting our requirements.                           6          THE WITNESS: I could use a break
     7      Q. But you didn't know one way or the            7   soon.
     8   other, right? You didn't know whether the           8          MS. MILLER: Can we take a break?
     9   system tracked for that information, correct?       9   We've been going now -- we talked about 12:15.
    10          MS. MILLER: Object to form.                 10   We've been going at least an hour and
    11      A. I don't recall the specifics of the          11   15 minutes.
    12   algorithms or the system.                          12          MR. ELSNER: Okay.
    13          MS. MILLER: Object to form.                 13          THE VIDEOGRAPHER: We're going off the
    14   BY MR. ELSNER:                                     14   record at 12:17 p.m.
    15      Q. The orders of interest that were             15          (Whereupon, a luncheon recess was
    16   identified by the SOM system in place in           16          taken.)
    17   November of 2012, not every order of interest      17
    18   resulted in a deeper dive review, including        18
    19   reaching out to the particular pharmacy in         19
    20   question, correct?                                 20
    21          MS. MILLER: Object to form.                 21
    22      A. I can't say. I was not part of the           22
    23   day-to-day process.                                23
    24   BY MR. ELSNER:                                     24


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                                                                             Review
                                                Page 214                                                Page 216
     1        AFTERNOON SESSION                              1       Q. If we go to the second page, item
     2                                                       2   number 15, it reads "OV." I believe that stands
     3          THE VIDEOGRAPHER: We're back on the          3   for other vendors, is that right?
     4   record at 12:57 p.m.                                4       A. I believe that stands for outside
     5   BY MR. ELSNER:                                      5   vendors.
     6      Q. Mr. Schiavo, if we look at item number        6       Q. Outside vendors, okay. Outside
     7   9 in the opportunities list from your notes from    7   vendors and DC, that's the distribution center,
     8   the meeting in 2012, it says "Hold or cancel        8   is that right?
     9   orders when flagged?" And then under A it says      9       A. I believe so.
    10   "Holding order until due diligence is completed    10       Q. Okay. So "outside vendors and
    11   may be the best option." Did I read that           11   distribution center orders don't get
    12   correctly?                                         12   reviewed/monitored together. Both pieces of
    13      A. I see that is written on this                13   information need to run through the same
    14   document. And just as I said earlier, I don't      14   system." Did I read that correctly?
    15   remember writing this document.                    15       A. That is what this document says.
    16      Q. Okay. Would you agree as a matter of         16       Q. Is it your opinion that given the
    17   policy that it would be best to hold an order      17   volume of controlled substances that CVS is
    18   until due diligence is completed before sending    18   dispensing that an automated system is an
    19   out that order?                                    19   important component of a suspicious order
    20          MS. MILLER: Object to form.                 20   monitoring program or system?
    21      A. Where it's written here, I don't know        21          MS. MILLER: Object to form.
    22   what hold is referring to, what part of the        22       A. I don't believe that an SOM system
    23   process.                                           23   needs to have an automatic element to it. I
    24   BY MR. ELSNER:                                     24   don't know exactly -- I'm not exactly sure what
                                                Page 215                                                Page 217
     1       Q. Well, would you agree generally that         1   automatic element is.
     2   holding an order until you complete the due         2   BY MR. ELSNER:
     3   diligence would be a sound due diligence            3      Q. I might not have been clear.
     4   process?                                            4          Would you agree that given just the
     5          MS. MILLER: Object.                          5   volume of controlled substances that we're
     6   BY MR. ELSNER:                                      6   dealing with at CVS, that having an electronic
     7       Q. Irrespective of the document.                7   system in place to monitor those orders would be
     8          MS. MILLER: Object to form.                  8   important?
     9       A. I'm not sure exactly what's meant by         9          MS. MILLER: Object to form.
    10   hold.                                              10      A. I can't say it would be important.
    11   BY MR. ELSNER:                                     11   BY MR. ELSNER:
    12       Q. Under item 10 it reads "Process in DCs      12      Q. Well, would it be effective to use a
    13   needs to be developed." Is that the                13   manual system?
    14   distribution centers?                              14          MS. MILLER: Object to form.
    15       A. I believe DC stands for distribution        15      A. It very well could be.
    16   centers.                                           16   BY MR. ELSNER:
    17       Q. And that's what it says, that the           17      Q. Do you think it would be better to use
    18   process in the DCs needs to be developed, the      18   a manual system at CVS to review all the
    19   distribution centers, is that correct? Is that     19   controlled substances as opposed to an
    20   what's written here?                               20   electronic one?
    21          MS. MILLER: Object to form.                 21          MS. MILLER: Object to form.
    22       A. I see that is written there. I don't        22      A. That's a hard question to answer.
    23   know what process that's referring to.             23   There's a lot of elements that go into a SOM
    24   BY MR. ELSNER:                                     24   process. It depends.

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                                                Page 218                                                Page 220
     1   BY MR. ELSNER:                                      1      Q. Anyone recommend we should, instead of
     2       Q. So you think you could have an               2   having electronic system, go back to paper?
     3   effective system at CVS for the dispensing of       3          MS. MILLER: Object to form.
     4   controlled substances that's not electronically     4      A. I don't recall any specific
     5   based?                                              5   conversations around a manual system or
     6          MS. MILLER: Objection to form.               6   electronic system and how we should operate.
     7       A. Again, I don't think I'm -- when you         7   BY MR. ELSNER:
     8   say dispensing of controlled substances at the      8      Q. Because that would be crazy, right?
     9   pharmacy, I don't know the processes well enough    9          MS. MILLER: Object to form.
    10   to make that assumption.                           10   BY MR. ELSNER:
    11   BY MR. ELSNER:                                     11      Q. It would be crazy to try to use a
    12       Q. I'm just talking generally. I mean,         12   manual paper system for all these drugs orders,
    13   CVS dispenses millions and millions if not         13   wouldn't it?
    14   billions of prescriptions in a given year,         14          MS. MILLER: Object to form.
    15   right?                                             15      A. I can't say that.
    16          MS. MILLER: Object to form.                 16   BY MR. ELSNER:
    17       A. I don't know the exact number that we       17      Q. I'm going to -- if we go back to item
    18   dispense.                                          18   number 14, did CVS have a system in place in
    19   BY MR. ELSNER:                                     19   November of 2012 to monitor for orders for
    20       Q. Well, would you agree it's in the           20   controlled substances made by pharmacies to
    21   millions or higher?                                21   outside vendors?
    22          MS. MILLER: Object to form.                 22          MS. MILLER: Object to form.
    23       A. I haven't seen exact data on the            23      A. I don't recall what the process was in
    24   number of prescriptions dispensed.                 24   2012 in terms of outside vendor orders.
                                                Page 219                                                Page 221
     1   BY MR. ELSNER:                                      1   BY MR. ELSNER:
     2       Q. So it could be less than a million?          2       Q. Did you understand -- you understand
     3          MS. MILLER: Object to form.                  3   that reviewing outside vendor orders for
     4       A. I haven't seen the exact numbers of          4   controlled substances would be an -- important
     5   how much CVS dispenses in a given year.             5   to know so that you know how many controlled
     6   BY MR. ELSNER:                                      6   substances a particular pharmacy was ordering,
     7       Q. What's your best estimate?                   7   correct?
     8          MS. MILLER: Object to form.                  8          MS. MILLER: Object to form.
     9       A. Again, I haven't seen numbers, so I          9       A. Outside vendor orders is a piece of
    10   wouldn't even be able -- be comfortable guessing   10   information that can be utilized, but that is
    11   the number.                                        11   not the only piece of information that can be
    12   BY MR. ELSNER:                                     12   utilized.
    13       Q. Well, you were developing a suspicious      13   BY MR. ELSNER:
    14   order monitoring system for the distribution       14       Q. No, I understand that. But it would
    15   centers, and you have no idea what the volume is   15   be important to know, wouldn't it, from a due
    16   that CVS is distributing. You don't even know      16   diligence perspective? If the pharmacy was
    17   if you need an electronic system, or could use a   17   ordering hydrocodone products from you, it would
    18   manual system, right?                              18   be important to know whether that pharmacy was
    19          MS. MILLER: Object to the form.             19   also ordering hydrocodone products from other
    20       A. I wasn't the one developing the             20   outside vendors at the same time, right?
    21   system. I was on a team or part of a team that     21          MS. MILLER: Object to form.
    22   was working to implement a new or enhanced         22       A. You mean -- you keep saying
    23   system.                                            23   "important." I don't know what you mean by
    24   BY MR. ELSNER:                                     24   important. But it's a piece of information that

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     1   can be utilized.                                   1   as Schiavo 13. So this is another year-end
     2   BY MR. ELSNER:                                     2   review. This is the one that's finalized. It's
     3       Q. Should it be?                               3   dated 3/04/2014.
     4          MS. MILLER: Object to form.                 4          Do you see that?
     5       A. I don't think it necessarily has to         5      A. I see where it says that.
     6   be.                                                6      Q. Okay. And it lists Craig Schiavo, is
     7   BY MR. ELSNER:                                     7   that right?
     8       Q. Do you have a system to monitor that        8      A. I see my name.
     9   today?                                             9      Q. Okay. If you turn to Page 3 of 9,
    10          MS. MILLER: Object to form.                10   which is 120582.
    11       A. My understanding of the system today       11      A. Okay.
    12   is that outside vendor orders are taken into      12      Q. Do you see under the -- there's some
    13   consideration.                                    13   bullets on the right-hand side of the page.
    14   BY MR. ELSNER:                                    14   There's a bullet that begins "The Suspicious
    15       Q. Why?                                       15   Order Monitoring SOP."
    16          MS. MILLER: Object to form.                16          Do you see that?
    17       A. Because that's the decision that was       17      A. I see that.
    18   made.                                             18      Q. And it says that "Aaron Burtner and I
    19   BY MR. ELSNER:                                    19   worked together to draft and implement our
    20       Q. Why?                                       20   current SOM policies and procedures, as well as
    21          MS. MILLER: Object to form, and to         21   have completed the draft of our enhanced SOM SOP
    22   the extent -- objection on attorney/client        22   for when the system goes live in February."
    23   privilege to the extent you -- an answer would    23          That's what you did with Aaron
    24   involve disclosing communications with counsel.   24   Burtner, correct?

                                               Page 223                                                      Page 225
     1      A. I don't recall who made that final           1          MS. MILLER: Object to form.
     2   decision.                                          2       A. That's what this says. And I'm sure I
     3   BY MR. ELSNER:                                     3   worked with Aaron Burtner, but I don't think we
     4      Q. Do you understand why it was made?           4   were the only two who reviewed that policy or
     5          MS. MILLER: Same objection, and             5   drafted that policy.
     6   object to form.                                    6   BY MR. ELSNER:
     7      A. I don't recall who made the decision.        7       Q. But you said that you worked with
     8   BY MR. ELSNER:                                     8   Aaron Burtner to draft and implement that
     9      Q. Okay. I'm going to put before you            9   policy, correct?
    10   Exhibit 13.                                       10          MS. MILLER: Object to form.
    11          (Whereupon, CVS-Schiavo-13 was marked      11       A. This looks to be my year-end review
    12          for identification.)                       12   for 2013. If I went into the details of
    13   BY MR. ELSNER:                                    13   everyone that I worked with and everything that
    14      Q. Well, let me ask. That was a new            14   I did, that would -- I might still be writing
    15   system, though. It's now an enhanced system to    15   this document. So this doesn't include
    16   monitor outside vendor orders for controlled      16   everything that I did and everyone that I worked
    17   substances. That wasn't in the prior system,      17   with.
    18   right?                                            18   BY MR. ELSNER:
    19          MS. MILLER: Object to form.                19       Q. But you worked on it and you wrote it
    20      A. It is part of the new system. And I         20   with Aaron Burtner and maybe some other people,
    21   can't speak to whether or not that was part of    21   right?
    22   the old system. It might have been.               22          MS. MILLER: Object to form.
    23   BY MR. ELSNER:                                    23       A. I don't know exactly which policy this
    24      Q. I'm going to mark this next document        24   is referring to.

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     1   BY MR. ELSNER:                                      1   time you were grouping together controlled
     2       Q. If you go further down, three bullets        2   substances in the SOM so that you could have
     3   down, it reads "Grouping the Controlled             3   stop orders in effect by drug family as opposed
     4   Substance Drug Families to categorize the           4   to individual drug, correct?
     5   potential level of diversion for the SOM System.    5          MS. MILLER: Object to form.
     6   These groups will determine how each drug family    6       A. I don't recall, and I don't see where
     7   is analyzed in the SOM algorithm."                  7   this would indicate that we were not doing it in
     8          Did you do that?                             8   the past.
     9          MS. MILLER: Object to the form.              9   BY MR. ELSNER:
    10       A. I don't believe -- I don't recall           10       Q. Were you doing it in the past? Why
    11   being part of the -- I don't recall being the      11   would you be grouping them now if you already
    12   person that did that.                              12   had them grouped?
    13   BY MR. ELSNER:                                     13          MS. MILLER: Object to form.
    14       Q. That's what you wrote, right, that you      14       A. I don't recall, and I wasn't familiar
    15   grouped the controlled substance drug families     15   with how the system looked at it in the past.
    16   to categorize the potential level of diversion     16   It says here that one of the things that I
    17   for the SOM system? That's what you wrote in       17   participated in at some level was grouping of
    18   your review, correct?                              18   the controlled substances.
    19       A. I see at the very beginning it says "I      19   BY MR. ELSNER:
    20   participated in," that last bullet says            20       Q. By family group, right, as opposed to
    21   "Grouping the Controlled Substance Drug            21   by individual drug?
    22   Families." That is not something I recall          22          MS. MILLER: Object to form.
    23   having significant input in.                       23       A. It says "Grouping Controlled Substance
    24       Q. Well, on the top right before the           24   Drug Families."
                                                Page 227                                                Page 229
     1   first bullet we read -- it says "Some of the        1       Q. By drug families.
     2   main milestones that I participated in              2          MR. ELSNER: This is Exhibit 14.
     3   achieving, or was responsible for their             3          (Whereupon, CVS-Schiavo-14 was marked
     4   completion were," and then it lists all these       4          for identification.)
     5   different bullets, and one of the bullets you       5   BY MR. ELSNER:
     6   list is one of the main milestones that you         6       Q. This is your midyear review from 2013,
     7   participated in achieving or were responsible       7   last updated September 18, 2013. Do you see it
     8   for completing was to group the controlled          8   lists your name, Craig Schiavo? Is that right?
     9   substance drug families to categorize the           9       A. I do.
    10   potential level of diversion for the SOM system.   10       Q. Can I ask you to turn to Page 3 of 7?
    11   Is that what you wrote?                            11       A. Okay.
    12           MS. MILLER: Object to form.                12       Q. I ask you to -- this is another
    13       A. I don't remember writing this and           13   listing of bullets of things in your midyear
    14   reading the way that it's written at the time.     14   review. And there's a bullet towards the
    15   I'm saying that I participated in. I don't see     15   bottom, sort of the last bullet. It begins
    16   anywhere where I indicate the level of my          16   "Quarantine Policy and Procedure."
    17   participation. The last bullet says grouping of    17          Do you see that?
    18   controlled substances, and I don't see in there    18       A. I see that.
    19   the level of my participation, and I don't         19       Q. Okay. And it says "Worked closely
    20   recall my level of participation, but I don't      20   with Pharmacy Ops to create the policy on what
    21   believe that it was something that I provided      21   to do if an Outside Vendor Order of Interest is
    22   significant input on.                              22   deemed to be suspicious."
    23   BY MR. ELSNER:                                     23          Did I read that correctly?
    24       Q. This indicates that at this point in        24       A. That is what this says.

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     1      Q. Okay. So were you involved in                 1   remember --
     2   creating a policy for suspicious orders related     2          MS. MILLER: Objection. I'm going
     3   to outside vendors of controlled substances?        3   to --
     4          MS. MILLER: Object to form.                  4   BY MR. ELSNER:
     5      A. I don't ever remember creating a              5       Q. I'm not asking --
     6   policy around -- I don't ever remember creating     6          MS. MILLER: Yeah, and I'm going to --
     7   a quarantine policy and procedure around outside    7   BY MR. ELSNER:
     8   vendor orders, nor do I remember that being         8       Q. I'm not asking you what the feedback
     9   something that we had ever implemented.             9   from legal was. What I want to know is just
    10   BY MR. ELSNER:                                     10   that you were working on this policy and it was
    11      Q. Do you know whether there was a system       11   not finalized as of January of 2014.
    12   in place at CVS in November of 2012 to track       12          MS. MILLER: Mike, I'd just like to
    13   outside vendor orders of controlled substances?    13   say on the record, I think for that sentence
    14          MS. MILLER: Object to form.                 14   related to legal that we would want to redact
    15      A. I don't recall how outside vendor            15   that and claw that back.
    16   orders were looked at in that time frame.          16          MR. ELSNER: I don't think it --
    17   BY MR. ELSNER:                                     17          MS. MILLER: Yeah, I'm going to say --
    18      Q. If you go back to the prior year-end         18          MR. ELSNER: -- discloses a privilege,
    19   review, the exhibit just before this one dated     19   but --
    20   March 4, 2014, and if you turn to Page 7 of 9.     20          MS. MILLER: I'm going to say on the
    21   The third bullet down on the right-hand side of    21   record, you don't want to go into it, you just
    22   the page beginning with "Controlled Substance      22   said. I'm just making a record.
    23   SOP."                                              23   BY MR. ELSNER:
    24          Do you see that?                            24       Q. Why don't I reread it, and I'll read
                                                Page 231                                                Page 233
     1      A. I do.                                         1   it without that in there. The year-end review
     2      Q. It says "I am currently working to            2   for -- dated March 4, 2014 stated that the
     3   create an SOP that covers all Controlled            3   controlled -- you were working on the controlled
     4   Substance Activities in our Pharmacies. To          4   substance SOP, standard operating procedure. "I
     5   date, the initial draft of this SOP was provided    5   am currently working to create an SOP that
     6   to Legal for feedback which was received back       6   covers all Controlled Substance Activities in
     7   requesting for us to expand the scope from just     7   our Pharmacies." Is that true in 2013?
     8   dispensing to all controlled substance              8       A. I don't remember this specific time
     9   activities. The second draft of this SOP will       9   frame or specifically the policy this is
    10   be ready for review by the middle of January of    10   referring to.
    11   2014." Did I read that correctly?                  11       Q. Well, was there a policy at CVS in
    12      A. Looks to be that's what it says.             12   2013 before you started working on it to monitor
    13      Q. Okay. So you were creating a standard        13   for controlled substance activities at
    14   operating procedure for controlled substance       14   pharmacies?
    15   activities at all CVS pharmacies in 2013 with      15          MS. MILLER: Object to form.
    16   the hope that a second draft of the policy would   16       A. I know that there were policies at CVS
    17   be ready by January, 2014, is that right?          17   that covered controlled substance related
    18          MS. MILLER: Object to form. Object          18   activities.
    19   on attorney/client privilege grounds.              19   BY MR. ELSNER:
    20          You may answer to the extent you can        20       Q. Was there a standard operating
    21   do so without revealing communications with        21   procedure that related to controlled substance
    22   counsel.                                           22   activities in pharmacies at CVS?
    23      A. So this policy, I don't remember what        23          MS. MILLER: Object to form.
    24   the feedback from legal was, but I do              24       A. I believe there were many policies

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     1   that addressed controlled substances in them.      1   an effective system.
     2   BY MR. ELSNER:                                     2         MR. ELSNER: Let's mark Exhibit 15,
     3      Q. The system that you -- the description       3   Schiavo 15.
     4   that you wrote as item 15 in your enhancements     4         (Whereupon, CVS-Schiavo-15 was marked
     5   document lists OV and DC orders don't get          5         for identification.)
     6   reviewed and monitored together. So there          6   BY MR. ELSNER:
     7   needed to be a system that would review outside    7       Q. This is another e-mail from you to Tom
     8   vendor orders along with the orders from the       8   Bourque dated January 22, 2013, and the subject
     9   distribution center together in order to create    9   is "Importance of Incorporating OV Orders."
    10   an effective monitoring system, is that true?     10   That's outside vendor orders. Did I read that
    11          MS. MILLER: Object to form.                11   correctly?
    12      A. I don't believe that is required to         12       A. That's what it says.
    13   have an effective system, no.                     13       Q. Okay. And it says "Tom, For the
    14   BY MR. ELSNER:                                    14   meeting with Pawlik today. Thanks, Craig."
    15      Q. Would you agree that one element of a       15         Who is Pawlik?
    16   know your customer procedure is knowing whether   16       A. That is Tom Pawlik who Tom Bourque
    17   your pharmacy customer is ordering controlled     17   reported up to. He was the VP of compliance.
    18   substances from multiple vendors?                 18       Q. And there's an attachment, and the
    19          MS. MILLER: Object to form.                19   attachment is the "Importance of Incorporating
    20      A. I don't believe that that must be a         20   OV Orders," correct? Is that right?
    21   part of a suspicious order monitoring system.     21         MS. MILLER: Object to form.
    22   BY MR. ELSNER:                                    22       A. The title is "Importance of
    23      Q. Do you agree that understanding the         23   Incorporating OV Orders Into the SOM."
    24   amount of opioids purchased by a pharmacy is      24   BY MR. ELSNER:
                                               Page 235                                                      Page 237
     1   only useful if you know if they are purchasing     1       Q. "Into the SOM Algorithm," correct?
     2   opioids from other vendors?                        2       A. That's what it says.
     3           MS. MILLER: Object to form.                3       Q. Okay. And written here is why it's
     4        A. I don't believe that you need to know      4   needed, and the first bullet is the "DEA 'Know
     5   that in order to have an effective system.         5   Your Customer' Requirements," right?
     6   BY MR. ELSNER:                                     6          MS. MILLER: Object to form.
     7        Q. Would you agree with me it would be        7       A. It says "DEA 'Know Your Customer'
     8   important to have that information to have an      8   Requirements."
     9   effective suspicious order monitoring system?      9   BY MR. ELSNER:
    10           MS. MILLER: Object to form.               10       Q. So one of the reasons why you need to
    11        A. I'm not sure what you mean by             11   incorporate outside vendor orders into the
    12   important, but it's not necessary. I don't        12   suspicious order monitoring algorithm is to
    13   believe that it's necessary.                      13   comply with the DEA's know your customer
    14   BY MR. ELSNER:                                    14   requirements, right?
    15        Q. So you could do without it?               15          MS. MILLER: Object to the form.
    16           MS. MILLER: Object to form.               16       A. I don't believe that is a required
    17        A. What I'm saying is I don't necessarily    17   element in order to know your customer.
    18   believe that you have to have it.                 18   BY MR. ELSNER:
    19   BY MR. ELSNER:                                    19       Q. But that's what you wrote in this
    20        Q. Right. You're saying you don't need       20   memo, correct?
    21   it, it could be left out, right?                  21          MS. MILLER: Object to form.
    22           MS. MILLER: Object to form.               22       A. I don't remember writing this. I see
    23        A. What I'm saying is I don't believe it     23   what it says, why it is needed, and I see that
    24   is a required element to have in order to have    24   it says "DEA 'Know Your Customer' Requirements."

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     1   BY MR. ELSNER:                                      1   radar." Is that what it reads?
     2      Q. Okay. And under number two it reads           2           MS. MILLER: Object to form.
     3   "In order for dispensing data contained in the      3       A. That is what that first bullet says.
     4   algorithm to be useful, we must account for all     4   BY MR. ELSNER:
     5   controlled substances ordered." Is that what it     5       Q. Okay. And would you agree that that's
     6   says?                                               6   a potential issue, that a store could order a
     7          MS. MILLER: Object to form.                  7   little bit from the distribution center and a
     8      A. That is what it says. But I know that         8   little bit from outside vendors and stay under
     9   you do not need to have outside vendor orders       9   the detection radar of the algorithm?
    10   incorporated into a system in order to have an     10           MS. MILLER: Object to form.
    11   effective system, where it says we must account    11       A. I don't know that to be true. I don't
    12   for all controlled substances ordered.             12   know what algorithm we're referring to. This is
    13   BY MR. ELSNER:                                     13   very early in the process. OV orders are
    14      Q. But you wrote that in these bullets,         14   something that we discussed. This is a document
    15   right?                                             15   going over potential issues as I read this.
    16          MS. MILLER: Object to form.                 16   BY MR. ELSNER:
    17      A. I don't remember drafting this               17       Q. And then under number three bullet,
    18   document. That is what the bullet says.            18   potential issues, "If we bring in the outside
    19   BY MR. ELSNER:                                     19   vendor data later in the process, we may ship a
    20      Q. Okay. Just so you know, we have the          20   potentially reportable suspicious order from our
    21   metadata on these documents, if your counsel       21   distribution center." Did I read that
    22   didn't know, so it's not that we can sit around    22   correctly?
    23   and craft up and create documents. We didn't       23           MS. MILLER: Object to form.
    24   make up documents, okay? These are the             24       A. I see that written under "Potential
                                                Page 239                                                Page 241
     1   documents produced from your files to us as part    1   Issues If Not Accounted For In Realtime."
     2   of CVS's obligation. Do you understand that?        2   BY MR. ELSNER:
     3          MS. MILLER: Object to form.                  3      Q. Okay. And then the last bullet in
     4   BY MR. ELSNER:                                      4   that section, the last main bullet, "Stores can
     5      Q. Do you understand that's how this             5   place phone orders which we have no visibility
     6   works?                                              6   to until a later time." Did I read that
     7          MS. MILLER: Object to form.                  7   correctly?
     8      A. I understand that this is a document          8      A. That is what it says there, although I
     9   provided to you by CVS.                             9   don't ever remember that being a process at CVS.
    10   BY MR. ELSNER:                                     10      Q. Exactly.
    11      Q. From your files.                             11          So under that it says currently we
    12          MS. MILLER: Object to form.                 12   have a store which had a 68,000 hydrocodone pill
    13      A. I have no reason to believe that             13   loss and they were placing phone orders to
    14   that's not true.                                   14   outside vendors. Did I read that correctly?
    15   BY MR. ELSNER:                                     15          MS. MILLER: Object to form.
    16      Q. Okay. Under the second item it lists         16      A. That is what that says.
    17   "Potential Issues If Not Accounted For In          17   BY MR. ELSNER:
    18   Realtime." Did I read that correctly?              18      Q. Were you aware that there was a CVS
    19      A. "Potential Issues If Not Accounted For       19   Pharmacy that had a 68,000 hydrocodone pill
    20   In Realtime."                                      20   loss?
    21      Q. And it reads that one issue -- one           21      A. I don't recall this loss.
    22   potential issue under bullet one is a "Store may   22      Q. Do you remember what pharmacy it was,
    23   order a little from both the outside vendor and    23   or what state it was in?
    24   the distribution center to stay under the          24          MS. MILLER: Object to form.

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     1       A. No, I don't recall.                          1   BY MR. ELSNER:
     2   BY MR. ELSNER:                                      2       Q. Okay. And would this qualify as a
     3       Q. When a pharmacy has a theft like that        3   significant loss?
     4   or a loss like that of 68,000 pills of              4          MS. MILLER: Object to form.
     5   hydrocodone, the system would stop sending those    5       A. I think 68,000 pills is a significant
     6   hydrocodone pills from the distribution center,     6   loss of hydrocodone if, in fact, this is
     7   right?                                              7   accurate, which I don't know it to be.
     8           MS. MILLER: Object to form.                 8   BY MR. ELSNER:
     9       A. The SOM system under -- in 2013, I           9       Q. Okay. And would it concern you that
    10   think, when this was drafted, I don't know         10   if you had a CVS Pharmacy that had a 68,000
    11   exactly how it was designed or exactly what it     11   hydrocodone pill loss, if that pharmacy was
    12   looked at, but I do know that at CVS we had a      12   placing additional orders by phone with outside
    13   policy to report controlled substance losses or    13   vendors other than through CVS's distribution
    14   thefts or armed robberies. And if this turned      14   center?
    15   out to be a loss, which I don't recall, this       15          MS. MILLER: Object to form.
    16   could have turned out to not be a loss and         16       A. Not knowing any other information on
    17   incorrect, then I'm confident that we reported     17   this loss, no.
    18   it to the DEA, and I'm confident that whatever     18   BY MR. ELSNER:
    19   remediations needed to be put in place were put    19       Q. It would not concern you if a CVS
    20   in place.                                          20   Pharmacy had a 68,000 hydrocodone pill loss,
    21   BY MR. ELSNER:                                     21   that pharmacy couldn't order any more
    22       Q. So it was a requirement in your             22   hydrocodone from the distribution center, and
    23   understanding at this point in time that if        23   that pharmacy was placing orders to outside
    24   there was a 68,000-pill loss for a controlled      24   vendors to get hydrocodone shipped to them, that
                                                Page 243                                                Page 245
     1   substance that it was an obligation for CVS to      1   would not concern you?
     2   report it to the DEA, right?                        2          MS. MILLER: Object to form.
     3          MS. MILLER: Object to form.                  3      A. I feel like you're assuming that this
     4      A. CVS reports substantial losses of             4   store could not place an order to our DC and
     5   controlled substances to the DEA.                   5   could only place an order to the OV, and I don't
     6   BY MR. ELSNER:                                      6   know that to be the case, so I can't answer that
     7      Q. So you're confident it was done here          7   question.
     8   because that's a requirement, but you don't know    8   BY MR. ELSNER:
     9   for sure?                                           9      Q. Well, if that were true, would that
    10          MS. MILLER: Object to form.                 10   concern you?
    11      A. I'm confident that whatever situation        11          MS. MILLER: Object to form.
    12   or store that is being referred to here, that I    12      A. You're asking me to assume, and I
    13   don't know what store, what the situation was,     13   don't have enough information to assume.
    14   what kind of loss or even if there was a loss,     14   BY MR. ELSNER:
    15   I'm sure that CVS -- I'm very confident that CVS   15      Q. It's a hypothetical. There's a 68,000
    16   complied with whatever they needed to do to        16   hydrocodone pill loss, and that pharmacy
    17   deal.                                              17   couldn't get any more from the distribution
    18   BY MR. ELSNER:                                     18   center because the distribution center was
    19      Q. I want to make sure. Is it CVS's             19   investigating that, and then that same pharmacy
    20   policy at this time to report to the DEA a loss    20   ordered from an outside vendor more hydrocodone.
    21   of controlled substances of this size?             21   Under that hypothesis or -- would that concern
    22          MS. MILLER: Object to form.                 22   you?
    23      A. I understand that CVS is required to         23          MS. MILLER: Object to form.
    24   report significant losses.                         24      A. Even in that hypothetical situation

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     1   that you laid out, I still cannot make the         1   whether you agreed with the statement that the
     2   determination that I would be concerned.           2   SOM algorithm will be better equipped to
     3   BY MR. ELSNER:                                     3   identify a potential suspicious order,
     4       Q. It says underneath that bullet that         4   minimizing the risk of shipping potential
     5   the BOP requested phone records to identify the    5   suspicious orders. Would you agree with that?
     6   orders placed in the store from the outside        6          MS. MILLER: Object to form.
     7   vendor. What is BOP?                               7       A. I cannot -- I can't say that's an
     8       A. I believe that refers to the Board of       8   accurate statement because this early in the
     9   Pharmacy.                                          9   process I didn't know all aspects that would be
    10       Q. Did you know that the Board of             10   part of the system that we were building, so I
    11   Pharmacy had actually requested the phone         11   don't know if that's an accurate statement
    12   records to identify the orders placed by this     12   because there's a lot of other things that
    13   particular CVS store from outside vendors?        13   potentially could have been put in the system
    14          MS. MILLER: Object to form.                14   that would have done just as effective of a job.
    15       A. Again, I don't recall this loss, I         15   BY MR. ELSNER:
    16   don't recall the store, I don't recall the        16       Q. You wouldn't even agree that adding it
    17   state. It does say that on the document.          17   to the system would make the system more
    18   BY MR. ELSNER:                                    18   effective?
    19       Q. And that's the document you wrote,         19          MS. MILLER: Objection to form.
    20   correct? You wrote this document?                 20       A. I agree that adding OV is a potential
    21          MS. MILLER: Object to form.                21   element that someone could use when reviewing an
    22       A. I don't recall writing this document.      22   order.
    23   I see that I did send the document to Tom         23   BY MR. ELSNER:
    24   Bourque.                                          24       Q. When did CVS, to your knowledge, have
                                               Page 247                                                Page 249
     1   BY MR. ELSNER:                                     1   a fully operational system to -- in place to
     2       Q. And then there's a listing here of          2   monitor orders from other vendors as required by
     3   "Other Positives With Accounting for Outside       3   the DEA's know your customer policy?
     4   Vendor Orders." Do you see that as another         4          MS. MILLER: Object to form.
     5   bold?                                              5      A. So I don't know of having outside
     6       A. I see that.                                 6   vendor orders is a requirement of the DEA and
     7       Q. And listed there at the very end is         7   know your customer. I don't know that to be
     8   that the "SOM algorithm will have be better        8   true. Or I don't know that to be true. And I
     9   equipped to identify a potential suspicious        9   don't know when CVS started utilizing outside
    10   order, minimizing the risk of shipping a          10   vendors.
    11   potential suspicious order."                      11   BY MR. ELSNER:
    12          MS. MILLER: Object to form.                12      Q. What's your best estimate?
    13       A. I see where it says that.                  13      A. I don't know. I don't recall when
    14   BY MR. ELSNER:                                    14   they started using it.
    15       Q. Do you agree with that?                    15      Q. Did CVS have a system in place at this
    16          MS. MILLER: Object to form.                16   point in time to monitor for drugs for
    17       A. I don't agree that including OV orders     17   controlled substances dispensed from its
    18   is the only way that you could potentially        18   pharmacies?
    19   identify suspicious orders and minimizing risk    19          MS. MILLER: Object to form.
    20   of shipping a potential suspicious order. I       20      A. I don't recall how CVS monitored at
    21   don't believe that is the only way to do that,    21   this time controlled substances dispensed from
    22   no.                                               22   their pharmacies. I don't recall the process.
    23   BY MR. ELSNER:                                    23   BY MR. ELSNER:
    24       Q. That's not what I said. I asked you        24      Q. Did you work on a process like that at

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     1   CVS?                                                1   January 16, 2014," and you and Tom are listed on
     2          MS. MILLER: Object to form.                  2   the first page of the PowerPoint, is that right?
     3      A. I was involved in a project that              3        A. I see both of our names there.
     4   focused on controlled substance dispensing.         4        Q. Okay. And you worked on this
     5   BY MR. ELSNER:                                      5   PowerPoint, correct?
     6      Q. When was that?                                6        A. Can I flip through it?
     7      A. I don't recall when I started working         7        Q. Sure. I mean, you reference the fact
     8   on that.                                            8   that you added things to it in the e-mail.
     9      Q. 2013, '14?                                    9          MS. MILLER: Do you have a better copy
    10      A. I honestly don't recall the date.            10   of this? I know this is as produced --
    11      Q. Was there a system in place when you         11          MR. ELSNER: I was going to ask you.
    12   started working on that?                           12   I'd like it in native. Do you have it?
    13          MS. MILLER: Object to form.                 13          MS. MILLER: Keep looking at it. But
    14      A. I don't recall how CVS monitored             14   it's over --
    15   dispensing at our retail pharmacies.               15   BY MR. ELSNER:
    16   BY MR. ELSNER:                                     16        Q. If it's helpful, we can pull up some
    17      Q. I'm going to show you what we've             17   sections. I'm going to go through it with you.
    18   marked as Schiavo 16.                              18          MS. MILLER: Why don't you flip
    19          (Whereupon, CVS-Schiavo-16 was marked       19   through it. It's hard to read, so you can
    20          for identification.)                        20   always look at the screen.
    21   BY MR. ELSNER:                                     21        A. The e-mail indicates I had input into
    22      Q. The bottom e-mail is an e-mail that          22   this document. I don't know exactly what my
    23   you sent to Tom Bourque dated January 15, 2014,    23   input was.
    24   the subject is the "SOM Presentation 1-16-2014,"   24   BY MR. ELSNER:
                                                Page 251                                                Page 253
     1   correct?                                            1       Q. Okay. And the first, or slide 3 is
     2      A. I see that.                                   2   a -- there's a page there and it lists DEA's
     3      Q. Okay. And you write "Tom, As I was            3   expectations.
     4   driving home last night I thought of some           4           Do you see that?
     5   additional things I wanted to add. Attached are     5       A. I see where it says that.
     6   the updates."                                       6       Q. If you turn to Page 6 of the
     7          And then there's a response from Tom         7   PowerPoint under "Keys to an Effective SOM
     8   to you a few hours later on January 15, 2014,       8   Program."
     9   and the attachment is the SOM presentation          9           Do you see that?
    10   1-16-14.                                           10       A. I see that.
    11          Do you see that?                            11       Q. And the first thing listed there is to
    12      A. I see that.                                  12   "Know Your Customer. The DEA expects
    13      Q. Then he says "Craig, This is good. I         13   registrants to 'Know Your Customer' and even to
    14   added our department organization chart to the     14   Know Your Customers Customer...No order should
    15   front. I will speak to it, as well as roles and    15   be released unless the team is comfortable that
    16   responsibilities of our team, and how each         16   it is for legitimate purposes." Correct?
    17   department works together...then I'll turn it      17           MS. MILLER: Object to form.
    18   over to you to finish, and after the deck, go      18       A. I see where it says that.
    19   through Archer SOM system highlights.              19   BY MR. ELSNER:
    20          "Let's make sure we have a projector        20       Q. And then it goes on, there's a whole
    21   and copies for all the attendees." Correct?        21   section on documentation, is that right?
    22      A. I see where it says that.                    22   There's a number of bullets there.
    23      Q. Okay. And then attached is PowerPoint        23           Was it CVS's policy that any kind of
    24   presentation for "Suspicious Order Monitoring      24   correspondence and due diligence would be

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     1   documented in their systems?                        1       A. I don't know how important audit is to
     2           MS. MILLER: Object to form.                 2   have an effective program. I don't think that
     3      A. I know that in our current system             3   makes a program effective.
     4   documentation is something that we do and we        4   BY MR. ELSNER:
     5   keep. I don't know if there's any specifics         5       Q. In order to determine whether a
     6   around what documents need to be kept.              6   program is acting effectively, one way to do
     7   BY MR. ELSNER:                                      7   that would be audit the program, right?
     8      Q. If you look at Page 9 of the                  8          MS. MILLER: Object to form.
     9   presentation and to "Key Takeaways," it reads       9       A. I assume that is one way to do it. I
    10   "Documentation, Documentation, Documentation"      10   don't think that's the only way to do it.
    11   with three or four exclamation marks all in caps   11   BY MR. ELSNER:
    12   and all bolded, correct?                           12       Q. Did you ever review any audit records
    13           MS. MILLER: Object to form.                13   of CVS's suspicious order monitoring system in
    14      A. I see where it says that, and it looks       14   2012 or 2013 to determine its effectiveness?
    15   like it's bolded.                                  15          MS. MILLER: Object to form.
    16   BY MR. ELSNER:                                     16       A. I don't recall there being any audit
    17      Q. Okay. And then beneath that it says          17   documentation that I reviewed.
    18   "Documenting all activities that lead to the       18   BY MR. ELSNER:
    19   disposition of an order is key to a defensible     19       Q. Do you know whether any was done?
    20   SOM Program." Did I read that correctly?           20          MS. MILLER: Object to form and
    21      A. You read that correctly.                     21   attorney/client privilege grounds.
    22      Q. "If it is not documented, it was not         22          You may answer to the extent it
    23   done." Is that what you wrote?                     23   doesn't reveal any attorney/client
    24           MS. MILLER: Object to form.                24   communications.
                                                Page 255                                                        Page 257
     1       A. I don't know if I wrote that.                1       A. In 2012, 2013, I don't recall.
     2   BY MR. ELSNER:                                      2   BY MR. ELSNER:
     3       Q. Is that in the presentation?                 3       Q. Is it done today?
     4       A. That is what it says there, although I       4          MS. MILLER: Same objection, and
     5   don't know how accurate that is, that if it was     5   object to form.
     6   not documented it was not done.                     6       A. I'm not familiar with the audit
     7       Q. But you would agree, though, it is           7   process and everything that is audited.
     8   important to document the due diligence work        8   BY MR. ELSNER:
     9   that was being undertaken as part of your           9       Q. Okay. It says on Page 8 of the
    10   suspicious order monitoring program, correct?      10   PowerPoint under "DEA Reporting Requirements" at
    11          MS. MILLER: Object to form.                 11   the very top, it says "CVS is obligated to
    12       A. There is a documentation piece to our       12   report orders determined to be Suspicious that
    13   process.                                           13   were placed to our Distribution Centers," and
    14   BY MR. ELSNER:                                     14   "placed to our distribution centers" is
    15       Q. And why is it there?                        15   underlined and in bold, correct?
    16          MS. MILLER: Object to form.                 16       A. I see that it is underlined, and it
    17       A. Because the company made a decision         17   appears that at least part of it is in bold.
    18   that we were going to document parts of our due    18       Q. Okay. And then if you look down to
    19   diligence process.                                 19   the third bolded item, it reads that "Orders
    20   BY MR. ELSNER:                                     20   that are placed to an Outside Vendor that we
    21       Q. Well, would you agree with me that          21   identify as an order deviating from the normal
    22   audit is an important component of any kind of     22   size, frequency, and/or buying pattern and
    23   program or system that you have in place?          23   deemed to not be for legitimate purposes or are
    24          MS. MILLER: Object to form.                 24   at the risk of being diverted are not required

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     1   to be reported to the DEA."                         1   BY MR. ELSNER:
     2          Did I read that correctly?                   2       Q. Okay. And so when did that begin?
     3          MS. MILLER: Object to form.                  3          MS. MILLER: Object to form.
     4      A. That's what it says, but I don't know         4   BY MR. ELSNER:
     5   how we would identify an order placed to an         5       Q. I mean, that's part of the new system
     6   outside vendor deviating from normal size,          6   that was created and put into place in 2014, is
     7   frequency, but I don't believe that part of our     7   that right?
     8   process monitoring specific orders to the OV        8          MS. MILLER: Object to form.
     9   when they are placed.                               9       A. That is part of our new system, but
    10   BY MR. ELSNER:                                     10   that's not to say it was not part of our old
    11      Q. So I guess my first question is, does        11   system or our old due diligence process.
    12   CVS have a system in place to monitor the orders   12   BY MR. ELSNER:
    13   that are being placed by its pharmacies, whether   13       Q. You don't know one way or the other
    14   from the distribution center or to outside         14   whether it was?
    15   vendors for controlled substances?                 15          MS. MILLER: Object to form.
    16          MS. MILLER: Object to form.                 16       A. I don't recall when CVS started
    17      A. I know that CVS monitors orders of           17   utilizing outside vendor orders.
    18   controlled substances.                             18   BY MR. ELSNER:
    19   BY MR. ELSNER:                                     19       Q. Regardless, though, it was CVS's
    20      Q. From its pharmacies?                         20   policy that when reviewing orders to outside
    21      A. From its retail pharmacies.                  21   vendors, if CVS identified an order that
    22      Q. Okay. And it monitors them for               22   deviated from the normal size, frequency or
    23   suspicious size, frequency, is that right?         23   buying pattern from the outside vendor, it was
    24          MS. MILLER: Object to form.                 24   CVS's policy not to report that to the DEA, is
                                                Page 259                                                Page 261
     1      A. So current process today, CVS has a           1   that right?
     2   suspicious order monitoring system that was         2           MS. MILLER: Object to form.
     3   designed to monitor orders placed to our            3       A. I honestly don't know of that to be in
     4   distribution centers from our pharmacies, and       4   any policy that we have.
     5   part of that monitoring is for orders of unusual    5   BY MR. ELSNER:
     6   size, frequency, and buying pattern.                6       Q. I'm sure it's not.
     7   BY MR. ELSNER:                                      7           It was CVS's practice, wasn't it, that
     8      Q. But that's a system for the                   8   if it discovered an order to an outside vendor
     9   distribution center to monitor the pharmacies'      9   for a controlled substance and you discovered
    10   orders from the distribution center, correct?      10   that that order was not of its normal size,
    11   These are not -- it's not a process that's         11   frequency, or buying pattern, and it's deemed
    12   monitoring the pharmacies' orders from Cardinal    12   not to be for a legitimate purpose and that
    13   or McKesson or other outside vendors, correct?     13   there's a risk of that drug being diverted, then
    14          MS. MILLER: Object to form.                 14   CVS would not report that to the DEA, right?
    15      A. Well, we monitor orders of controlled        15           MS. MILLER: Object to form.
    16   substances placed by our pharmacies.               16       A. I'm not aware of any regulation that
    17   BY MR. ELSNER:                                     17   would require us to report that to the DEA.
    18      Q. From outside vendors?                        18   BY MR. ELSNER:
    19          MS. MILLER: Object to form.                 19       Q. And it was CVS's policy not to do it,
    20      A. We order -- we monitor orders from our       20   right?
    21   pharmacies to outside vendors and to our           21           MS. MILLER: Object to form.
    22   distribution centers. As part of our               22       A. I don't know if we had a policy, and I
    23   distribution center process, outside vendor        23   don't recall a policy that says it is CVS's
    24   information is taken into consideration.           24   policy not to do it. I don't recall there being
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     1   a policy for that.                                  1   reporting.
     2   BY MR. ELSNER:                                      2   BY MR. ELSNER:
     3      Q. It was CVS's practice not to report           3       Q. That's not my question.
     4   those orders to the DEA, correct?                   4          My question is, did CVS report orders
     5          MS. MILLER: Object to form.                  5   to the DEA -- was it CVS's practice to report
     6   BY MR. ELSNER:                                      6   orders to the DEA if CVS determines that those
     7      Q. And all that --                               7   orders were not legitimate?
     8          MS. MILLER: Mischaracterizing the            8          MS. MILLER: Object.
     9   testimony, assuming he said that they determined    9   BY MR. ELSNER:
    10   suspicious --                                      10       Q. Would it report it to the DEA?
    11          MR. ELSNER: You can object to form.         11          MS. MILLER: Object to form. Asked
    12          MS. MILLER: -- that they determined         12   and answered.
    13   that orders from outside vendors at some point     13       A. Anything that would be above and
    14   were determined to be --                           14   beyond what we were required to do would not be
    15          MR. ELSNER: Your objection is noted.        15   something that I would decide. That probably
    16   BY MR. ELSNER:                                     16   would be our legal counsel to make those calls.
    17      Q. It was CVS's practice not to report          17   BY MR. ELSNER:
    18   those orders to the DEA, correct?                  18       Q. This is what you wrote -- this is
    19          MS. MILLER: Object to form.                 19   what's written in the PowerPoint presentation.
    20      A. So to clarify, we -- determining             20          MS. MILLER: I just want to instruct
    21   whether an outside vendor order is suspicious is   21   the witness not to testify in any way that would
    22   not a practice or, as I'm aware, requirement for   22   reveal any attorney/client communications.
    23   CVS. I'm confident that CVS does meet all of       23          MR. ELSNER: You --
    24   their reporting requirements when it comes to      24          MS. MILLER: And, Mike, I think
                                                Page 263                                                Page 265
     1   suspicious order monitoring.                        1   we've -- at this point, this is now, I think,
     2   BY MR. ELSNER:                                      2   the tenth time you've asked him this question.
     3      Q. Does CVS report orders placed through         3          MR. ELSNER: I'm asking a different
     4   an outside vendor for a controlled substance        4   question.
     5   that CVS discovers is not for a legitimate          5   BY MR. ELSNER:
     6   purpose, and does CVS report those orders to the    6       Q. Written in this PowerPoint
     7   DEA?                                                7   presentation here, I just want to make sure I've
     8          MS. MILLER: Objection to form.               8   got it correctly, is that orders that are placed
     9      A. You're referring to outside orders            9   to an outside vendor that we identify as an
    10   that are deemed suspicious, and that is not a      10   order deviating from the normal size, frequency,
    11   practice that I'm familiar with. But I am          11   and/or buying pattern and deemed to not be for
    12   confident that we meet all of our reporting        12   legitimate purposes or are at risk of being
    13   requirements. I have no reason to believe that     13   diverted are not required to be reported to the
    14   we do not.                                         14   DEA at CVS. Is that what's written here?
    15   BY MR. ELSNER:                                     15          MS. MILLER: Object to form.
    16      Q. Does CVS report to the DEA orders from       16       A. I see that is what's written there. I
    17   outside vendors that CVS deems are not orders      17   don't know if I'm the one who wrote that there,
    18   for a legitimate purpose?                          18   and I'm not aware of the requirement that
    19          MS. MILLER: Object to form.                 19   requires CVS to report outside vendor orders.
    20          He hasn't testified any deeming of          20   BY MR. ELSNER:
    21   outside vendor orders occurred, and asked and      21       Q. Okay. And then it says what we should
    22   answered.                                          22   do is that "Pharmacy Operations must be alerted
    23      A. I can say confidently that CVS is            23   that there is an order of interest that was
    24   complying with all of our responsibilities of      24   placed by the store so that remediation plans

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     1   can be developed and implemented." Is that          1       Q. Better to clean it up inside before
     2   what's written there?                               2   the DEA finds out, right?
     3           MS. MILLER: Object to form.                 3          MS. MILLER: Object to form.
     4      A. I see that that is written there.             4   BY MR. ELSNER:
     5   BY MR. ELSNER:                                      5       Q. Right?
     6      Q. And then it says "Until all the               6          MS. MILLER: Object to form.
     7   remediations are implemented, the store will not    7          That's not at all what his testimony
     8   be allowed to order from our distribution           8   is.
     9   center." Is that what's written there?              9          MR. ELSNER: Your objection is noted.
    10           MS. MILLER: Object to form.                10          MS. MILLER: The implication of that
    11      A. I see that is written there. And as          11   in that question is outrageous.
    12   you go through these bullets, this is not a        12   BY MR. ELSNER:
    13   process that I'm familiar with currently at CVS.   13       Q. Right?
    14   BY MR. ELSNER:                                     14          MS. MILLER: Object to form.
    15      Q. So CVS would alert pharmacy operations       15       A. I don't see anything here that speaks
    16   of an order that's not for a legitimate purpose,   16   to us trying to hide anything from the DEA. And
    17   but would not report that order to the DEA if it   17   as I said, we meet our reporting -- I'm
    18   was through an outside vendor, right?              18   confident we meet our reporting requirements.
    19           MS. MILLER: Object to form.                19   And if we identify something within CVS, I am
    20           He hasn't testified that. He's             20   also aware that we have policies, procedures,
    21   testified already that he doesn't even know that   21   processes to address that. But no, we would not
    22   this ever was in place.                            22   hide anything from the DEA.
    23   BY MR. ELSNER:                                     23   BY MR. ELSNER:
    24      Q. Am I right?                                  24       Q. Well, you said it's better not to
                                                Page 267                                                Page 269
     1          MS. MILLER: Object to form.                  1   report it to the DEA, and this says what you're
     2       A. This is not a policy I'm familiar with       2   going to do is you're going to inform pharmacy
     3   so I can't speak to what would or would not have    3   ops so that they can create a remediation plan,
     4   been done or is done.                               4   and internally at CVS we're not going to
     5   BY MR. ELSNER:                                      5   distribute any more controlled substances to
     6       Q. Would you agree with me it would be          6   that pharmacy until it's fixed, but it's not the
     7   better to report it to the DEA so the DEA could     7   policy to inform the DEA, better to fix it
     8   take action?                                        8   in-house before the DEA finds out, right?
     9          MS. MILLER: Object to form.                  9          MS. MILLER: Object to form. Asked
    10       A. I'm confident we are complying with         10   and answered.
    11   our reporting requirements, and I know that at     11          I don't think we should be continuing
    12   CVS we have policies in place that deal with       12   to go down this road. He has not even testified
    13   situations if we think there's something such as   13   that these -- that orders of outside vendors
    14   what you're reading on this slide.                 14   were ever deemed to be suspicious. It's a
    15   BY MR. ELSNER:                                     15   faulty premise and we've been spending too much
    16       Q. My question was, would you agree with       16   time on it. I think we should move on.
    17   me it would be better to report it to the DEA?     17   BY MR. ELSNER:
    18          MS. MILLER: Object to form.                 18       Q. Right? Yes or no?
    19       A. No.                                         19          MS. MILLER: Object to form. Object
    20   BY MR. ELSNER:                                     20   to form.
    21       Q. You don't think it would be better?         21   BY MR. ELSNER:
    22          MS. MILLER: Object to form.                 22       Q. I'm entitled to an answer. Yes or no?
    23       A. No.                                         23       A. So there was a lot in that statement
    24   BY MR. ELSNER:                                     24   or question, but CVS complies with our reporting

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     1   requirements, and certainly nothing that I               1          MR. ELSNER: You understand that he's
     2   worked on or anyone that I know who works at CVS         2   under oath? This is like trial. Any
     3   has any intention of hiding anything from the            3   conversations you have with him during a break
     4   DEA.                                                     4   are admissible.
     5      Q. But it was CVS's policy or practice                5          MS. MILLER: That's not -- that's
     6   not to report it to the DEA, right?                      6   absolutely not true.
     7          MS. MILLER: Object to form.                       7          MR. ELSNER: That is absolutely not
     8      A. Again, I don't believe we have a                   8   true.
     9   policy on this. And what we've been going over           9          MS. MILLER: That is not true. We are
    10   I don't believe to be something that is relevant        10   able to confer -- I'm able to confer with the
    11   or applicable to our current policies,                  11   witness.
    12   practices.                                              12          MR. ELSNER: In the middle of his
    13          MR. ELSNER: Why don't we take a quick            13   testimony concerning the content of his
    14   break. I'll organize my documents.                      14   testimony?
    15          THE VIDEOGRAPHER: We're going off the            15          MS. MILLER: Yes.
    16   record at 2:00 o'clock p.m.                             16          MR. ELSNER: Is that what was done?
    17          (Whereupon, a recess was taken.)                 17          MS. MILLER: Wait, wait.
    18          THE VIDEOGRAPHER: We're back on the              18          MR. MONTMINY: Not in our court you're
    19   record at 2:29 p.m.                                     19   not.
    20   BY MR. ELSNER:                                          20          MS. MILLER: No, wait, wait. Let
    21      Q. Mr. Schiavo, we took about a 25-minute            21   me --
    22   break from the deposition. Did you discuss the          22          MR. MONTMINY: There are protocols in
    23   content of the deposition with your counsel             23   this case.
    24   during the break?                                       24          MS. MILLER: The protocol --
                                                    Page 271                                                 Page 273
     1          MS. MILLER: Object to form. Instruct              1          MR. ELSNER: I'd like to preserve the
     2   him not to answer. He has attorney/client                2   record and have an answer of this, yes or no,
     3   privilege --                                             3   and a description of what was discussed.
     4          MR. ELSNER: He is under oath and                  4          MS. MILLER: No, I object.
     5   testifying like he's at trial.                           5          MR. ELSNER: He can't even remember
     6   BY MR. ELSNER:                                           6   tomorrow what color tie he wore today, so
     7      Q. Did you have a conversation with your              7   there's no way that if this goes on that I'm not
     8   counsel, yes or no, about the content of the             8   going to get an answer to this question.
     9   deposition?                                              9          MS. MILLER: Well, I object on
    10          MS. MILLER: Objection. Instruct him              10   attorney/client privilege grounds, and he's not
    11   not to answer.                                          11   answering these questions.
    12   BY MR. ELSNER:                                          12          MR. ELSNER: I think that's totally
    13      Q. Will you answer yes or no? It can't               13   inappropriate.
    14   reveal a privilege if you -- whether you had a          14   BY MR. ELSNER:
    15   conversation or not.                                    15       Q. Sir, if I can have you turn back to
    16          MS. MILLER: You're asking him whether            16   the PowerPoint you were looking at that you
    17   he and I -- what we talked about.                       17   presented with Tom Bourque. Who was this
    18          MR. ELSNER: I asked him, did you                 18   presentation made to?
    19   discuss with counsel, yes or no, the content of         19       A. I don't recall everyone we covered
    20   your deposition.                                        20   this with.
    21          MS. MILLER: I'm going to object and              21          But I did want to clarify on what we
    22   instruct him not to answer.                             22   had discussed before we left, that this
    23          MR. ELSNER: Even to yes or no?                   23   paragraph talking about outside vendor orders, I
    24          MS. MILLER: Yes.                                 24   was trying to distinguish between outside vendor

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     1   order information that is taken into account in     1       A. So I know it indicates I'd given
     2   reviewing a distribution center order, not          2   feedback or input on this presentation. I don't
     3   suggesting that outside vendor orders are run       3   remember that I put it together, and I don't
     4   through our SOM system, which they are not          4   recall everyone that we presented this to.
     5   today. They haven't been, to the best of my         5   BY MR. ELSNER:
     6   recollection. So anything about reporting           6       Q. Well, the cover of the e-mail to the
     7   outside vendor suspicious orders would be a         7   presentation says "Craig, This is good," this is
     8   hypothetical situation and not something that I     8   the -- talking about the SOM presentation that
     9   recall ever happening. So that would have been      9   you sent him your revisions to, right? Tom,
    10   a hypothetical, anything that I answered under     10   your boss, writes "Craig, This is good. I added
    11   those circumstances.                               11   our department organizational chart to the
    12      Q. Is this a conversation you had with          12   front. I will speak to it, as well as the roles
    13   counsel during the break?                          13   and responsibilities of our team, and how each
    14          MS. MILLER: Objection. Instruct you         14   department works together...then I'll turn it
    15   not to answer. Objection on attorney/client        15   over to you" -- you, Craig Schiavo -- "to you to
    16   privilege grounds.                                 16   finish, and after the deck, then I'll go through
    17   BY MR. ELSNER:                                     17   the Archer SOM system highlights."
    18      Q. Are you going to follow your counsel's       18          So, in fact, it was the intention that
    19   advice?                                            19   you were going to participate in this
    20          MS. MILLER: Objection. He's been            20   presentation and give the presentation with Tom
    21   instructed by his counsel not to answer. He's      21   Bourque, correct?
    22   not going to answer the question.                  22          MS. MILLER: Object to form.
    23   BY MR. ELSNER:                                     23       A. Reading this e-mail, it looks like I
    24      Q. So if I understand it correctly, CVS         24   was going to take part.
                                                Page 275                                                Page 277
     1   does not have a system in place to monitor          1   BY MR. ELSNER:
     2   purchases of controlled substance by its            2       Q. Okay. And in the first page of the
     3   pharmacies through a suspicious order monitoring    3   PowerPoint presentation, both you and Tom are
     4   system, is that your testimony?                     4   listed under the title, correct?
     5          MS. MILLER: Objection to form.               5       A. Both of our names are there.
     6       A. CVS does not run outside vendor orders       6       Q. Okay. If you go to Page 4 of the
     7   through our suspicious order monitoring system.     7   PowerPoint presentation, it says "Penalties
     8   BY MR. ELSNER:                                      8   Levied by the DEA."
     9       Q. Okay. And that would include for             9          Do you see that?
    10   controlled substances and Schedule II drugs like   10       A. I do see that.
    11   OxyContin, correct?                                11       Q. Did you collect information about the
    12          MS. MILLER: Objection to form.              12   DEA's investigations and penalties leveled by
    13       A. Currently today, and I don't recall a       13   the DEA against other distributors and
    14   time where we ever ran any outside vendor orders   14   pharmacies?
    15   through our suspicious order monitoring system.    15       A. At a high level it looks like there
    16   BY MR. ELSNER:                                     16   are situations documented here.
    17       Q. In Page 4 of the PowerPoint                 17       Q. Okay. And you included in the
    18   presentation -- well, strike that. Before we --    18   presentation a penalty levied by the DEA on
    19   I think I had a question, and I don't know that    19   Cardinal Health in February of 2012, is that
    20   I got an answer to it. I think you diverted to     20   right? Go to the first bullet under Cardinal
    21   something else.                                    21   Health.
    22          But who did you prepare this                22       A. I see that.
    23   presentation for, and who was it given to?         23       Q. Okay. And it reads, and if it's
    24          MS. MILLER: Object to form.                 24   easier for you to read on the screen next to you

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     1   where it's blown up, "DEA Registration is           1       A. This is my first time seeing this
     2   suspended for two years in Florida distribution     2   document, and these numbers are not something I
     3   center because of sales of oxycodone to             3   am or was aware of.
     4   pharmacies in Florida," and then in parenthesis     4   BY MR. ELSNER:
     5   it says "2 CVS's."                                  5       Q. In the second to last paragraph, it
     6          Do you see that?                             6   reads "According to the 2010 US Census Bureau
     7       A. I do see that.                               7   Facts Sheet, Sanford, Florida has a population
     8       Q. Okay. You were aware, were you not,          8   of 53,570 people." Did I read that correctly?
     9   that the DEA investigated Cardinal Health and       9       A. That's what it says.
    10   suspended their license with respect to their      10       Q. Okay. And then it says "Based on
    11   distribution of controlled substances to two CVS   11   these numbers, Respondent's distribution of
    12   stores in Florida?                                 12   oxycodone could supply every resident of
    13          MR. DAWSON: Object to the form.             13   Sanford, Florida with approximately 58.6 dosage
    14       A. I see what it says here. I don't            14   units of oxycodone."
    15   recall exactly the circumstances or all the        15          Did I read that correctly?
    16   circumstances that led to Cardinal Health having   16       A. That is what this says.
    17   their registration suspended, or am I even         17       Q. Would you agree with me that the size
    18   positive that it was actually suspended.           18   of the community in which a pharmacy is based
    19   BY MR. ELSNER:                                     19   should be one of the factors that one should
    20       Q. Okay. Exhibit 17.                           20   look at in terms of due diligence for suspicious
    21          (Whereupon, CVS-Schiavo-17 was marked       21   order monitoring or due diligence of reviews of
    22          for identification.)                        22   sales for controlled substances to determine
    23   BY MR. ELSNER:                                     23   whether the amount of opioids or controlled
    24       Q. This is the Government's Prehearing         24   substances being shipped to that pharmacy is
                                                Page 279                                                Page 281
     1   Statement in the matter of Cardinal Health dated    1   proportional with the community in which it
     2   February 22, 2012. And I'm going to ask you to      2   lives?
     3   turn to Page 17 of the document. Let me ask you     3          MS. MILLER: Object to form.
     4   to look at the second to last paragraph on the      4      A. I wouldn't necessarily say that is
     5   page. It says "CVS 219 and 5195, two of             5   something that you have to include.
     6   Respondent's" -- and I'll let you know that         6   BY MR. ELSNER:
     7   means Cardinal's -- "top four retail pharmacy       7      Q. I didn't say you had to. I said,
     8   customers, are located in Sanford, Florida."        8   would you agree with me that that's a factor?
     9          And then it reads -- if you look in          9          MS. MILLER: Object to form.
    10   the last paragraph on the page, it starts "In      10      A. I don't believe that is a factor that
    11   2011, Respondent" -- that's Cardinal --            11   you have to include.
    12   "collectively distributed over 3 million dosage    12   BY MR. ELSNER:
    13   units of oxycodone to six Sanford, Florida         13      Q. Do you believe it's a factor that you
    14   pharmacies. Of this volume, Respondent shipped     14   should include?
    15   over 3 million dosage units (96 percent) to the    15          MS. MILLER: Object to form.
    16   two CVS stores named in the ISO. This volume       16      A. I don't think it's something that is
    17   dwarfs the oxycodone volume purchased by other     17   necessary to be included.
    18   chain pharmacies in Sanford." And then it goes     18   BY MR. ELSNER:
    19   on to explain the dosage.                          19      Q. Do you think it's important to
    20          Were you aware that two CVS Pharmacy        20   include?
    21   stores had received over 3 million dosage units    21          MS. MILLER: Object to form.
    22   of oxycodone in 2011?                              22   BY MR. ELSNER:
    23          MR. DAWSON: Objection.                      23      Q. How important or unimportant is it?
    24          MS. MILLER: Object to form.                 24          MS. MILLER: Object to form.
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     1   BY MR. ELSNER:                                      1          MR. DAWSON: Objection.
     2       Q. Scale of 1 to 10, 1 being totally not        2       A. This is before I was even in the --
     3   important at all, 10 essential.                     3   with the company. I --
     4           MS. MILLER: Object to form.                 4   BY MR. ELSNER:
     5       A. I don't know if I can put a number on        5       Q. I said after this. At any point after
     6   how important that is to include. There's lots      6   this, after the DEA suspended Cardinal's
     7   of factors that are included in reviewing or        7   license, did CVS create a system like that,
     8   conducting due diligence.                           8   after February, 2012?
     9   BY MR. ELSNER:                                      9          MR. DAWSON: Objection.
    10       Q. I'm sure there are, but do your best.       10          MS. MILLER: Object to form.
    11           MS. MILLER: Object to form.                11       A. I don't recall if that is part. I
    12       A. We're not talking about any specific        12   don't recall if that's an element of the system.
    13   order situation that -- I don't know. I don't      13   BY MR. ELSNER:
    14   know if it would be important or not. I can't      14       Q. Okay. Don't recall if it's an element
    15   say.                                               15   of the system, and you can't give it a score
    16   BY MR. ELSNER:                                     16   from 1 to 10 in terms of importance, is that
    17       Q. Okay. You can't say whether the size        17   right?
    18   of the community in which the pharmacy sits        18          MS. MILLER: Object to form.
    19   would be an important factor in looking at the     19       A. I wouldn't be able to assign it a
    20   volume of oxycodone products or other opioids      20   score if it's important or not important.
    21   shipped into the pharmacy in that community?       21   BY MR. ELSNER:
    22   You wouldn't think -- you can't say whether        22       Q. Okay. The next thing that the
    23   that's important or not?                           23   government discusses in the brief on Page 18, if
    24           MS. MILLER: Object to form.                24   you flip the page, about in the middle of the
                                                Page 283                                                Page 285
     1      A. I can't say that there aren't other           1   page there's a line there that begins "Publix
     2   elements that would be just as important or not     2   Pharmacy 641." Do you see that? Do you see
     3   important or couldn't get you to the same           3   that paragraph?
     4   information that you needed.                        4      A. I see the paragraph starting with
     5   BY MR. ELSNER:                                      5   Publix Pharmacy.
     6      Q. Did CVS track that information?               6      Q. Okay. And then the next sentence
     7          MS. MILLER: Object to form.                  7   reads "In 2011, CVS 5195 purchased 1.2 million
     8      A. This is before I even started at CVS.         8   dosage units of oxycodone, while Publix Pharmacy
     9   I have no idea.                                     9   0641 purchased only 25,700 units of oxycodone.
    10   BY MR. ELSNER:                                     10   The two stores are located within two miles of
    11      Q. In 2012 when you joined CVS, was it          11   one another."
    12   looking at this information?                       12          Do you think it's important to have a
    13          MS. MILLER: Object to form.                 13   system that tracks sales of controlled
    14      A. I'm not sure at that time all of the         14   substances like opioids in comparison with other
    15   elements that were looked at as part of the SOM.   15   pharmacies in the same geographic area?
    16   BY MR. ELSNER:                                     16          MS. MILLER: Object to form.
    17      Q. After Cardinal's license was suspended       17      A. I don't think that information is
    18   by the DEA and this investigation was going on,    18   necessary to have an effective system.
    19   after that did CVS have a policy to look at the    19   BY MR. ELSNER:
    20   size of the community in which its pharmacies      20      Q. In terms of scale 1 to 10, 1 being
    21   were sitting to determine whether the orders to    21   totally useless, 10 being essential, where would
    22   that pharmacy were proportional to the community   22   you place the relationship between a pharmacy's
    23   in which that pharmacy was situated?               23   sales of controlled substances compared to other
    24          MS. MILLER: Object to form.                 24   pharmacies in the same geographic area?

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     1          MS. MILLER: Object to form.                  1      A. I personally never reviewed suspicious
     2      A. Based on the limited information I            2   orders or orders of interest or any orders.
     3   have to answer that question, I couldn't even       3   BY MR. ELSNER:
     4   think about how to assign that a score.             4      Q. Well, you managed people who did that,
     5   BY MR. ELSNER:                                      5   right? In 2014 you managed the people who did
     6      Q. So you can't assign a score for the           6   that process, right?
     7   importance of geographic area. Can you tell us      7      A. I never had anyone on the suspicious
     8   whether CVS had a policy in place to look at the    8   order monitoring team in 2014 that reported to
     9   geographic area in which a store sat and compare    9   me.
    10   the sales of controlled substances to other like   10           MR. ELSNER: We'll mark this as the
    11   pharmacies in the same geographic area?            11   next exhibit.
    12          MS. MILLER: Object to form.                 12           (Whereupon, CVS-Schiavo-18 was marked
    13      A. During this time frame I did not work        13           for identification.)
    14   for CVS, and I can't answer that, I don't know.    14   BY MR. ELSNER:
    15   BY MR. ELSNER:                                     15      Q. This is Schiavo Exhibit 18. If you --
    16      Q. I'm talking about at any time, today,        16   this is another one of your year-end reviews.
    17   yesterday, all the way back to 2012.               17   This one is dated the first of -- I'm sorry,
    18      A. I'm not familiar with the process of         18   January 22, 2015. This is your year-end review
    19   how CVS monitors, sells, and incorporates other    19   for 2014.
    20   factors of where those sales are taking place.     20           I'm going to ask you to take a look at
    21   I'm not familiar with those.                       21   Page 2. Top of the page it reads "I continue to
    22      Q. What about the distribution of               22   be an active contributor to the SOM team. My
    23   controlled substances, would it be important as    23   main responsibilities as it relates to this team
    24   part of a due diligence system to look at where    24   are as follows."
                                                Page 287                                                Page 289
     1   a particular store is sitting and compare the       1           Number 1, "I acted as the team's
     2   distribution of opioids to that store in            2   manager for part of 2014 until Susan was brought
     3   comparison with other stores in the same            3   on to manage the team."
     4   geographic area? Yes or no.                         4           Does that refresh your recollection
     5          MS. MILLER: Object to form.                  5   that you were the team manager for the SOM
     6       A. Again, there's no information to go on       6   program in 2014?
     7   that I can assign a score to something or rate      7      A. I think that's really poorly worded.
     8   its importance of one data element.                 8   At no point did the SOM team ever report to me
     9   BY MR. ELSNER:                                      9   that I recall.
    10       Q. Okay. Did CVS have a system ever to         10      Q. That's what you wrote, though, in your
    11   look at the -- where a store sits in a community   11   annual review?
    12   and compare the purchases of that store for        12           MS. MILLER: Object to form.
    13   controlled substances to other like stores in      13      A. I don't specifically remember writing
    14   the same geographic area?                          14   that, but this seems to be my year-end review in
    15          MS. MILLER: Object to form.                 15   2014.
    16       A. I'm not saying that they don't, but I       16   BY MR. ELSNER:
    17   don't know what that process would be. I don't     17      Q. Okay. So we're on Exhibit 18?
    18   know.                                              18      A. 18.
    19   BY MR. ELSNER:                                     19           MS. MILLER: Is this 18? Okay.
    20       Q. Was that ever part of the due               20   BY MR. ELSNER:
    21   diligence follow-up process that you were aware    21      Q. We're on Exhibit 18, and I've shown
    22   of in terms of reviewing potentially suspicious    22   you documents from 2012 through 2014, many of
    23   orders for hydrocodone?                            23   which you wrote. Is it true that you don't have
    24          MS. MILLER: Object to form.                 24   any memory of any of the documents I've shown

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     1   you today?                                          1       A. I don't know what Susan's position was
     2          MS. MILLER: Object to form.                  2   when she was originally hired at CVS.
     3      A. I don't recall specifically writing           3       Q. Do you remember that she was
     4   these words that are on the page. I see them        4   responsible for managing the SOM program?
     5   written there. I don't have any reason to           5       A. I remember at some point Susan was
     6   believe that I didn't, if that's what it's          6   hired as the manager of the SOM program.
     7   indicating, but I do not recall writing these       7       Q. And you worked to get her up to speed
     8   documents.                                          8   on the program, right?
     9   BY MR. ELSNER:                                      9          MS. MILLER: Object to form.
    10      Q. Okay. I just want to make sure that I        10   BY MR. ELSNER:
    11   haven't missed one.                                11       Q. Is that what you wrote?
    12          Out of all the documents I've shown         12       A. That's what it says. I did work with
    13   you that you've authored, you haven't remembered   13   Susan once she was hired.
    14   writing any of them, right?                        14       Q. Okay. And then it says that you
    15          MS. MILLER: Object to form.                 15   "Assisted with the rollout of the SOM system to
    16      A. I don't recall a document that we've         16   all CVS Distribution Centers." Did I read that
    17   reviewed today that I recall actually sitting      17   right?
    18   there and drafting the document.                   18       A. Looks like --
    19   BY MR. ELSNER:                                     19       Q. Second bullet.
    20      Q. I just asked if you remembered it. I         20       A. Looks like you read that correctly.
    21   didn't ask if you remember the day you sat there   21       Q. Okay. Is that true? Did you do that?
    22   and where you were and how you wrote it. I just    22       A. At some level I assisted with the
    23   asked if you remember the document. Do you         23   process, I participated in the process.
    24   remember any of them?                              24       Q. Okay. And that you were "part of the
                                                Page 291                                                      Page 293
     1           MS. MILLER: Object to form.                 1   interviewing process for all new hires," I
     2      A. I don't recall seeing a document today        2   assume you were meaning related to the SOM
     3   that I recall drafting or remembering everything    3   system. Did you do that?
     4   that was in those documents.                        4      A. I participated in the interview
     5   BY MR. ELSNER:                                      5   process of, what I can remember, the SOM team
     6      Q. Okay. If you go down on the bullets           6   members that were hired.
     7   on the same Page 2 of 7, it then says "Once         7      Q. Okay. And next bullet, you provided
     8   Susan was hired, I worked to get her up to speed    8   "continuous training to the team as needed and
     9   on the program and expectations/requirements."      9   provided ongoing support to both the Management
    10   Did I read that correctly? If it's easier to       10   team as well as the SOM analysts." Did I read
    11   read, you can see it on the screen blown up.       11   that correctly?
    12      A. Where was that last piece?                   12      A. It looks like that's what it says.
    13      Q. When Susan was hired --                      13      Q. And then it says you participated in
    14           MR. ELSNER: Gina, back up at the top.      14   weekly meetings where we reviewed the SOM cases
    15      Q. "Once Susan was hired," second               15   and we talked through the due diligence
    16   sentence, first bullet.                            16   process." Did you write that?
    17      A. Okay.                                        17      A. That's what it says, but I don't
    18      Q. Did I read that right?                       18   remember how long I did that for.
    19      A. It appears that you did.                     19      Q. Then it says "The SOM team has me
    20      Q. Who is Susan?                                20   review all identified 'Suspicious Orders' before
    21      A. That would be Susan Delmonico, I             21   the block is removed and controlled substances
    22   believe.                                           22   are shipped to the store."
    23      Q. What was her position at CVS when she        23          Did I read that correctly?
    24   was hired?                                         24      A. That's what it says.

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     1       Q. Okay. So if we go back to my                 1      A. Could be a red flag for many things.
     2   question, I was asking you whether one of the       2      Q. Under the suspicious order monitoring
     3   factors that the SOM analysts would look at when    3   system and the due diligence review conducted by
     4   doing a due diligence review was the shipments      4   the SOM analysts, was it one of the elements
     5   of controlled substances to a pharmacy and how      5   they were looking at, whether there were
     6   those shipments compared with other pharmacies      6   purchases of controlled substances from
     7   in the same geographic area. Did they evaluate      7   pharmacies paid for in cash?
     8   that?                                               8      A. Again, I wasn't at CVS at this time.
     9          MS. MILLER: Object to form.                  9   I don't know exactly what they were looking at
    10       A. Again, I don't recall if that was part      10   during due diligence.
    11   of the review process.                             11      Q. Well, when you were overseeing the SOM
    12   BY MR. ELSNER:                                     12   analysts, were they -- was that one of the
    13       Q. Okay. If you go to Page 25 --               13   factors that they were taking into the account,
    14          MS. MILLER: 17, Exhibit 17?                 14   whether prescriptions were being paid for in
    15          MR. ELSNER: Yes, back to 17.                15   cash?
    16   BY MR. ELSNER:                                     16          MS. MILLER: Object to form.
    17       Q. There's a heading there that says "CVS      17      A. I believe that is one of the data
    18   219." Do you see that? This is Page 25 of the      18   elements that's available to the analysts today.
    19   brief.                                             19   BY MR. ELSNER:
    20       A. I see CVS 219 underlined.                   20      Q. How important is that element, 1 to
    21       Q. Yes. Okay. And they're talking about        21   10, 1 being totally useless, 10 being essential?
    22   the testimony that's going to potentially be       22          MS. MILLER: Object to form.
    23   given by GS Carter. And then in the second         23      A. Again, like the previous times you've
    24   sentence it reads "According to an analysis        24   asked me to put a number or rating on something,
                                                Page 295                                                Page 297
     1   conducted by GS Carter, between January 1, 2010     1   without, I think, a lot more specifics I'm not
     2   and October 18, 2011, 42 percent of the             2   comfortable -- I can't guess at what rating it
     3   30-milligram oxycodone prescriptions at CVS 219     3   would be.
     4   were paid for in cash, using no insurance to pay    4   BY MR. ELSNER:
     5   for the medication." Did I read that correctly?     5      Q. Well, if we turn back to Exhibit 17 on
     6      A. That appears to be what it says.              6   Page 25, the percentage there was 42 percent of
     7      Q. Were you aware that that was taking           7   the 30-milligram oxycodone prescriptions at CVS
     8   place at the CVS Pharmacy 219 as part of the        8   219 were paid for in cash using no insurance.
     9   DEA's investigation into Cardinal Health that       9   And if you go further down to the very end of
    10   you described in your PowerPoint?                  10   that paragraph the government wrote that "Data
    11          MS. MILLER: Object to form.                 11   from the IMS Institute for Healthcare
    12      A. This is my first time seeing the             12   Informatics indicates that approximately
    13   document. I wasn't at CVS at this time. I          13   6.9 percent of prescriptions were paid for in
    14   don't -- these details are not something that      14   cash in 2010."
    15   are familiar to me.                                15          Would it be important as part of the
    16   BY MR. ELSNER:                                     16   due diligence process to know that if the
    17      Q. Would you agree with me that paying          17   average for prescription payments in cash was
    18   for prescriptions of controlled substances in      18   6.9 percent, and there was a CVS Pharmacy that
    19   cash is one of the red flags for diversion?        19   was selling prescriptions for controlled
    20          MS. MILLER: Object to form.                 20   substances and 42 percent of them were being
    21      A. It could potentially be a red flag. I        21   paid for in cash, would that cause you to
    22   don't know specifically for diversion.             22   believe that it's a potentially suspicious order
    23   BY MR. ELSNER:                                     23   and that it should be investigated?
    24      Q. Red flag for what?                           24          MS. MILLER: Object to form.

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     1      A. That one data element, knowing nothing        1   situation is different, every situation might
     2   else about where this store is located or other     2   require that they look at different -- well, not
     3   information that the analyst is looking at, I       3   require, but if they feel like they might look
     4   can't say that would cause me concern. I don't      4   at different factors. I can't sit here and tell
     5   know enough about the situation.                    5   you when an order flags what exactly they should
     6   BY MR. ELSNER:                                      6   do. I wasn't part of that process, and that's
     7      Q. What else would you want to know?             7   up to their determination.
     8   What else were your analysts calling to find out    8   BY MR. ELSNER:
     9   in 2014 when they were doing this work?             9       Q. But you managed that program in 2014,
    10          MS. MILLER: Object to form.                 10   right?
    11      A. I was not part of the day-to-day             11          MS. MILLER: Object to form.
    12   process. The analysts made a determination of      12   BY MR. ELSNER:
    13   what they thought was important to look at         13       Q. That's what you wrote, right?
    14   and --                                             14       A. I know what that says, but I was not
    15   BY MR. ELSNER:                                     15   the manager of anyone on that team.
    16      Q. No suspicious orders would be cleared        16       Q. Who was?
    17   without your approval --                           17       A. I don't recall who they reported to.
    18          MS. MILLER: Object to form.                 18       Q. They reported to you, right? You
    19   BY MR. ELSNER:                                     19   hired that team, they reported to you until
    20      Q. -- so what did you look at to                20   Susan was hired, right?
    21   determine whether they should be approved or       21          MS. MILLER: Object to form.
    22   not?                                               22       A. My role is not to hire the team. I
    23          MS. MILLER: Object to form.                 23   participated in the interviews.
    24   BY MR. ELSNER:                                     24   BY MR. ELSNER:
                                                Page 299                                                Page 301
     1       Q. What were the data points?                   1      Q. You managed them until Susan was
     2       A. I don't recall my role ever being            2   hired, right?
     3   reviewing every single thing, looking at every      3          MS. MILLER: Object to form.
     4   single thing that an analyst did on every single    4      A. I mean, that's what it says. Nobody
     5   suspicious order. I would look at what actions      5   on that team ever reported to me. I provided
     6   were taken to address whatever concern the          6   guidance and support.
     7   analysts had and feel comfortable that the --       7   BY MR. ELSNER:
     8   whatever the concern was was addressed. That        8      Q. You provided continuous training to
     9   was my role in providing feedback as to whether     9   the team, right?
    10   or not I felt an order should be released, or      10      A. At the time I wrote that, I don't know
    11   should resume.                                     11   what I meant by training, but I did continue to
    12       Q. You had weekly meetings with the SOM        12   support the team as needed.
    13   analyst team to go over potentially suspicious     13      Q. Okay. So I need you to tell me, what
    14   orders, and I want to know, what were they doing   14   are, like, the top ten criteria that they would
    15   when they were doing a deep dive to determine      15   be looking at when they were doing a deep dive
    16   whether an order was suspicious or not? What       16   on a store?
    17   were they looking at?                              17          MS. MILLER: Object to form.
    18          MS. MILLER: Object to form.                 18      A. I can't say. Every order is
    19       A. Every situation is different.               19   different. There is no top ten that I can think
    20   BY MR. ELSNER:                                     20   of. It's --
    21       Q. Tell me what the factors were.              21   BY MR. ELSNER:
    22          MS. MILLER: Object to form.                 22      Q. Give me some factors. Give me some
    23       A. Man, there are hundreds and hundreds        23   elements that they were asked to look for. You
    24   of factors that they can consider. Every           24   had to tell them to look for something, so what

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     1   did you tell them to do?                            1   DEA from our distribution centers? Did you ever
     2          MS. MILLER: Object to form.                  2   do that?
     3       A. There was information available for          3          MS. MILLER: Object to form.
     4   them to look at, depending on a wide flag and       4      A. I don't ever recall requesting
     5   the information they were looking at. There was     5   information on recorded orders.
     6   no one way where I said this has to be done. I      6   BY MR. ELSNER:
     7   don't know of any official rule book on what has    7      Q. Did you know that in February of 2012
     8   to be done.                                         8   there had only been -- that there was a
     9   BY MR. ELSNER:                                      9   suspicious order reported in February of 2012
    10       Q. Okay. So there are no -- there's no         10   but none others at CVS from its distribution
    11   set minimum standard of what they had to look at   11   practices to the DEA?
    12   before they decided an order was clear, is that    12          MS. MILLER: Object to form.
    13   right?                                             13      A. I wasn't with the company in that
    14          MS. MILLER: Object to form.                 14   time.
    15       A. It's up to the analyst to decide            15   BY MR. ELSNER:
    16   what's the appropriate level of review in order    16      Q. Well, when you joined in August of
    17   to feel comfortable with releasing an order.       17   2012, there had only been one suspicious order
    18   BY MR. ELSNER:                                     18   reported to the DEA ever from CVS related to its
    19       Q. And there was no official rule book on      19   distribution practices from controlled
    20   what was to be done at CVS regarding the           20   substances. Were you aware of that?
    21   analyst's review of suspicious orders, correct?    21          MS. MILLER: Object to form.
    22          MS. MILLER: Object to form.                 22      A. I don't know if that is true.
    23       A. So in 2014 I know we had policies           23   BY MR. ELSNER:
    24   around SOM, and then, as I understand, policies    24      Q. Would that concern you?
                                                Page 303                                                Page 305
     1   and the SOM policy. It gives high-level             1          MS. MILLER: Object to form.
     2   guidelines on what the team should follow, but I    2   BY MR. ELSNER:
     3   don't recall it specifically calling out the        3      Q. That CVS had only reported one
     4   exact steps that need to be taken on every          4   suspicious order from its distribution centers
     5   single order that is flagged as an order of         5   related to controlled substances?
     6   interest as they're all different and all           6          MS. MILLER: Object to form.
     7   require a different even level of attention or      7      A. Would that have concerned me when I
     8   due diligence.                                      8   started at CVS, having -- knowing nothing
     9   BY MR. ELSNER:                                      9   about -- not knowing much about the company and
    10      Q. When you started at -- let me see. Do        10   the processes, policies, but I wouldn't -- I
    11   you agree with me that -- strike that.             11   don't think it would concern me. I wouldn't
    12          When you started at CVS, did you            12   know enough for it to be concerning.
    13   investigate whether any suspicious orders had      13   BY MR. ELSNER:
    14   been reported to the DEA regarding the             14      Q. Well, I mean, you're in the position
    15   distribution of any controlled substances?         15   that you are now, and you're familiar with the
    16          MS. MILLER: Object to form.                 16   Rannazzisi letter all the way back to 2007,
    17      A. I don't recall ever looking into             17   December of 2007. You worked in compliance for
    18   suspicious orders that were reported.              18   Henry Schein for years. You then move over to
    19   BY MR. ELSNER:                                     19   CVS. Now you've been working at CVS for a very
    20      Q. Well, you were sort of looking at the        20   long time. Looking back on that whole history,
    21   old system, developing an enhanced or new          21   does it concern you that CVS had only reported a
    22   system, did you ever make any assessment or        22   single order to the DEA through February of 2012
    23   determine whether -- you know, how are we doing,   23   related to a suspicious order for a controlled
    24   have we ever reported a suspicious order to the    24   substance?

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     1          MS. MILLER: Object to form.                 1   made some updates to the SOM Solutions based on
     2      A. Again, at the time I was hired I don't       2   our conversation. Should I send this to
     3   think I knew enough to say whether or not it       3   everyone in the meeting tomorrow?
     4   would or would not be concerning. But I don't      4          "I will bring handouts as well, but I
     5   think it's fair to compare Henry Schein to CVS,    5   know some people won't be able to make it.
     6   that's apples and oranges between business         6   Thanks, Craig."
     7   models.                                            7          Did I read that correctly?
     8   BY MR. ELSNER:                                     8       A. That's what it says.
     9      Q. Well, I'm asking you today. You're           9       Q. Okay. What does SOM end state
    10   the -- the position that you hold at CVS today,   10   enhancement solution mean?
    11   holding that position with your years of          11       A. I'm not sure. This is in October of
    12   experience, do you find it concerning that at     12   2012 -- November of 2012, I was with the company
    13   the time when you started at the company in       13   for about three months at this time, and I know
    14   August of 2012 that CVS had only reported a       14   at this time I don't think there's any way that
    15   single order to the DEA related to its            15   I could have known what the end state solution
    16   distribution of controlled substances?            16   could be, so I'm not sure what that's referring
    17          MS. MILLER: Object to form.                17   to.
    18      A. Sitting here today, knowing what I          18       Q. We talked earlier about the Buzzeo
    19   know, no, I don't think that would be             19   Group. You did a presentation for them while
    20   concerning. Knowing all of the policies and       20   you were working at Henry Schein, is that right?
    21   processes and programs and the field alignment    21          MR. MONTMINY: Objection. Form.
    22   and how LP, loss prevention, is involved, no,     22       A. While I was working at Henry Schein, I
    23   that wouldn't be concerning. I wouldn't expect    23   did speak at one of their conferences.
    24   that there would be a lot of controlled           24   BY MR. ELSNER:
                                               Page 307                                                Page 309
     1   substance suspicious orders.                       1      Q. And Buzzeo was one of the consultants
     2   BY MR. ELSNER:                                     2   that Henry Schein had hired, and you had worked
     3      Q. Do you know what the system was in           3   with them in the past, correct?
     4   2012 when you started at CVS?                      4         MR. MONTMINY: Objection. Form.
     5          MS. MILLER: Object to form.                 5      A. I knew Buzzeo from Henry Schein and
     6      A. I don't recall the specifics of the          6   work we had done.
     7   system.                                            7   BY MR. ELSNER:
     8   BY MR. ELSNER:                                     8      Q. Okay. And you knew that, when you
     9      Q. So you don't know whether it was a           9   joined CVS, that Buzzeo was one of the
    10   robust system or not a robust system in 2012      10   consultants that was working with CVS on its
    11   when you joined CVS, right?                       11   suspicious order monitoring system, correct?
    12          MS. MILLER: Object to form.                12         MS. MILLER: Object to form.
    13      A. I don't know the specifics of the           13      A. I don't recall when I became aware
    14   system, but I don't ever recall having any        14   that CVS and Buzzeo had any relationship.
    15   concerns throughout my time at CVS that we        15         MR. ELSNER: I'm going to mark this as
    16   didn't have an effective system.                  16   the next exhibit.
    17          MR. ELSNER: Okay. This is                  17         (Whereupon, CVS-Schiavo-20 was marked
    18   Exhibit 19.                                       18         for identification.)
    19          (Whereupon, CVS-Schiavo-19 was marked      19   BY MR. ELSNER:
    20          for identification.)                       20      Q. This is MR 82.
    21   BY MR. ELSNER:                                    21      A. Thank you.
    22      Q. This is another e-mail from you to Tom      22      Q. This is a letter that was addressed to
    23   Bourque dated 11/26/12, subject is the "SOM       23   you on the second page as the manager of
    24   System End State Solution." You write "Tom, I     24   regulatory compliance and also to your boss, the

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     1   director of regulatory compliance, Tom Bourque,     1          "Number 1. Combining all Controlled
     2   correct?                                            2   Substances (CII through CV) and Listed Chemicals
     3      A. That's what it appears to be.                 3   into one SOM model." That's one of the
     4      Q. Okay. Dated December 19, 2012?                4   enhancements they were going to make to the SOM
     5      A. That's what it says.                          5   program, right?
     6      Q. Okay. And the subject is the "SOM             6          MS. MILLER: Object to form.
     7   Model Services Proposal," right?                    7      A. That seems to be in their proposal
     8      A. "CVS_BuzzeoPDMA_SOM Model Services            8   that they provided to us.
     9   Proposal."                                          9   BY MR. ELSNER:
    10      Q. And you had a meeting with them to           10      Q. That indicates there wasn't one in
    11   discuss the proposal, is that right?               11   existence, right, that they were going to create
    12      A. I don't recall this proposal ever            12   this as an enhancement to the current SOM
    13   being discussed.                                   13   system, right?
    14      Q. All right. It says in the first line         14          MS. MILLER: Object to form.
    15   "Dear Tom and Craig, As a follow-up to our         15      A. I see it says there -- I can't confirm
    16   meeting last week, I am pleased to provide you     16   and I don't recall that that was not part of the
    17   with our proposal that outlines our SOM Model      17   system.
    18   support services."                                 18   BY MR. ELSNER:
    19          Did I read that right?                      19      Q. They were providing a proposal for
    20      A. "Please find our proposal to support         20   something which they call as a new enhancement
    21   your new SOM initiatives" is what it says.         21   that you already had, is that your testimony?
    22          Oh, you're on the document. I'm             22          MS. MILLER: Object to form.
    23   sorry, I'm still on the e-mail.                    23      A. I see it says it there, but I don't
    24      Q. I'm talking about the letter to you,         24   recall if that was -- I'm not sure what that's
                                                Page 311                                                Page 313
     1   which is the second page of the document 111914,    1   referring to. I don't recall if we were not
     2   "Dear Tom and Craig, As a follow-up to our          2   doing that.
     3   meeting last week, I am pleased to provide you      3   BY MR. ELSNER:
     4   with our proposal that outlines our SOM Model       4       Q. Under number 2, it's to "Incorporate
     5   support services that will assist in meeting        5   third-party distribution data into the new SOM
     6   your regulatory and operational requirements."      6   model as available."
     7          Did I read that correctly?                   7          Do you see that?
     8       A. That's what it says.                         8       A. I see where it says that.
     9       Q. And this is a company that was               9       Q. Okay. So we're going to incorporate
    10   formerly the Buzzeo Group, is that right?          10   outside vendor distribution data into the SOM
    11       A. Yes.                                        11   model, correct?
    12       Q. Okay. If you turn to the second page        12          MS. MILLER: Object to form.
    13   of the letter, it lists under "Project 1: SOM      13       A. I don't know what they mean by
    14   Statistical Model Development."                    14   third-party distribution data.
    15          Do you see that?                            15   BY MR. ELSNER:
    16       A. Where is --                                 16       Q. You were part of the team that was
    17       Q. There's a heading on the top of that        17   analyzing who CVS would hire to develop the new
    18   page.                                              18   SOM program, correct?
    19          Do you see that?                            19       A. I participated in those discussions.
    20       A. I see that.                                 20       Q. And Buzzeo wasn't selected as the
    21       Q. All right. And it says that, at the         21   vendor to use -- as the consultant to use for
    22   end of that paragraph, "This SOM statistical       22   that program, correct?
    23   model will incorporate a number of new             23       A. The system that we developed and
    24   enhancements to your current model to include:     24   currently have in place today, we did not use

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     1   Buzzeo.                                             1       Q. To the extent you know.
     2      Q. If you turn back to Mod Release 20,           2          MS. MILLER: -- to form. Object.
     3   which is the prior exhibit, this is Exhibit 19,     3          To the extent it would reveal
     4   SOM End State Enhancement Solution.                 4   attorney/client communications, I instruct you
     5      A. Okay.                                         5   not to answer.
     6      Q. And it says "Actions to Be Taken to           6       A. It wasn't my decision or call who was
     7   Enhance CVS Process." Do you see where I'm          7   hired.
     8   reading?                                            8   BY MR. ELSNER:
     9      A. I see that.                                   9       Q. Did anyone discuss with you any
    10      Q. Okay. And then under number 1, it            10   difficulties, frustrations with the Buzzeo
    11   says "Current Algorithm/Enhancements to            11   Group?
    12   Algorithm/Create New Algorithm," and then under    12          MS. MILLER: Object to form. Object
    13   "a" it says "Review our contracts with Buzzeo."    13   on attorney/client privilege grounds.
    14          Did I read that correctly?                  14          I instruct you not to answer to the
    15      A. That's what that says.                       15   extent it would reveal attorney/client
    16      Q. Okay. And under that little Roman            16   communications.
    17   Numeral i, you write "Were they fired?"            17       A. I don't recall any conversations
    18          Do you see that?                            18   regarding frustrations with Buzzeo as it relates
    19      A. I see that.                                  19   to our SOM.
    20      Q. Were they fired?                             20   BY MR. ELSNER:
    21          MS. MILLER: Object to form.                 21       Q. Was there any criticisms of the Buzzeo
    22      A. I'm not really sure what I was               22   Group from anyone at CVS that you're aware of?
    23   referring to when I wrote that. They were a        23          MS. MILLER: Object to form. Object
    24   consultant, and the term fired, I don't think we   24   on attorney/client privilege grounds.
                                                Page 315                                                Page 317
     1   would fire, so I don't know what that means.        1          I instruct you not to answer. I
     2   BY MR. ELSNER:                                      2   instruct the witness not to answer to the extent
     3      Q. That's what you wrote, right?                 3   it would reveal any attorney/client
     4          MS. MILLER: Object to form.                  4   communications.
     5      A. That's what the document says.                5       A. I can't recall any specific
     6   BY MR. ELSNER:                                      6   frustrations or conversations around it.
     7      Q. Interesting, everyone else that's been        7   BY MR. ELSNER:
     8   asked this question that I'm aware of answered      8       Q. Did you have a conversation with any
     9   "I'm not sure if you can fire a consultant, you     9   attorney at CVS, and I don't want you to tell me
    10   have you to ask the person who wrote it." So       10   what that conversation was, but did you have a
    11   you're the person who wrote it. So what did you    11   conversation with any attorney at CVS before you
    12   mean when you wrote "were they fired?" There's     12   prepared for this deposition today related to
    13   no one else for me to ask. I've asked everyone     13   the firing of the Buzzeo Group?
    14   else. You're it. What is CVS's answer?             14          MS. MILLER: Object.
    15          MS. MILLER: Object to form.                 15   BY MR. ELSNER:
    16      A. I don't remember writing this                16       Q. Just yes or no.
    17   document, but in 2012, three months into my time   17          MS. MILLER: I'm going to object and
    18   at CVS, I do not recall what I meant by were       18   instruct him not to answer.
    19   they fired.                                        19          MR. ELSNER: On yes or no, whether he
    20   BY MR. ELSNER:                                     20   had a conversation about the topic --
    21      Q. Why did CVS hire AGI instead of              21          MS. MILLER: Well, you're saying --
    22   Buzzeo?                                            22          MR. ELSNER: -- without asking what
    23          MS. MILLER: Object --                       23   the content of the conversation was?
    24   BY MR. ELSNER:                                     24          MS. MILLER: Well, you're saying in

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     1   your question, did you have a conversation with     1          MR. ELSNER: What's the objection? He
     2   any attorney related to the firing of the Buzzeo    2   said most of the day, I asked six or
     3   Group.                                              3   seven hours. What's the objection?
     4   BY MR. ELSNER:                                      4          MS. MILLER: Six or seven hours of the
     5      Q. Did you have a conversation with any          5   day yesterday?
     6   attorney at CVS prior to your preparation for       6          MR. ELSNER: Yes.
     7   this deposition today concerning the Buzzeo         7          MS. MILLER: Just wasn't clear.
     8   Group?                                              8          MR. ELSNER: That's not a valid
     9      A. Not that I recall.                            9   objection.
    10          MR. ELSNER: I don't understand the          10   BY MR. ELSNER:
    11   basis of the objection.                            11      Q. How many hours did you meet with your
    12      Q. To prepare for the deposition today,         12   counsel yesterday?
    13   what did you do?                                   13      A. We were probably together for seven
    14      A. I had meetings with our internal and         14   hours.
    15   outside counsel.                                   15      Q. Okay. Did you review documents? Yes
    16      Q. How long did you meet with counsel           16   or no.
    17   inside CVS to prepare for today's deposition?      17          MS. MILLER: Objection.
    18          MS. MILLER: Object to form.                 18          I'm going to instruct you not to
    19      A. I believe we met three or four times.        19   answer to the extent it would reveal any of the
    20   BY MR. ELSNER:                                     20   documents that we discussed based on privilege
    21      Q. How long were those meetings?                21   and work product. You may answer the question.
    22          MS. MILLER: Object to form.                 22      A. We reviewed documents.
    23      A. They varied in length.                       23   BY MR. ELSNER:
    24   BY MR. ELSNER:                                     24      Q. Did you meet with counsel before
                                                Page 319                                               Page 321
     1      Q. What's your best estimate of the total        1   yesterday?
     2   number of hours you met with inside counsel to      2      A. Yes.
     3   prepare for today's deposition?                     3      Q. When was the prior meeting and how
     4          MS. MILLER: Object to form.                  4   long did it last, roughly?
     5      A. I don't recall how long I prepared            5      A. Prior meeting was Tuesday.
     6   with inside counsel, counsel at -- our internal     6      Q. How long?
     7   CVS counsel. I don't recall. I can't put hours      7      A. Most of the day.
     8   on it. I can't recall how long.                     8      Q. Six, seven hours?
     9   BY MR. ELSNER:                                      9      A. I don't remember exactly.
    10      Q. What about your outside counsel, how         10         MS. MILLER: Object to form.
    11   many days, hours did you spend preparing for       11      A. I don't remember exactly how long.
    12   your deposition with them?                         12   BY MR. ELSNER:
    13      A. We met three or four times.                  13      Q. What time did you start?
    14      Q. Did you meet yesterday? Don't say you        14      A. Sometime after 10:00 o'clock.
    15   don't recall.                                      15      Q. Where did you meet?
    16          MS. MILLER: Object to form.                 16      A. At One CVS.
    17   Objection.                                         17      Q. When did the meeting end; before
    18   BY MR. ELSNER:                                     18   lunch, after lunch?
    19      Q. Did you meet with counsel yesterday?         19      A. I don't recall when it ended.
    20      A. Yes.                                         20      Q. Dark outside, or not dark outside?
    21      Q. How long?                                    21         MS. MILLER: Object to form.
    22      A. Most of the day.                             22   BY MR. ELSNER:
    23      Q. Seven hours, six hours?                      23      Q. This was Tuesday, right?
    24          MS. MILLER: Object to form.                 24         MS. MILLER: Object to form.
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     1       A. I don't recall exactly the time that        1   the day.
     2   it ended.                                          2      Q. You spent a good part of the day
     3   BY MR. ELSNER:                                     3   meeting with counsel on Monday, a good part of
     4       Q. Did you meet for more or less than          4   the day meeting with counsel on Tuesday, and you
     5   four hours that day?                               5   spent seven hours yesterday, is that right?
     6       A. I don't remember exactly how long we        6      A. I don't know --
     7   met. It was for a number of hours.                 7          MS. MILLER: Object to form.
     8          MR. ELSNER: To move this along, can         8          MR. ELSNER: That's what his testimony
     9   you give us an idea of how long you spent with     9   was, right?
    10   the witness preparing for the deposition? He      10      A. I don't know exactly how long we spent
    11   seems unable to recall what happened this week.   11   yesterday, but it was most of the day, a good
    12          MS. MILLER: I'm not going to make a        12   part of the day.
    13   representation. Ask your questions.               13   BY MR. ELSNER:
    14          MR. ELSNER: You're unwilling to tell       14      Q. I thought you said seven hours.
    15   us how long you met with the witness?             15          Did you meet over the weekend?
    16          MS. MILLER: No, I just --                  16      A. We did not meet over the weekend.
    17          MR. ELSNER: He can't answer the            17      Q. Did you meet last week?
    18   question.                                         18      A. We did not meet last week.
    19          MS. MILLER: He is answering the            19      Q. And none of the process and system,
    20   question. He's trying --                          20   the questions that I've talked with you about
    21          MR. ELSNER: He says he can't               21   today, from 2014 to 2012, you did not have any
    22   remember.                                         22   memory of any of those things we discussed,
    23          MS. MILLER: Well, he said --               23   correct?
    24          MR. ELSNER: He can't remember when         24          MS. MILLER: Object to form.
                                                Page 323                                               Page 325
     1   the meeting ended on Tuesday. It began at          1           That's not what he testified to. He
     2   10:00 in the morning, and he can't tell me when    2   testified --
     3   it ended.                                          3           MR. ELSNER: Well, the jury can
     4   BY MR. ELSNER:                                     4   determine that.
     5       Q. Did you go past lunch? Did you work         5   BY MR. ELSNER:
     6   into the evening? I mean, five, six hours?         6       Q. Is there something in particular that
     7   Please, someone, either of you, tell me. Can       7   you remember that we discussed today that you
     8   you answer the question?                           8   can highlight for me?
     9       A. Tuesday we met for a good part of the       9           MS. MILLER: Object to form.
    10   day. I don't remember exactly.                    10           The record speaks for itself. He's
    11       Q. What does that mean, "a good part of       11   testified about the processing systems between
    12   the day"?                                         12   2012 and 2014.
    13       A. I had many other meetings during the       13           MR. ELSNER: You can say object to
    14   day, so I don't know exactly how long we met      14   form.
    15   for.                                              15   BY MR. ELSNER:
    16       Q. Prior to that meeting on Tuesday and       16       Q. What's the answer, please?
    17   the one yesterday, did you meet with counsel to   17       A. Nothing that we have reviewed today,
    18   prepare for the deposition before that?           18   to the best of my recollection, I recall from
    19       A. We met on Monday.                          19   the time either they were created or they were
    20       Q. So you met on Monday, you met on           20   first reviewed by me. I don't recall the
    21   Tuesday, and you met yesterday. How long did      21   documents.
    22   you spend on Monday preparing for the             22       Q. Did you meet with the Analysis Group
    23   deposition?                                       23   to consider their proposal to develop and
    24       A. I believe Monday was a good part of        24   enhance suspicious monitoring system for CVS?

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     1       A. I participated in meetings with AG           1   column for Duration, Start, Finish, and
     2   where enhancements to the system or the new         2   Percentage Complete.
     3   system were discussed.                              3          Do you see that?
     4       Q. You were among the team that                 4      A. I see that.
     5   reviewed -- that solicited and reviewed             5      Q. Okay. And you drafted this?
     6   proposals to partner with CVS in the development    6      A. I don't know if I drafted this.
     7   of a suspicious order monitoring algorithm and      7      Q. You sent it to your boss, right?
     8   system, correct?                                    8      A. I sent it to my boss.
     9          MS. MILLER: Objection. I'd like to           9      Q. And you said these are the documents
    10   lodge an objection right after the question in     10   that you mentioned in your status report, so are
    11   296:04. It's a follow-up to the prior question     11   these documents that you drafted or did somebody
    12   I'd objected to, but I'd like that reflected on    12   else draft these?
    13   the record. Thank you.                             13      A. I don't recall. I don't remember
    14          I apologize for interrupting on the         14   drafting this.
    15   record.                                            15      Q. Would there have been anyone else that
    16   BY MR. ELSNER:                                     16   would have drafted this, to your knowledge, that
    17       Q. You were among the team that reviewed       17   you would have sent to Mr. Bourque? I couldn't
    18   and solicited -- that solicited and reviewed       18   see any other e-mails where someone forwarded it
    19   proposals for consultants to assist CVS with its   19   to you.
    20   development of an SOM algorithm and enhanced       20          MS. MILLER: Object to form.
    21   program, correct?                                  21      A. It's very possible someone else
    22       A. I was part of a team that was               22   drafted this.
    23   participating in conversations prior to            23   BY MR. ELSNER:
    24   selecting a vendor. I don't remember viewing       24      Q. Who would it be?
                                                Page 327                                                      Page 329
     1   any specific proposals.                             1       A. It could have been anyone on the
     2       Q. How many other vendors submitted             2   current SOM team.
     3   proposals? Was it anyone other than the Buzzeo      3       Q. Okay. Can I ask you to look at
     4   Group and the Analysis Group?                       4   Page 103375? You see there's an ID number that
     5       A. Those are the only two that I recall.        5   lists sequential numbers. If you go down to 48.
     6       Q. Who would know if there are others?          6   Do you see where I am? You go across 48. It
     7           MS. MILLER: Object to form.                 7   reads "Gap Analysis between current SOM & New."
     8       A. I don't know who would know that.            8           Do you see that?
     9           MR. ELSNER: This is Motley Rice 9.          9       A. I see that.
    10   I'm going to mark this as the next exhibit.        10       Q. All right. And then if you go over to
    11           (Whereupon, CVS-Schiavo-21 was marked      11   Percentage Complete, it says 50 percent.
    12           for identification.)                       12           Do you see that?
    13   BY MR. ELSNER:                                     13       A. I see where it says that.
    14       Q. This is another e-mail that you sent        14       Q. Okay. And then the Resource Names
    15   to Tom Bourque. The date here is December 12,      15   associated with that analysis are you and
    16   2012. It reads "Opportunity Page, SOM Flow         16   Tulley. Is that right?
    17   Chart," and then you wrote "These are documents    17       A. Yes.
    18   mentioned in my status report just in case         18       Q. Okay. So you were to perform a gap
    19   Pawlik wants to see them when we are going over    19   analysis between the current SOM system in place
    20   the SOM slide or Inventory Cycle count slide."     20   in 2012 and the new system that you were going
    21           Did I read that correctly?                 21   to develop, is that right?
    22       A. That's what it says.                        22           MS. MILLER: Object to form. Object
    23       Q. Okay. And then it appears to be a           23   on attorney/client privilege grounds.
    24   list of kind of action items, and there's an a     24           To the extent the witness can answer

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     1   the question without revealing attorney/client      1          MS. MILLER: Object to form.
     2   communications, you can answer.                     2       A. I see what it says there, but at no
     3      A. I see what it says there. I see my            3   time do I recall it being my responsibility to
     4   name with Tulley's name. I don't recall doing a     4   develop any kind of algorithm. I don't know how
     5   gap analysis. I don't recall doing that.            5   I would do that.
     6   BY MR. ELSNER:                                      6          MR. ELSNER: Why don't we go off the
     7      Q. Did CVS ever compare the old system           7   record quickly?
     8   and come up with a list of items that are going     8          THE VIDEOGRAPHER: We're going off the
     9   to be in the new system other than the documents    9   record at 3:41 p.m.
    10   that I've shown you today that you drafted about   10          (Whereupon, a recess was taken.)
    11   that? Is there anyone at CVS, to your              11          THE VIDEOGRAPHER: We're back on the
    12   knowledge, that would do that?                     12   record at 3:47 p.m.
    13          MS. MILLER: Object to form. Object          13   BY MR. ELSNER:
    14   on attorney/client privilege grounds.              14       Q. Mr. Schiavo, I put back before you
    15          And to the extent the witness can           15   your year-end review from 2012. This is
    16   answer the question without revealing              16   Exhibit 9. We looked at this earlier. It's
    17   attorney/client communications, he can answer.     17   dated January 25th, 2013. I'm going to ask you
    18   Otherwise I instruct him not to answer.            18   to look at Page 8 of 11, which is at 120603.
    19      A. I don't recall anyone that did that.         19       A. Okay.
    20   BY MR. ELSNER:                                     20       Q. Okay. And at the end of that first
    21      Q. Your name is listed next to that task,       21   full paragraph, it says "To date, I have
    22   correct, with Tulley? Who is Tulley?               22   contributed to the following."
    23      A. I believe that's Chris Tulley.               23          Do you see where I'm at?
    24      Q. And your name is listed with his as          24       A. I see where you're at.

                                                Page 331                                                     Page 333
     1   responsible for that task, correct?                 1      Q. Okay. And the first plus there, it
     2       A. My name with Chris's is in the               2   says "To identify gaps in the current SOM system
     3   resources name.                                     3   that need to be addressed when developing the
     4       Q. You were also responsible for                4   new system."
     5   identifying all the DEA requirements in the next    5          Did I read that correctly?
     6   item, correct, item 49?                             6      A. That's what that says.
     7       A. I see my name there, but I don't think       7      Q. And did you do that?
     8   I would be relied on to identify all DEA            8          MS. MILLER: Object to form.
     9   requirements.                                       9      A. I don't recall ever doing a deep dive
    10       Q. If you go to the next page under 53,        10   into the system at this time and identifying
    11   it says "Develop an algorithm methodology to       11   CAPS. I think at the time of this review I was
    12   find orders of interest (using Thresholding        12   probably with CVS for a few months.
    13   approach)." You and Tulley are listed there,       13   BY MR. ELSNER:
    14   correct?                                           14      Q. That's what you wrote, though, right,
    15          MS. MILLER: Mike, where are you?            15   "Identify gaps in the current SOM system that
    16          MR. ELSNER: I'm at 63.                      16   need to be addressed when developing the new
    17          MS. MILLER: 63.                             17   system," correct?
    18          MR. ELSNER: 103376.                         18      A. That's what it says in my year-end
    19          MS. MILLER: Thank you.                      19   review.
    20       A. I see my name there.                        20      Q. Okay. And that's what it said in the
    21   BY MR. ELSNER:                                     21   document we just looked at, that you were going
    22       Q. Okay. It's one of your                      22   to do a gap review, correct?
    23   responsibilities under the new SOM system, is      23          MS. MILLER: Object to form.
    24   that right?                                        24      A. It's -- I recall it saying something

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     1   about doing a gap analysis in the other             1   review?
     2   document.                                           2       A. It says that one of the things that I
     3   BY MR. ELSNER:                                      3   contributed with was "selecting AGI to help
     4      Q. Comparing the old system to the new           4   develop an algorithm," and I read that much
     5   system, right?                                      5   differently than me being responsible for
     6          MS. MILLER: Object to form.                  6   developing an algorithm.
     7      A. Can I look to see what the exact              7       Q. But you worked on it, right?
     8   wording was?                                        8          MS. MILLER: Objection to form.
     9   BY MR. ELSNER:                                      9   BY MR. ELSNER:
    10      Q. Sure.                                        10       Q. I didn't say you were the only one
    11      A. Do we know which number it was?              11   responsible. That was one of the things you
    12      Q. I believe it was 48 or 49.                   12   worked on, right?
    13          MS. VELDMAN: 63.                            13       A. I was -- I participated in meetings
    14      A. 63 was "Develop algorithm                    14   with other team members, but I don't think I had
    15   methodology."                                      15   a role in developing, writing the algorithm.
    16   BY MR. ELSNER:                                     16       Q. Okay. Toward the bottom it says
    17      Q. I think it's the page before that.           17   "Drafting of the Stop Order/Order Resumption
    18      A. 48 says "Gap analysis between current        18   SOP." You contributed to that, right?
    19   SOM and new SOM."                                  19          MS. MILLER: Object to form.
    20      Q. And that's what you wrote in your            20          You're on the --
    21   review, "Identify gaps in the current SOM system   21   BY MR. ELSNER:
    22   that need to be addressed when developing the      22       Q. Back on your annual review, second to
    23   new system," right?                                23   last plus.
    24          MS. MILLER: Object to form.                 24       A. I see "Drafting of Stop Order/Order
                                                Page 335                                                Page 337
     1      A. It says I contributed to that process.        1   Resumption SOP." But that's not a -- that is
     2   I don't remember to what extent.                    2   not a policy that I'm -- I recall or am familiar
     3   BY MR. ELSNER:                                      3   with. I don't know if that was ever an official
     4      Q. Okay. Two more plusses down it says           4   policy.
     5   "Selecting AGI as the vendor to help develop an     5      Q. Well, we saw those documents today.
     6   algorithm in order to identify potentially          6   Was it not an official policy of CVS, the policy
     7   suspicious orders."                                 7   that you drafted with Aaron Burtner?
     8          Did I read that correctly?                   8          MS. MILLER: Object to form.
     9      A. That's what it says.                          9          And maybe it would be helpful to show
    10      Q. Okay. And then on 63 of the prior            10   him the exhibit that you're referring to so he
    11   exhibit, line 63, it says "Develop algorithm       11   can take a look.
    12   methodology to find orders of interest."           12   BY MR. ELSNER:
    13   Correct?                                           13      Q. You don't recall working on that
    14          MS. MILLER: Object to form.                 14   policy with Aaron Burtner, a stop order policy,
    15      A. This is saying with my name next to it       15   whether we were going to ship -- whether we were
    16   "Develop algorithm methodology." But again, I      16   going to stop the order of that exact drug or
    17   don't ever recall being in charge of developing    17   the family of drugs? We discussed it for about
    18   an algorithm.                                      18   20 minutes.
    19   BY MR. ELSNER:                                     19          MS. MILLER: Object to form. He's
    20      Q. Well, one of the items that you wrote        20   already given testimony on it.
    21   in your annual review was "Selecting AGI as the    21          MR. ELSNER: I know, that's why I
    22   vendor to help develop an algorithm in order to    22   thought it would be simple to say one of the
    23   identify potentially suspicious orders." Is        23   things that was listed was the drafting of the
    24   that one of the things listed in your annual       24   stop order/order resumption SOP.

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     1   BY MR. ELSNER:                                      1   is in 2012 when I don't believe any final
     2       Q. That's one of the things listed in the       2   decisions have been made on how our new or
     3   review, correct?                                    3   enhanced system was -- all the elements that
     4       A. I don't recall the title of the policy       4   were going to be in there.
     5   we reviewed today is the same policy that's         5   BY MR. ELSNER:
     6   referred to right here. I don't recall the          6       Q. I understand. But that's one of the
     7   title of the policies we reviewed today.            7   things you provided input on, right, whether to
     8       Q. Did you write in your annual review --       8   do the family of drugs or specific drugs or all
     9   did you write "Drafting of the Stop Order/Order     9   controlled drugs, right?
    10   Resumption SOP"? Yes or no.                        10       A. That's what it says.
    11       A. It says there that I drafted the stop       11       Q. It also says you were going to provide
    12   order/order resumption SOP, which is a policy.     12   input on reporting to the DEA offices, correct?
    13   I'm not sure what policy that's referring to.      13       A. That's what it says.
    14       Q. I know, we've established you can't         14          MR. ELSNER: Okay. Mark this next
    15   remember.                                          15   document as Exhibit 22. This is Motley Rice 23.
    16           MS. MILLER: Object to form.                16          (Whereupon, CVS-Schiavo-22 was marked
    17   BY MR. ELSNER:                                     17          for identification.)
    18       Q. The next plus says "Providing input on      18   BY MR. ELSNER:
    19   key decisions (Reporting to DEA offices, what      19       Q. CVS did hire the Analysis Group as a
    20   drugs to hold when an order flags, whether or      20   consultant, right?
    21   not to include outside vendor orders)."            21       A. That's who we used to develop -- help
    22   Correct?                                           22   develop our SOM system.
    23       A. That's what that says.                      23       Q. And so CVS hired them as a consultant,
    24       Q. Okay. So there was a discussion at          24   is that right? Well, they didn't do it for
                                                Page 339                                                Page 341
     1   CVS whether or not to include outside vendor        1   free, right?
     2   orders as part of the SOM process in 2012,          2       A. That's -- yes, that's who we used to
     3   correct?                                            3   do it.
     4          MS. MILLER: Object to form.                  4       Q. And you hired them?
     5       A. In 2012 I believe we discussed the           5       A. I didn't personally hire them.
     6   potential of including OV order in the new or       6       Q. I asked if CVS hired them.
     7   enhanced system that we were building.              7          MS. MILLER: Object to form.
     8   BY MR. ELSNER:                                      8   BY MR. ELSNER:
     9       Q. Okay. And it did not exist in the old        9       Q. Did CVS hire the Analysis Group to
    10   system, right?                                     10   assist it in developing its SOM program?
    11          MS. MILLER: Object to form.                 11       A. Yes, the Analysis Group helped us
    12       A. I don't recall if OV orders were part       12   developed our SOM.
    13   of the old system or not.                          13       Q. In February of 2013 there is this
    14   BY MR. ELSNER:                                     14   note, that memo, from the Analysis Group which
    15       Q. I'm going to mark this.                     15   is a request for data for the SOM algorithm data
    16          Also in there is you provided input on      16   inputs. Do you see that in the "Re" line? The
    17   another key decision, which was what drugs to      17   date is February 4, 2013.
    18   hold when an order flags, is that right, whether   18       A. I see that.
    19   to hold that specific drug or whether to hold      19       Q. And there's some -- there's a listing
    20   the family of drugs? That's one of the other       20   here at the end of the second paragraph, there's
    21   things that you provided input on for key          21   sort of some numbers here, 1 through 10. This
    22   decisions, correct?                                22   is the data that the Analysis Group was
    23          MS. MILLER: Object to form.                 23   requesting in order to build the algorithm.
    24       A. That's what it says. But again, this        24          Do you see that?

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                                                Page 342                                                Page 344
     1      A. I see the listing of elements there           1   info, correct?
     2   that it looks like they're requesting.              2          MS. MILLER: Object to form.
     3      Q. Okay. Who at CVS was responsible for          3      A. Speaking specifically to the
     4   gathering this information to provide to the        4   algorithms, I don't know what is in all of the
     5   Analysis Group, to the extent you know?             5   algorithms. However, I'm aware that these are
     6      A. I don't know who would have provided          6   data elements that would be available to the SOM
     7   this information.                                   7   analysts during due diligence.
     8      Q. Did you ever review the information or        8   BY MR. ELSNER:
     9   the data that the Analysis Group was going to       9      Q. Today?
    10   use to compile the algorithm?                      10      A. Today.
    11      A. I don't recall reviewing any specific        11      Q. Do you know what was available to the
    12   data provided to Analysis Group.                   12   SOM analysts in 2012 before this system went
    13      Q. Under 8 it says "Store dispensing,"          13   into effect?
    14   and it lists under A, B, C and D, prescription     14          MS. MILLER: Object to form.
    15   information, patient information, prescriber       15      A. I don't know of all the information
    16   information, pharmacist information. Is this       16   that was available to them back in 2012.
    17   information -- was that a component of the SOM     17   BY MR. ELSNER:
    18   program in place in 2012 at CVS and early 2013?    18      Q. There was a period of time in which
    19           MS. MILLER: Object to form.                19   the current SOM system was working at CVS and
    20      A. I don't recall whether it was or was         20   you were working with the Analysis Group to
    21   not included.                                      21   develop the new SOM system, correct?
    22   BY MR. ELSNER:                                     22      A. I believe so.
    23      Q. But it was information that was              23      Q. And the new SOM system that went into
    24   include -- was sent to the Analysis Group to be    24   effect did not go into effect until 2014, is
                                                Page 343                                                Page 345
     1   included in its new algorithm for CVS, correct?     1   that right?
     2          MS. MILLER: Object to form.                  2       A. I believe the new SOM system started
     3      A. I see from this document that they            3   to roll out in 2014.
     4   requested it.                                       4       Q. 2014. It was on a rolling basis; you
     5   BY MR. ELSNER:                                      5   did a few distribution centers at a time, is
     6      Q. Do you know whether it was used by the        6   that right?
     7   Analysis Group as a component of the algorithm?     7       A. I don't remember the exact dates, but
     8          MS. MILLER: Object to form.                  8   I know it was a rollout approach to the
     9      A. I'm not -- I'm not familiar with              9   distribution centers.
    10   exactly what is in the algorithms.                 10       Q. You didn't hit all distributions at
    11   BY MR. ELSNER:                                     11   one exact time with the new system, correct?
    12      Q. Well, do you know whether the system         12       A. No, I don't believe they were all
    13   analyzes dispensing information?                   13   rolled out at the same time.
    14          MS. MILLER: Object to form.                 14       Q. Okay. And that process of rollout
    15      A. The current system we have today I           15   continued throughout 2014 into November of 2014,
    16   know takes into account dispensing information.    16   is that right?
    17   BY MR. ELSNER:                                     17       A. I don't recall the rollout schedule
    18      Q. And that system is based on the system       18   and when it completed.
    19   that the Analysis Group built for CVS, is that     19       Q. But at least through 2012 when you
    20   right?                                             20   started through some point in 2014 CVS was using
    21      A. Yes, the current system we have today        21   the old system until the rollout for each
    22   is what the Analysis Group assisted with.          22   distribution center, and as the rollout came
    23      Q. And that includes prescribing                23   into effect the new system would come into place
    24   information, patient information, and pharmacist   24   for that distribution center, is that right?

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                                                Page 346                                                Page 348
     1           MS. MILLER: Object to form.                 1   monitoring at CVS in 2012 or 2013 or '14 as that
     2   BY MR. ELSNER:                                      2   system was being used before the new enhanced
     3       Q. And the old distribution centers were        3   system was put into place, is that right?
     4   still using the old process, correct?               4          MS. MILLER: Object to form.
     5           MS. MILLER: Object to form.                 5      A. At a high level I think I understood
     6       A. I know that at the time of the               6   the process, but no, I never recall a
     7   rollout, obviously the rollout involved             7   conversation that went into details of exactly
     8   distribution centers going onto the new             8   what that old system -- how it functioned.
     9   developed algorithm and may have also used the      9   BY MR. ELSNER:
    10   old algorithm as well or old system as well.       10      Q. Okay. Were you aware that they had
    11   And I believe at the time of the rollout the       11   staffing issues with respect to the SOM
    12   distribution centers that it hadn't been rolled    12   management team in Indianapolis in 2013?
    13   out to were still utilizing the older suspicious   13          MS. MILLER: Object to form.
    14   order monitoring process.                          14      A. I don't recall any management staffing
    15   BY MR. ELSNER:                                     15   issues.
    16       Q. Okay. There never came a point in           16   BY MR. ELSNER:
    17   time where you, you know, went to Indianapolis     17      Q. Do you recall any staffing shortages
    18   and sat down with the SOM analysts there that      18   or other staffing problems in the SOM review
    19   were using the old SOM system to understand it,    19   team in 2013?
    20   is that true?                                      20      A. I don't recall any situations where we
    21           MS. MILLER: Object to form.                21   couldn't review, well, orders of interest
    22       A. I've never been to the Indianapolis         22   that -- well, I don't remember there ever being
    23   distribution center.                               23   an instance where that was an issue.
    24   BY MR. ELSNER:                                     24      Q. That wasn't my question. I asked you
                                                Page 347                                                Page 349
     1      Q. Okay. Have you ever sat down with             1   whether you were aware of any staffing shortages
     2   anyone at CVS and reviewed an IRR report from       2   or staffing issues in 2013.
     3   the old suspicious order monitoring system at       3          MS. MILLER: Object to form.
     4   CVS?                                                4       A. I don't recall any staffing issues
     5          MS. MILLER: Object to form.                  5   that affected the SOM process.
     6      A. I am aware there were IRR reports. I          6   BY MR. ELSNER:
     7   don't recall going through one with anyone on       7       Q. In June of -- in June of 2013, Aaron
     8   the SOM team.                                       8   Burtner left CVS, and Kelly Baker assumed Aaron
     9   BY MR. ELSNER:                                      9   Burtner's responsibilities until a replacement
    10      Q. Do you know how to read one?                 10   could be found, is that true?
    11          MS. MILLER: Object to form.                 11       A. I recall at some point Aaron left. I
    12      A. I don't recall having read an IRR. I         12   don't remember exactly when that date was. And
    13   can't even think about it, whether -- I can't      13   I remember -- I somewhat remember working with
    14   remember what it looks like.                       14   Kelly Baker on certain things. I don't know the
    15   BY MR. ELSNER:                                     15   time frames.
    16      Q. Okay. That wasn't part of what you           16          (Whereupon, CVS-Schiavo-23 was marked
    17   did at CVS, right?                                 17          for identification.)
    18          MS. MILLER: Object to form.                 18   BY MR. ELSNER:
    19      A. No, my role was never to review              19       Q. This is Exhibit 23. If you go -- you
    20   orders.                                            20   know, with all e-mails you've got to sort of
    21   BY MR. ELSNER:                                     21   look at the first one first -- last one first if
    22      Q. Okay. And no one from CVS sat down           22   you want to see the flow. So I'm going to ask
    23   with you and explained to you the system that      23   you to turn to Page 76116, which is the third
    24   was in place with respect to suspicious order      24   document of the e-mail I placed before you.

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     1      A. Okay.                                         1          MS. MILLER: Object to form.
     2      Q. And this e-mail is from Shawna                2       A. That's what it says.
     3   Leuhring. Did I say that correctly?                 3   BY MR. ELSNER:
     4      A. I'm not sure how to pronounce her last        4       Q. Okay. So at this point in time we had
     5   name.                                               5   Kelly Baker reviewing -- doing the SOM review
     6      Q. Have you ever met her?                        6   for CVS, and you were going to include a team
     7      A. I don't recall meeting Shawna.                7   which was yet to be hired, is that right?
     8      Q. Do you know who she works for?                8       A. That's what it says.
     9      A. At this time I'm not sure who she             9       Q. And then it says "Who will be
    10   reported to.                                       10   approving the SOM cases" under question 4.
    11      Q. But she was with CVS?                        11          Do you see that?
    12      A. It says "Contractor" next to her name,       12       A. I see what -- I see what it says, and
    13   but I remember her working at CVS.                 13   I'm not sure what that means.
    14      Q. Okay. And this is an e-mail that she         14       Q. Okay. It says "Who will be approving
    15   wrote to you dated July 1, 2013, is that right?    15   the SOM cases?" And you write in response
    16      A. Yes.                                         16   "Kelly Baker or Kelly's manager, or both."
    17      Q. And she says "Craig and Team, I've           17          So at this point in time Kelly Baker
    18   updated the Archer SOM prototype with the          18   did not have a manager because Aaron Burtner had
    19   'Prescriber' changes, by removing the Letter and   19   left, correct?
    20   Call fields from the 'Review' tab and moved the    20          MS. MILLER: Object to form.
    21   'Action' tab section over to the 'Review' tab.     21       A. I don't know that to be true.
    22   Attached, please find screenshots of the revised   22   BY MR. ELSNER:
    23   SOM record. Please review and let me know if       23       Q. Well, was there a manager of the SOM
    24   you see the need for any other changes."           24   program in Indianapolis in 2013?
                                                Page 351                                                Page 353
     1          And then it says below "I'll also need       1          MS. MILLER: Object to form.
     2   to get requirements for Access Control." And        2       A. I'm sure there was. I don't remember
     3   then there's a question and it says "Who will be    3   that team ever not having someone that managed
     4   entering in the SOM cases?"                         4   them, but I don't know who that was.
     5          Do you see that, question number 1?          5   BY MR. ELSNER:
     6       A. I see where it says that.                    6       Q. Why are you sure?
     7       Q. Okay. And if you see above her e-mail        7       A. I don't know if you're --
     8   there is an e-mail from you dated Tuesday,          8       Q. It's about the only thing you've been
     9   July 2, 2013 to a number of people, including       9   sure about today. What makes you so sure there
    10   Tom Bourque, Kelly Baker, Dean Vanelli.            10   was a manager in place?
    11          Do you see that?                            11          MS. MILLER: Objection to form.
    12       A. I see that.                                 12       A. Because I don't ever know of a
    13       Q. Okay. It says "Team, My comment are         13   situation where someone worked at CVS and did
    14   in red, please review and make any                 14   not have a manager.
    15   additions/changes necessary."                      15   BY MR. ELSNER:
    16          So basically what is happening here is      16       Q. Well, there was a manager -- there was
    17   Shawna sends you an e-mail asking who is going     17   a SOM manager position that Aaron Burtner had,
    18   to gain access control, and then you write in      18   and he left CVS, right?
    19   red the answers to those questions, and they're    19          MS. MILLER: Object to form.
    20   bolded here.                                       20       A. At some point he left CVS.
    21          And next to question 1, you -- next to      21   BY MR. ELSNER:
    22   "Who will be entering in the SOM cases?", you      22       Q. Okay. And so they needed to fill that
    23   wrote "Kelly Baker and his team (yet to be         23   position, right?
    24   hired)," correct?                                  24       A. I don't know if they needed to fill

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     1   that position, but -- I don't know if they          1   that to be true, but that's what he wrote.
     2   needed to fill that position.                       2      Q. He said -- then he writes "I am not
     3       Q. Do you know whether they tried to,           3   aware of a risk assessment or action plans in
     4   sent out an ad to fill the position?                4   place to address."
     5       A. I don't recall this process. I don't         5          Is that what he wrote?
     6   know if I was even a part of that process.          6      A. I see that written there.
     7       Q. If we move forward in the -- to the          7      Q. Okay. And your response to Kelly,
     8   prior page of the e-mail, at the very top           8   just Kelly, which is about a little over a half
     9   there's an e-mail from Kelly Baker to you dated     9   hour later, you write "Kelly, Thanks for the
    10   July 9, 2013.                                      10   heads up! That is something we will need to
    11          Do you see that?                            11   discuss."
    12       A. The one at 3:51 p.m.?                       12          Is that your response?
    13       Q. That's the one, yes.                        13      A. That's what it says.
    14       A. I see that e-mail.                          14          MR. ELSNER: This is Exhibit 24.
    15       Q. Okay. And he writes "Craig, not             15          (Whereupon, CVS-Schiavo-24 was marked
    16   really pertaining to your question, but I did      16          for identification.)
    17   want to highlight to the group that you note       17   BY MR. ELSNER:
    18   that I do not," in all caps, "have a backup.       18      Q. Now, you take this same exact e-mail
    19   Even our hourly assistant has limited access.      19   that Kelly Baker sent to you and to Tom Bourque
    20   If something happens to me via act of nature or    20   and to others on July 9, 2013 at 3:51 p.m., and
    21   illness, the current daily SOM process would       21   then you forwarded that e-mail a minute later to
    22   come to a complete halt."                          22   Tom Bourque, and you write "This is not good..."
    23          Did I read that correctly?                  23   correct?
    24       A. That's what it says.                        24      A. I see that.
                                                Page 355                                                Page 357
     1       Q. So at this point in time Kelly Baker         1      Q. Okay. So it's not good, agreeing that
     2   didn't have anyone else helping him with the SOM    2   there's not a risk assessment or action plan in
     3   review process, and if something were to happen     3   place to address this, right?
     4   to him, he writes "the system would come to a       4          MS. MILLER: Object to form.
     5   complete halt," is that right?                      5      A. I see that it's written that it's not
     6          MS. MILLER: Object to form.                  6   good. But in terms of what we just reviewed, I
     7       A. It looks like he says "Even our hourly       7   don't see anything in concerns with -- in
     8   assistant has limited access," so it seems as if    8   concern to SOM not functioning appropriately.
     9   he did have someone else that was helping him       9   BY MR. ELSNER:
    10   based on that e-mail.                              10      Q. Well, in response to Kelly Baker's
    11   BY MR. ELSNER:                                     11   e-mail to you saying that he didn't have backup
    12       Q. With limited access, yes. But no one        12   and "If something happens to me via act of
    13   else, right?                                       13   nature or illness, the current SOM process would
    14          MS. MILLER: Object to form.                 14   come to a complete halt," you take that e-mail
    15       A. I don't know what he's referring to by      15   and forward it to your boss, Tom Bourque, with
    16   limited access. And I see where he's indicating    16   the message "This is not good," right?
    17   "I do not have a backup."                          17          MS. MILLER: Object to form.
    18   BY MR. ELSNER:                                     18      A. I forwarded what Kelly said to Tom
    19       Q. And he indicated that if something          19   Bourque saying "This is not good" referring to
    20   were to happen to him "via act of nature or        20   the hypothetical situation of if Kelly was out
    21   illness, the current daily SOM process would       21   and him saying the SOM process would come to a
    22   come to a complete halt." Is that what he          22   halt, although --
    23   wrote?                                             23   BY MR. ELSNER:
    24       A. That's what he wrote. I don't know          24      Q. Is that what you wrote?

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                                                Page 358                                                Page 360
     1       A. That's what I wrote.                         1       A. That's what he wrote.
     2          MR. ELSNER: This is Exhibit 25.              2       Q. Okay. Then he separately at the
     3          (Whereupon, CVS-Schiavo-25 was marked        3   bottom of that e-mail says "Craig" -- do you see
     4          for identification.)                         4   where I'm at?
     5   BY MR. ELSNER:                                      5       A. At the bottom, yes.
     6       Q. The prior exhibit, Tom Bourque               6       Q. It says "We will fill in additional
     7   responds to you in Motley Rice 89 that "We can      7   players as we backfill Aaron's head count and
     8   discuss with Dean" in response to your e-mail.      8   build the team to support the new process."
     9          Do you see that?                             9          Do you see that?
    10       A. At the top, yes, "We can discuss with       10       A. I see that.
    11   Dean."                                             11       Q. Then he says "Over and above, I would
    12       Q. So that was Tom's response.                 12   add the following individuals to the read only
    13          And Dean Vanelli writes a response on       13   list: Mark Nicastro (Indy DC director) and Amy
    14   July 9th to you and to Kelly Baker. Do you see     14   Propatier (my backup)." Did I read that
    15   that in the middle of Motley Rice 90, this         15   correctly?
    16   exhibit?                                           16       A. I see that.
    17       A. I see that.                                 17       Q. Okay. Did you know that Mark Nicastro
    18       Q. It says the action plans include            18   and Amy Propatier have no idea how to read an
    19   backfilling Aaron's role is already in progress    19   IRR report?
    20   and creating a staffing plan to operate under      20          MS. MILLER: Object to form.
    21   the new system.                                    21       A. I don't recall ever knowing whether
    22          So this indicates that they're trying       22   they could or could not read an IRR report.
    23   to find a manager to fill Aaron Burtner's role,    23   BY MR. ELSNER:
    24   correct, an SOM manager?                           24       Q. Okay. So Dean Vanelli's suggestion to
                                                Page 359                                                Page 361
     1      A. I don't recall Kelly reporting to             1   you is to add them, the two of them, to the
     2   Aaron, but this is Dean saying that they're         2   list of -- list of people that you were
     3   looking to backfill Aaron's role.                   3   creating, to the read only list, and you don't
     4      Q. And two sentences -- or the next              4   know whether or not they can read an IRR report,
     5   sentence later, the last sentence in the first      5   correct?
     6   paragraph of Dean Vanelli's e-mail, he writes "I    6           MS. MILLER: Object to form.
     7   agree there is a short-term risk if something       7       A. I don't recall whether I knew if they
     8   were to happen with Kelly, especially until         8   could or could not.
     9   we...fill Aaron's role and on board the planned     9   BY MR. ELSNER:
    10   staffing increase on the Indy SOM team."           10       Q. You have no knowledge about whether
    11          So Dean Vanelli agrees that there's a       11   they were qualified to perform that role,
    12   short-term risk, the risk that Kelly Baker         12   correct?
    13   highlights, correct?                               13           MS. MILLER: Object to form.
    14          MS. MILLER: Object to form.                 14       A. I do not recall whether I knew or did
    15      A. Dean wrote this e-mail. You'd have to        15   not know if they could read an IRR report.
    16   ask him what he meant by short-term risk and       16   BY MR. ELSNER:
    17   what the risk was.                                 17       Q. Did you add them as the backup?
    18   BY MR. ELSNER:                                     18           MS. MILLER: Object to form.
    19      Q. But that's what he wrote, right, "I          19       A. I don't recall.
    20   agree there's a short-term risk" in response to    20   BY MR. ELSNER:
    21   Kelly Baker's e-mail to you?                       21       Q. You didn't do any other investigation
    22      A. He wrote there's a short-term risk.          22   to determine whether it was appropriate to add
    23      Q. If something were to happen to Kelly,        23   Mark Nicastro or Amy Propatier to the system,
    24   right?                                             24   did you?

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     1       A. I can't recall if I did or I didn't,         1       A. I see that. And I do not recall what
     2   nor at that time would it be my role. Dean was      2   BVRs means.
     3   in logistics, I believe that would be his           3       Q. You actually didn't recall then
     4   decision.                                           4   either, so you sent him an e-mail and asked, and
     5       Q. Okay. And you didn't do any                  5   he said -- and he answered the question. If I
     6   investigation to determine whether that decision    6   can find the e-mail, I'll send it to you.
     7   was appropriate or not, right?                      7          "The data snapshot is a three-month
     8          MS. MILLER: Object to form.                  8   window that is a year old. Any analysis that I
     9       A. I don't recall whether I did or did          9   make from the data is, for the most part,
    10   not, or whether or not Mark or Amy could read an   10   irrelevant and pointless."
    11   IRR. I don't know.                                 11          Do you see that?
    12   BY MR. ELSNER:                                     12       A. I see where he wrote that.
    13       Q. Was that part of your practice, if          13       Q. Do you agree with him?
    14   your boss said add someone to the list, would      14          MS. MILLER: Object to form.
    15   you do it, or would you do your own                15       A. I don't have any other information to
    16   investigation to determine whether they're         16   make a determination whether or not I would
    17   qualified to do that?                              17   agree with that.
    18          MS. MILLER: Object to form.                 18   BY MR. ELSNER:
    19       A. Dean was not my boss.                       19       Q. Okay. He then writes, "I know this
    20   BY MR. ELSNER:                                     20   tool will be going away and may not be cost
    21       Q. Sorry?                                      21   effective to update. But I'm wasting a lot of
    22       A. Dean was not my boss.                       22   man-hours. I don't understand why they just
    23       Q. Okay. Did you rely on Dean's                23   can't rerun the query for a token amount. They
    24   recommendation, or did you conduct your own        24   would not have to rewrite the scripts or code.
                                                Page 363                                                Page 365
     1   investigation, or was it your practice to           1          "In any event, the big issue is of
     2   conduct an investigation, or no?                    2   false negatives and the risks associated with
     3          MS. MILLER: Object to form.                  3   something slipping by."
     4       A. In this case I don't recall doing my         4          Kelly Baker thought because he was
     5   own investigation. In reading this, I don't         5   reviewing outdated data that there was a risk
     6   even know what Dean is referring to or if I had     6   that a suspicious order would slip by him,
     7   the ability to add anyone to anything. I don't      7   correct?
     8   know what he's referring to here.                   8          MS. MILLER: Object to form.
     9   BY MR. ELSNER:                                      9       A. I see what Kelly wrote here. I can't
    10       Q. If we go back to Exhibit 23, which is       10   speak to what he was thinking.
    11   the initial e-mail exchange that we started        11   BY MR. ELSNER:
    12   with.                                              12       Q. Did it concern you that when you
    13       A. Okay.                                       13   received this e-mail that he was relying on
    14       Q. On the very first page, 76114, there's      14   outdated data and that he was worried that there
    15   an e-mail from Kelly Baker to you in reply to      15   was the possibility that an order for -- a
    16   the e-mail that you sent to him on July 9th. He    16   suspicious order for a controlled substance
    17   then sends you an e-mail on Thursday, July 11,     17   would slip by him?
    18   2013.                                              18          MS. MILLER: Object to form.
    19          Do you see that?                            19       A. I don't recall what I thought when I
    20       A. I see that.                                 20   received this e-mail.
    21       Q. Okay. And he writes "Craig, another         21   BY MR. ELSNER:
    22   concern I have is the Store Metric Report I use    22       Q. Do you know what you did with it?
    23   to analyze the BVRs on the IRR."                   23          MS. MILLER: Object to form.
    24          Do you see that?                            24       A. I don't recall this situation.

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                                                Page 366                                                Page 368
     1   BY MR. ELSNER:                                      1      A. I don't know why he sent this to me.
     2      Q. Kelly then writes to Mark Nicastro            2   You'd have to ask Kelly.
     3   above and he says "Mark, I didn't include you on    3   BY MR. ELSNER:
     4   this original because of your full mailbox. The     4      Q. Did you think that he -- did he think
     5   BVR are orders flagged based on volume, ratio or    5   that you were the best person to try to fix the
     6   both."                                              6   system that was broken at CVS?
     7          Do you see that?                             7          MS. MILLER: Object to form.
     8      A. I see where it says that.                     8      A. You would have to ask Kelly. I don't
     9      Q. And he then writes, "Really just a CYA        9   know what Kelly thought.
    10   for me. I'm pretty sure Aaron mentioned this to    10   BY MR. ELSNER:
    11   the SOM development team, but I don't want them    11      Q. You weren't his supervisor, right?
    12   to use me as the sacrificial lamb when or if it    12      A. I was not Kelly's supervisor.
    13   hits the fan because something slipped through."   13      Q. Mark Nicastro was one of the people he
    14   Did I read that correctly?                         14   reported to, and Mark's mailbox was full so he
    15      A. That's what that e-mail says.                15   then reaches out to you.
    16      Q. Were you aware that Kelly Baker was          16          MS. MILLER: Object to form.
    17   afraid that he was going to take the blame for     17   BY MR. ELSNER:
    18   suspicious orders slipping through based on the    18      Q. Why?
    19   old data he was provided to produce suspicious     19      A. You would have to ask Kelly.
    20   orders?                                            20      Q. I will.
    21          MS. MILLER: Object to form.                 21          MR. ELSNER: This is Exhibit 26.
    22      A. The e-mail that you're showing me I'm        22          (Whereupon, CVS-Schiavo-26 was marked
    23   not even on, and I don't ever recall that being    23          for identification.)
    24   a concern. I don't recall that being a concern.    24   BY MR. ELSNER:
                                                Page 367                                                Page 369
     1   BY MR. ELSNER:                                      1       Q. This is Motley Rice 78116, and
     2       Q. Well, he was concerned about it,             2   Exhibit 26. If you look at the top of the
     3   right?                                              3   second page, if you look at the top of the
     4          MS. MILLER: Object to form.                  4   second page, this is the e-mail that Kelly Baker
     5       A. He sent that e-mail to Mark. I don't         5   sent to you, and you have an exchange with him
     6   know what follow-up conversations or -- I don't     6   on what BVR is, as I promised you I'd show you,
     7   know, I'm not on that e-mail, I didn't have         7   right? You asked -- you said "Kelly, Quick
     8   further conversations on that.                      8   question that I should probably know the answer
     9   BY MR. ELSNER:                                      9   to... what is a BVR?" Right?
    10       Q. He sent the first e-mail to you, and        10       A. Where is that? I'm sorry.
    11   he said the same thing, he's worried about the     11       Q. I'm sorry. The bottom of the first
    12   risks associated with something slipping by.       12   page.
    13   That's what he wrote you, correct?                 13       A. An e-mail from me?
    14          MS. MILLER: Object to form.                 14       Q. I'm sorry, are you on Exhibit 26?
    15       A. It says in that e-mail -- that's what       15       A. Yes.
    16   it says in the e-mail.                             16       Q. Okay. "Kelly, Quick question that I
    17   BY MR. ELSNER:                                     17   should probably know the answer to...what is a
    18       Q. Why did he write this to you?               18   BVR?" And he responds to you what it is. And
    19          MS. MILLER: Object to form.                 19   then you forward this e-mail exchange to Tom
    20       A. I don't know why he sent this to me.        20   Bourque on July 16, 2013, correct, and you write
    21   BY MR. ELSNER:                                     21   to Tom and you write -- and this is your boss,
    22       Q. Did he think you could help him try to      22   right?
    23   fix this?                                          23       A. At this time Tom Bourque is my boss.
    24          MS. MILLER: Object to form.                 24       Q. Okay. And you write to Tom, "FYI -

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     1   Kelly brings up another concern about the               1   queue and assigning easy drug families to
     2   current process and the data he is looking              2   herself in order to not have to pick drug
     3   at...seems that some of the information he is           3   families that normally would require more due
     4   using is very old and not helpful. Don't think          4   diligence." Did I read that right?
     5   there is anything we can do about it now, but           5       A. That's what it says.
     6   just wanted to let you know."                           6       Q. Okay. And so at this point in time
     7          Is that what you wrote to him?                   7   you were doing a review? Shan was one of the
     8          MS. MILLER: Object to form.                      8   suspicious order monitoring analysts, right?
     9       A. That's what it says.                             9       A. Yes, I believe so at the time.
    10   BY MR. ELSNER:                                         10       Q. Okay. And in the second paragraph you
    11       Q. And there wasn't anything done to               11   write, "Also, when going through some of the
    12   change the process, correct?                           12   cases she is reviewing it looks like she is copy
    13          MS. MILLER: Object to form.                     13   and pasting quite frequently which leads me to
    14       A. I don't know that to be the case.               14   believe she is not putting in the time to review
    15          MR. ELSNER: Why don't we go off the             15   each case separately and reviewing all
    16   record for a minute.                                   16   applicable data to make a decision on whether or
    17          THE VIDEOGRAPHER: We're going off the           17   not an order is legitimate." Did I read that
    18   record at 4:34 p.m.                                    18   correctly?
    19          (Whereupon, a recess was taken.)                19       A. That's what it says.
    20          THE VIDEOGRAPHER: We're back on the             20       Q. The next paragraph you write "I think
    21   record at 4:37 p.m.                                    21   it is important that this gets addressed as soon
    22   BY MR. ELSNER:                                         22   as possible as this could pose a huge risk to
    23       Q. Mr. Schiavo, I'm going to show you              23   our company if this function is not done
    24   what's been marked as Exhibit 27.                      24   effectively." Correct?
                                                    Page 371                                                Page 373
     1          (Whereupon, CVS-Schiavo-27 was marked            1          MS. MILLER: Object to form.
     2          for identification.)                             2      A. I see where that is written.
     3   BY MR. ELSNER:                                          3   BY MR. ELSNER:
     4      Q. This is an e-mail that you sent to Tom            4      Q. And it was accurate, right? You
     5   Bourque, the subject being the "SOM Team" dated         5   believed that to be true?
     6   June 19, 2014.                                          6          MS. MILLER: Object to form.
     7          Do you see that?                                 7      A. At the time I recall believing that at
     8      A. I see that.                                       8   times Shan would cherry-pick some orders.
     9      Q. Okay. And it reads, "I wanted to run              9   BY MR. ELSNER:
    10   this by you before I sent. I know we" are              10      Q. And cut and paste her suspicious order
    11   having "the meeting with Pawlik today to discuss       11   monitoring review as well, correct?
    12   SOM so I don't know if you want me to hold off         12      A. I don't recall her ever just a blanket
    13   on sending the e-mail below to Susan but I             13   copy and paste that led me to -- I don't recall
    14   looked at some information today that is               14   ever thinking that she wasn't doing a review. I
    15   concerning and I feel need to be addressed." Is        15   think she was just copying and pasting in some
    16   that right?                                            16   cases.
    17      A. I see that's what it says.                       17      Q. Well, you wrote, did you not, that
    18      Q. Okay. Then you send him a sort of                18   "Some of the cases she is reviewing it looks
    19   draft note that you had drafted to send to             19   like she is copying and pasting quite frequently
    20   Susan, correct?                                        20   which leads me to believe she is not putting in
    21      A. It looks like that's what I did.                 21   the time to review each case separately and
    22      Q. Okay. And it reads "As we discussed              22   reviewing all applicable data to make a decision
    23   earlier this week, I have heard some concerns          23   on whether or not an order a legitimate."
    24   from the SOM team around Shan going ahead in the       24   Correct?

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                                                    Page 374                                                 Page 376
     1          MS. MILLER: Object to form.                       1   diligence. Not each team member is aligned with
     2      A. I see that's what's written there.                 2   the importance of reaching out to our stores in
     3   But this is a draft, I don't know if that's              3   order to comply with the 'Know Your Customer'
     4   exactly how I meant that to read. I was sending          4   expectation. This could also lead to
     5   this to Tom for feedback. So I don't know if we          5   inconsistencies in the...process of what orders
     6   changed this to be more clear on exactly what I          6   should be released or blocked," correct?
     7   meant.                                                   7       A. That --
     8   BY MR. ELSNER:                                           8          MS. MILLER: Object to form.
     9      Q. But that's what you wrote, right?                  9       A. That is what that potential risk says.
    10          MS. MILLER: Object to the form.                  10   BY MR. ELSNER:
    11      A. That's what this draft of a potential             11       Q. And then it writes in the comments,
    12   e-mail says, but I don't believe that's what I          12   "In May, the following is the percentage of
    13   meant, or that I had concern she wasn't doing a         13   calls each team member made for flagged orders:
    14   good job at reviewing orders.                           14   Annette, 19 percent." Then there's another
    15   BY MR. ELSNER:                                          15   individual at 15 percent, Noah at 13 percent,
    16      Q. You don't believe that's accurate?                16   Caitlin at 7 percent, and Shan at 4 percent.
    17   You purposely wrote something inaccurate to your        17   Did I read that correctly?
    18   boss?                                                   18       A. That's what that says.
    19          MS. MILLER: Object to form.                      19       Q. Okay. So part of the due diligence
    20      A. I wouldn't say I was writing something            20   process at CVS at this time in June of 2014 --
    21   to purposely be inaccurate. I think it might be         21   and this is under the new system, right?
    22   poorly worded.                                          22          MS. MILLER: Object to form.
    23          (Whereupon, CVS-Schiavo-28 was marked            23       A. I don't recall if it's rolled out to
    24          for identification.)                             24   all distribution centers, but I believe at some
                                                      Page 375                                               Page 377
     1   BY MR. ELSNER:                                           1   point this was just newly rolled out to some
     2       Q. If you go to the next document I've               2   distribution centers.
     3   shown you, we've marked it as Exhibit 28. This           3   BY MR. ELSNER:
     4   is another e-mail to Tom Bourque actually two            4      Q. Well, these individual are the
     5   days before the e-mail we just looked at, "SOM           5   suspicious order monitoring analysts working in
     6   Risk Analysis." You write "Tom, I have made the          6   Rhode Island that you participated in hiring to
     7   updates we discussed." And then you say there            7   work on the new SOM system, right?
     8   may be one we want to change from medium to high         8      A. These are the SOM analysts who I
     9   or both. And attached to that is an SOM risk             9   recall being part of the interview process.
    10   analysis that you created, correct?                     10      Q. Okay. And less than 20 percent of
    11       A. This is an SOM risk analysis that was            11   flagged orders were calls made to pharmacies,
    12   created. I don't recall creating the document,          12   correct?
    13   but it's a risk analysis.                               13          MS. MILLER: Object to form.
    14       Q. Okay. And did somebody else create               14      A. Based on what that's indicating there,
    15   it?                                                     15   yes. I don't know how those percentages could
    16           MS. MILLER: Object to form.                     16   be pulled or how they were pulled, but that's
    17       A. I don't recall if I was the one who              17   what that's saying.
    18   started this document, but I clearly made               18   BY MR. ELSNER:
    19   updates to it, based on the e-mail.                     19      Q. Well, if you turn to the last page of
    20   BY MR. ELSNER:                                          20   your e-mail to Tom Bourque on the prior exhibit,
    21       Q. And there's lists of potential risks.            21   the very last page of the exhibit, there's a
    22   And the first one, the risk level there is              22   chart there of the percentage of phone calls,
    23   listed as high, and you write "The SOM team is          23   correct?
    24   inconsistent in the way they perform their due          24          MS. MILLER: Sorry, where are you,

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                                                    Page 378                                                 Page 380
     1   Mike?                                                    1      A. That is what this form says. I don't
     2           MR. ELSNER: Prior exhibit, last page.            2   know if I wrote that. That's what the form
     3           MS. MILLER: That one -- oh, last                 3   says.
     4   page.                                                    4   BY MR. ELSNER:
     5      A. It says "Team Member. Count of Case                5      Q. That's in the chart that you forwarded
     6   Status." It has the percent of phone calls. I            6   to your boss, correct?
     7   don't see how that's calculated or how someone           7          MS. MILLER: Object to form.
     8   would indicate from this the percent of phone            8      A. That appears to be in the chart that I
     9   calls, though.                                           9   sent to Tom.
    10   BY MR. ELSNER:                                          10   BY MR. ELSNER:
    11      Q. Okay. If you go back to Exhibit 28,               11      Q. Okay. And then in the middle under
    12   the third item down for lack of -- that's listed        12   "Comments," it says "To date the team is
    13   as a high risk is "Lack of engagement by the            13   struggling to complete the amount of flagged
    14   Management team." Did I read that correctly?            14   daily orders. With six more distribution
    15      A. It says that under "Potential Risk."              15   centers still to be rolled out, there has been
    16      Q. Okay. And you write "The team is not              16   no plan communicated on how the team intends to
    17   receiving the support and guidance they need to         17   handle the increased volume." Did I read that
    18   effectively do their jobs. Since Susan has              18   correctly?
    19   started she has not taken an active role in             19          MS. MILLER: Object to form.
    20   learning the position and finding the area of           20      A. That's what it -- that's what it says.
    21   opportunity within the team." Did I read that           21   BY MR. ELSNER:
    22   correctly?                                              22      Q. And that was another high risk
    23      A. That's what the document says.                    23   identified, correct?
    24      Q. And you believe that that was a high              24          MS. MILLER: Object to form.
                                                      Page 379                                               Page 381
     1   risk, correct?                                           1       A. It's under "Risk Level. High."
     2          MS. MILLER: Object to form.                       2   Again, I don't know what thought process went
     3      A. It says the risk level is high. I                  3   into putting these risk levels, and for that one
     4   don't know how risk level was interpreted or             4   I'm not really sure exactly what the risk would
     5   what the risk is referring to, but under "Risk           5   be.
     6   Level" for that one it does say "High."                  6   BY MR. ELSNER:
     7   BY MR. ELSNER:                                           7       Q. Go to the next one. Another high risk
     8      Q. And also then the next one, another                8   level, "Today we are unclear how well the system
     9   high risk you identify is the "Lack of                   9   is identifying orders that should actually be
    10   communication from the SOM Management team to           10   flagged (false positive rate and tests that need
    11   the SOM Analysts, as well as a lack of foresight        11   to be more stringent?)" Did I read that
    12   by the Management team." Did I read that                12   correctly?
    13   correctly?                                              13       A. That's what it says.
    14          MS. MILLER: Object to form.                      14       Q. And --
    15      A. That's what this document says.                   15          MS. MILLER: I just -- I understand
    16   BY MR. ELSNER:                                          16   we're at seven hours. Are we past seven hours?
    17      Q. And the next item, another high risk,             17          THE VIDEOGRAPHER: We're just at seven
    18   "Lack of resources to handle the rollout of all         18   hours now.
    19   distribution centers. This could freeze the             19          MS. MILLER: Okay. So after this
    20   rollout of the remaining six distribution               20   question.
    21   centers or cause the team to not get to every           21          MR. ELSNER: I'll probably ask two
    22   flagged order each day," correct? Is that what          22   questions here, three.
    23   you wrote?                                              23          MS. MILLER: Okay.
    24          MS. MILLER: Object to form.                      24   BY MR. ELSNER:

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                                               Page 382                                                Page 384
     1        Q. "The SOM Algorithm" in the next one        1   won't let him answer the question. You wanted
     2   "is not flagging the drugs which are diverted      2   to see what the question was first? You said
     3   the most at our retail locations at a high         3   one more question, and I asked him one more
     4   enough rate." And that's identified as a           4   question.
     5   medium/high risk, correct?                         5          MS. MILLER: But now I've realized --
     6           MS. MILLER: Objection to form.             6          MR. ELSNER: It's a good question?
     7        A. High/medium is under the risk level        7          MS. MILLER: -- it's not fair for
     8   column.                                            8   you -- no, it's not fair for you to continue
     9   BY MR. ELSNER:                                     9   after seven hours, and I think we should cut it
    10        Q. Okay. And so --                           10   off.
    11           MS. MILLER: Mike, you're out of time.     11          MR. ELSNER: No, you said I could get
    12   So you can ask --                                 12   one more question, and that's what I've done.
    13           MR. ELSNER: I'm just going to finish      13   Let him answer the question.
    14   this. I've got another question to ask, and       14          MS. MILLER: I'm instructing him not
    15   I'll just finish with this document.              15   to answer. We're done. We're out of time.
    16           MS. MILLER: This is the last              16          MR. ELSNER: I think you should answer
    17   question. This is the last question.              17   the question.
    18   BY MR. ELSNER:                                    18          I'm going to go to the court and ask
    19        Q. As of June of 2014, you were still        19   for more time. I think this has been
    20   finding high risk levels even with the new        20   ridiculous. I think he hasn't admitted at any
    21   rollout of the new system with respect to         21   point offering any document, remembering any
    22   staffing issues, resources to handle the review   22   documents. You had three days prepping him, and
    23   of orders, and consistent performance of due      23   he's giving us nothing that he could potentially
    24   diligence reviews, correct?                       24   remember at all at CVS. And you told me I could
                                               Page 383                                                Page 385
     1          MS. MILLER: Objection to form. And          1   ask one more question, and now you won't let him
     2   I'm going to instruct him not to answer. We're     2   answer the question.
     3   out of time.                                       3          MS. MILLER: Okay. You may answer the
     4          MR. ELSNER: No, I'll get an answer to       4   question.
     5   that question.                                     5          MR. ELSNER: Can you go back to what
     6          MS. MILLER: We're out of time.              6   the question is so I can read it?
     7          MR. ELSNER: No.                             7          MS. MILLER: But I object to it, and I
     8   BY MR. ELSNER:                                     8   don't think it should be part of the record
     9       Q. Answer the question.                        9   given that you're out of time.
    10          MS. MILLER: It's seven hours. It's         10   BY MR. ELSNER:
    11   up.                                               11       Q. As of June of 2014, you were still
    12          MR. ELSNER: It's a summary question,       12   finding high risk levels even with the new
    13   and I'm going to ask for more time from the       13   rollout of the new SOM monitoring system with
    14   court in any event.                               14   respect to staffing issues, resources to handle
    15          MS. MILLER: Objection.                     15   the review of orders, and consistent performance
    16   BY MR. ELSNER:                                    16   of due diligence reviews, correct?
    17       Q. Please answer the question.                17       A. As I stated, I don't know how these
    18          MS. MILLER: Objection.                     18   risk levels were determined, and at this point
    19          I instruct you not to answer.              19   in the process I had no concerns or no reason to
    20          MR. ELSNER: You can't instruct him         20   believe -- in fact, I was very confident that we
    21   not to answer.                                    21   were meeting our obligation to have a suspicious
    22          MS. MILLER: You're out of time.            22   order monitoring system.
    23          MR. ELSNER: You said one more              23       Q. But that's what you wrote in the
    24   question, I asked him the question, now you       24   document, correct?

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                                                        Page 386                                                         Page 388
     1           MS. MILLER: Okay. We're done. We're                1             (Whereupon, the deposition was
     2   done. I instruct you not to answer. You're out             2             concluded.)
     3   of time.                                                   3
     4           Can we go off the record?                          4
     5           MR. ELSNER: I'll just say on the                   5
     6   record that I will consider seeking more time              6
     7   from the court, and I don't consider the                   7
     8   deposition complete.                                       8
     9           MS. MILLER: And I object to that.                  9
    10   He's used his seven hours. He's out of time,              10
    11   and we're done. I need to --                              11
    12           THE VIDEOGRAPHER: We're going off --              12
    13           MS. MILLER: Just to state for the                 13
    14   record, I'd like to take a little break and come          14
    15   back with potential redirect. I don't think               15
    16   that it will -- it's going to take much time.             16
    17           THE VIDEOGRAPHER: We're going off the             17
    18   record at 4:53 p.m.                                       18
    19           (Whereupon, a recess was taken.)                  19
    20           THE VIDEOGRAPHER: We're back on the               20
    21   record at 5:09 p.m.                                       21
    22              EXAMINATION                                    22
    23   BY MS. MILLER:                                            23
    24       Q. Mr. Schiavo, I just have one quick                 24

                                                      Page 387                                                           Page 389
     1   question.                                                  1 STATE OF RHODE ISLAND AND PROVIDENCE PLANTATIONS
     2           Exhibit 28 that Mr. Elsner showed you              2
     3   towards the end of his examination, do you have            3         I, MAUREEN O'CONNOR POLLARD, RMR, CLR,
     4   that before you?                                           4 and Commissioner in the State of Rhode Island
     5       A. I do.                                               5 and Providence Plantations, do certify that on
     6       Q. And I just wanted to clarify, in the                6 the 17th day of January, 2019, at 8:06 o'clock,
     7   first row under the "Comments" section, can you            7 the person above-named was duly sworn to testify
     8   read what that says to me?                                 8 to the truth of their knowledge, and examined,
     9       A. "In May, the following is the                       9 and such examination reduced to typewriting
    10   percentage of calls each team member made for             10 under my direction, and is a true record of the
    11   flagged orders: Annette 19 percent, Khalilul              11 testimony given by the witness.
    12   15 percent, Noah 13 percent, Caitlin 7 percent,           12         I further certify that I am neither
    13   Shan 4 percent."                                          13 attorney, related or employed by any of the
    14       Q. And the document reflects that those               14 parties to this action, and that I am not a
    15   statistics are for May, is that right?                    15 relative or employee of any attorney employed by
    16       A. This document is -- it says in May, so             16 the parties hereto, or financially interested in
    17   I would assume that these are May numbers.                17 the action.
    18       Q. Thank you.                                         18         In witness whereof, I have hereunto
    19           MS. MILLER: That's all I have.                    19 set my hand this 20th day of January, 2019.
    20           MR. ELSNER: Okay.                                 20
    21           THE VIDEOGRAPHER: This concludes the              21         ___________________________________
    22   videotaped deposition of Craig Schiavo. The               22         COMMISSIONER
    23   time is 5:10 p.m., and we are now off the                 23         My Commission Expires April 30, 2020
    24   record.                                                   24


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Case:Highly
      1:17-md-02804-DAP Doc #:- 3027-18
              Confidential       SubjectFiled:
                                           to 12/19/19
                                               Further99Confidentiality
                                                         of 99. PageID #: 471416
                                                                             Review
                                                Page 390                                               Page 392
     1         INSTRUCTIONS TO WITNESS                      1         ACKNOWLEDGMENT OF DEPONENT
     2                                                      2
                                                            3             I, __________________________, do
     3             Please read your deposition over
                                                                Hereby certify that I have read the foregoing
     4   carefully and make any necessary corrections.      4   pages, and that the same is a correct
     5   You should state the reason in the appropriate         transcription of the answers given by me to the
     6   space on the errata sheet for any corrections      5   questions therein propounded, except for the
                                                                corrections or changes in form or substance, if
     7   that are made.                                     6   any, noted in the attached Errata Sheet.
     8             After doing so, please sign the          7
     9   errata sheet and date it. It will be attached      8   _________________________________
    10   to your deposition.                                    WITNESS NAME          DATE
                                                            9
    11             It is imperative that you return        10
    12   the original errata sheet to the deposing         11
    13   attorney within thirty (30) days of receipt of    12
                                                           13
    14   the deposition transcript by you. If you fail
                                                           14
    15   to do so, the deposition transcript may be        15   Subscribed and sworn
    16   deemed to be accurate and may be used in court.        To before me this
    17                                                     16   ______ day of _________________, 20____.
    18                                                     17   My commission expires: ________________
                                                           18
    19
                                                                _______________________________________
    20                                                     19   Notary Public
    21                                                     20
    22                                                     21
                                                           22
    23
                                                           23
    24                                                     24

                                              Page 391                                                 Page 393
     1          ------                                      1         LAWYER'S NOTES
                ERRATA                                      2   PAGE LINE
     2          ------                                      3   ____ ____ _______________________________
     3   PAGE LINE CHANGE                                   4   ____ ____ _______________________________
     4   ____ ____ _________________________________        5   ____ ____ _______________________________
     5     REASON: __________________________________       6   ____ ____ _______________________________
     6   ___ ____ __________________________________        7   ____ ____ _______________________________
     7     REASON: __________________________________       8   ____ ____ _______________________________
     8   ____ ____ _________________________________        9   ____ ____ _______________________________
     9     REASON: __________________________________      10   ____ ____ _______________________________
    10   ____ ____ _________________________________       11   ____ ____ _______________________________
    11     REASON: __________________________________
                                                           12   ____ ____ _______________________________
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    13     REASON: __________________________________
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    17     REASON: _________________________________
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    18   ____ ____ _________________________________
                                                           18   ____ ____ _______________________________
    19     REASON: _________________________________       19   ____ ____ _______________________________
    20   ____ ____ _________________________________       20   ____ ____ _______________________________
    21     REASON: _________________________________       21   ____ ____ _______________________________
    22   ____ ____ _________________________________       22   ____ ____ _______________________________
    23     REASON: _________________________________       23   ____ ____ _______________________________
    24   ____ ____ _________________________________       24   ____ ____ _______________________________

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